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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY

FRANCINE BALDASSANO,
                                                 CIVIL ACTION NO.
SUZANNE RAFAEL,
                             Plaintiffs,
               vs.

SUNRUN INC.,                                     COMPLAINT

VIVINT SOLAR, INC.,

VIVINT SOLAR DEVELOPER, LLC,

CAMERON CATMULL,

                           Defendants

   I. INTRODUCTION

     1.        This is an action for damages brought by New Jersey consumers pursuant to New

Jersey’s Consumer Fraud Act (“CFA”) and other laws.

     2.        Defendants Sunrun Inc., Vivint Solar, Inc. and Vivint Solar Developer, LLC

(“Vivint”) are in the business of soliciting consumers for the purchase of energy generated by

solar panels it installs on consumers’ homes.       Vivint’s door-to-door sales agents solicit

consumers to enter into solar power purchase contracts using electronic tablets such as iPads and

iPhones, called Power Purchase Agreements (“PPAs”). The standard contract term for the PPA

is 20 years.
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     3.        Vivint’s door-to-door sales practices are fraudulent and deceptive, as sales agents

regularly misrepresent the nature of the PPA transaction, forge the PPAs, and deliberately

conceal the forged PPAs from consumers, who have been promised significant savings.

     4.        On August 19, 2019, the New Jersey Office of the Attorney General entered into a

Consent Order with Vivint Solar Developer, LLC following an investigation into Vivint’s sales

practices, and has alleged that Vivint:

               (a) Engaged      in   deceptive       door-to-door   solicitation     practices   (e.g.

                   misrepresentations as to overall savings) and failed to provide electricity at the

                   promised savings;

               (b) Misrepresented an affiliation with the consumer’s local distribution company;

               (c) Obtained consumer reports from a consumer reporting agency without the

                   consumer initiating a business transaction and without the consumer’s

                   knowledge; and,

               (d) Used a form contract that violated clearly established legal rights of

                   consumers.

     5.        Despite the Consent Order, Vivint continues to engage in deceptive door-to-door

solicitation practices in violation of the CFA and other laws.

     6.        Numerous New Jersey consumers have complained about Vivint’s deceptive

door-to-door business practices, including through the filing of lawsuits such as:

               (a) Douglas Littlejohn v. Vivint Solar, Inc., United States District Court, District

                   of New Jersey, No. 1:16-cv-09446-NLH-JS;

               (b) Christine Droney and Timothy Droney v. Vivint Solar, Inc., United States

                   District Court, District of New Jersey, No. 1:18-cv-00849;




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               (c) James Reilly v. Vivint Solar, Inc., United States District Court, District of

                   New Jersey, No 1:18-cv-12356-NLH-JS;

               (d) Melissa Knight v. Vivint Solar, Superior Court of NJ, Law Div., Camden Co.,

                   No. CAM-L-002852-18; and,

               (e) Oluronke Komolafe & Foluso Komolafe v. Vivint Solar, Inc., Vivint Solar

                   Developer, LLC, United States District Court, District of New Jersey, No.

                   1:20-cv-13905.

     7.        The CFA requires that Vivint provide consumers a copy of the PPA at the time of

signing. The CFA also affords consumers the right to cancel the PPA within three days of

receiving the contract.

     8.        Vivint forged the signatures of Plaintiff Francine Baldassano and her daughter

Suzanne Rafael on the 20-year PPA. Vivint did not provide a copy of the forged 20-year PPA at

the time of signing—indeed, Plaintiffs had no knowledge of a contract. Instead, Plaintiffs

received a copy of the forged 20-year PPA only after the solar panel system was installed on

Mrs. Baldassano’s home.

     9.        Vivint was able to conceal the forged 20-year PPA from Plaintiffs because Vivint,

as a part of its routine business practice, fabricates and/or falsifies consumer email addresses to

ensure that consumers will not receive copies of the 20-year PPA, which spans no less than 16

pages.

    10.        Soon after Plaintiffs learned of the forged 20-year PPA, notice of cancellation was

sent to Vivint, but Vivint refused to honor the notice of cancellation.

    11.        Vivint has been placed on notice of this illegal activity repeatedly, but has refused

to discontinue the practices.




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   II. JURISDICTION

    12.        Jurisdiction arises under 28 U.S.C. § 1332 because the parties are diverse and the

amount in controversy exceeds $75,000.

    13.        Venue is proper because the offending conduct took place in this district.

   III. PARTIES

    14.        Plaintiff Francine Baldassano is a consumer who resides in New Jersey, and

whose previous residence was 15 Cameo Drive, Monroe Twp., NJ 08831.

    15.        Plaintiff Suzanne Rafael is a consumer who resides in Freehold, NJ.

    16.        Defendant Sunrun Inc. is a Delaware corporation with a principal office in San

Francisco, CA.

    17.        Defendant Vivint Solar Developer, LLC is a Delaware corporation with a

principal office in San Francisco, CA.

    18.        Defendant Vivint Solar, Inc. is a Delaware corporation with a principal office in

San Francisco, CA.

    19.        On October 8, 2020, the Sunrun Inc. acquired Vivint Solar, Inc. at an estimated

purchase price of $5.0 billion pursuant to an Agreement and Plan of Merger, dated as of July 6,

2020.

    20.        As a result of the merger, Vivint Solar, Inc. became a direct wholly-owned

subsidiary of Sunrun Inc.

    21.        Sunrun Inc. and Vivint Solar, Inc. have been combining operations and

integrating the businesses. (See Sunrun Inc.’s Form 10-K for fiscal year ending on December 31,

2021, dated February 17, 2022, available at




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https://www.sec.gov/ix?doc=/Archives/edgar/data/1469367/000146936722000033/run-

20211231.htm).

    22.         Sunrun Inc. has ratified, approved of, and assumed responsibility for the conduct

of Vivint Solar, Inc., Vivint Solar Developer, LLC, and their agents.

    23.         Sunrun Inc. has assumed the operations and liabilities of Vivint Solar, Inc. and

Vivint Solar Developer, LLC.

    24.         Defendant Cameron Catmull (“Catmull”) is an employee and salesman for Vivint.

    25.         On information and belief, Catmull resides at 28868 Brushwood Ln, Santa

Clarita, CA 91350.

    26.         At all times relevant, Catmull was acting on behalf of Vivint as Vivint’s employee

and/or agent.

   IV. STATEMENT OF CLAIM

Vivint Forges the Contract and Refuses to Honor Plaintiff’s Notice of Cancellation

    27.         On or about May 2018, Francine Baldassano was solicited by a door-to-door

salesperson from Vivint at her home in Monroe Township, NJ.

    28.         Vivint’s salesman was Cameron Catmull.

    29.         During the sales pitch, Catmull explained that the solar panels were free through a

government program for elderly seniors, and that she would save money in electricity costs.

    30.         Mrs. Baldassano explained that the roof was in bad condition and that she

intended to sell the house in a few years. Vivint’s salesman responded that the roof was not an

issue, and that Mrs. Baldassano could simply pay $500 to remove the panels and another $500 to

reinstall them on the new roof.




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    31.        Mrs. Baldassano was not provided, nor given the opportunity to review, any

paperwork or documents, paper or electronic.

    32.        Based on the promise of significant savings, Mrs. Baldassano continued

conversations with Vivint regarding the installation of solar panels.

    33.        Eventually, Mrs. Baldassano agreed to have the solar panels installed. But again,

no contract (PPA or otherwise) was provided, presented, or made available to her for her review.

    34.        Vivint eventually installed solar panels on Mrs. Baldassano’s home, even though

no contract was provided to Mrs. Baldassano or signed by Mrs. Baldassano.

    35.        On or about February 2021, Mrs. Baldassano received an offer to purchase her

home, and Mrs. Baldassano tentatively agreed to sell the home.

    36.        The prospective purchaser informed Mrs. Baldassano of a lien on Mrs.

Baldassano’s home.

    37.        Indeed, on or about September 18, 2018, Vivint Solar Developer, LLC filed a

UCC Financing Statement identifying Vivint Solar Developer, LLC as the “secured party” and

identifying the purported “DEBTOR[S]” and “RECORD OWNER[S]” of real estate located at

15 Cameo Drive, Monroe Township, NJ 08831, as Francine Rafael and Suzanne Rafael.

    38.        Suzanne Rafael does not own the real estate located at 15 Cameo Drive, Monroe

Township, NJ 08831, and is not a record owner of the same.

    39.        Prior to being informed about the lien, Mrs. Baldassano had no knowledge of this

UCC Financing Statement or any lien on her property.

    40.        The prospective buyer asked Mrs. Baldassano for a copy of any contract with

Vivint.




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    41.        Mrs. Baldassano called Vivint and requested a copy of Vivint’s contract. To her

surprise, Vivint produced a 20-year PPA bearing her name and forged signature, even though she

did not sign anything concerning the solar panels.

    42.        The 20-year PPA purported to bear the signatures of both Mrs. Baldassano and

her daughter, Suzanne Rafael. Both of the signatures on the contract are forgeries.

    43.        The email address on the 20-year PPA was also incorrect. This ensured that

Plaintiffs would not receive a copy of the 20-year PPA at the time that Vivint forged it because

the email was only sent to the incorrect email address appearing on the contract.

    44.        On information and belief, Vivint, as a pattern and practice, regularly forges

and/or falsifies email addresses on consumer contracts.         Vivint does this to ensure that

consumers do not receive a copy of the forged contract, and are kept in the dark about the

existence of the contract and its onerous terms.

    45.        Indeed, this very Vivint salesman, Cameron Catmull has been accused of virtually

identical fraud (including forging signatures and the falsification of an email address). See, for

example, the lawsuit in District of New Jersey, stylized Komolafe v. Vivint Solar, Inc., No. 1:20-

cv-13905.

    46.        The forged 20-year PPA also contains a standalone arbitration provision, which

the consumer may only consent to by checking a box on the contract. The arbitration assent

provision is depicted below:




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    47.        Plaintiffs did not check the box indicating assent to the arbitration provision.

Indeed, before the panels were installed, Plaintiffs were never presented any contract documents

in paper or electronic format.

    48.        Neither Plaintiffs agreed to arbitrate any issue or claim with Vivint.

    49.        Shortly after receiving the forged 20-year PPA for the first time, Plaintiffs sent

notice of cancellation to Vivint, requesting cancellation of the contract.

    50.        Despite receiving this notice of cancellation, Vivint did not cancel the forged 20-

year PPA.

    51.        Vivint continues to deem Plaintiffs bound by the forged 20-year PPA and the

payment terms therein.

Vivint Submits Forged Documents to the State of New Jersey to get Government Benefits

    52.        Before Plaintiffs learned about the existence of the forged 20-year PPA, Vivint

submitted the forged 20-year PPA and other forged documents to the State of New Jersey for the

purpose of registering with the New Jersey Clean Energy Program.

    53.        Vivint’s submissions to the State of New Jersey allowed it to become eligible to

receive solar renewable energy credits in connection with the solar energy produced by the solar

panel system installed on Mrs. Baldassano’s home.

    54.        Vivint did not disclose the existence of these forged documents to Plaintiffs.

Vivint Solar’s Pattern and Practice of Fraudulent and Deceptive Conduct

    55.        Vivint, as a pattern and practice, regularly engages in forgeries and other

fraudulent and deceptive conduct.

    56.        In Vivint’s training materials (including training videos), Vivint instructs and

encourages its salespersons to engage in deceptive sales tactics, including misrepresenting the




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company’s association with local electricity companies/utilities, withholding information from

consumers, and to get something signed at all costs.

    57.        Consumers across New Jersey and across the country have complained to Vivint

that Vivint’s agents have engaged in forgeries and other fraudulent and deceptive conduct.

    58.        Some of these irate consumers have filed lawsuits, including several in this Court

dating back to 2016.

    59.        Despite ample notice of this problem, Vivint continued to allow and enable its

salespeople to engage in forgeries and other fraudulent and deceptive conduct.

    60.        Further, Defendants’ corporate officers were put on notice as early as October

2017 that there was a problem relating to Defendants’ sales agents’ fraud and falsification of

emails. These corporate officers include, but may not be limited to, former Chief Commercial

Officer Thomas Plagemann, Chief Sales Officer Chance Allred, and Chief Revenue Officer Paul

Dickson.

    61.        In January 2017, Vivint’s financing partner Solar Mosaic, Inc. put Vivint on

notice that Vivint’s sales representatives were falsifying consumer emails, stating “this is looking

more and more like a systemic issue. It’s already big, I’m trying to stop it from getting bigger.”

(Ex. A, Mosaic Email at Solar Mosaic_Cardona-Brown 000794.)

    62.        Despite having notice of these problems, Vivint’s above-named corporate officers

continued to recklessly disregard the rights of consumers, including those of Plaintiff.

    63.        Indeed, a former Vivint employee named Tanner Baumgarten—who worked in

Vivint’s Resolution Department where his job was to “deal with frustrated customers” and serve

as “the end of the line on the phone process” for consumer complaints—resigned from the

company because he was “tired of dealing with customer complaints that did seem very valid




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 and, you know, I felt like I was in a position to be deceptive myself by trying to resolve

 something or sweep it under the rug, so to speak, when it was a valid complaint. . . . [T]here

 were other situations that – that put me in a position where I felt like I needed to resign.” Ex. B,

 Baumgarten Deposition Excerpts at pp. 10-12, 55-57 (emphasis added).

     64.            Stated another way, Tanner Baumgarten “didn’t feel comfortable paying off

 customers anymore to keep their mouths quiet, if that makes sense, and so I quit.” (Id. at pp.

 56:22–57:22.)

     65.            Evidence pertaining to Vivint’s knowledge of a pattern and practice of fraudulent

 conduct has been revealed in a securities class action case filed against Vivint in the Eastern

 District of New York. See In re Vivint Solar, Inc. Sec. Litig., No. 1:19-cv-05777 (E.D. N.Y.,

 Consolidated Class Action Complaint filed at ECF 26). This case is herein referred to as the

 “Vivint Securities Fraud Case.”

     66.            The allegations in the Vivint Securities Fraud Case detailed and specific

 allegations of “widespread fraudulent sales practices” that Vivint concealed from the public and

 its investors. (Ex. C, Consolidated Class Action Complaint ¶¶ 5, 9, 139.)

     67.            The Class Action Complaint in the Vivint Securities Fraud Case identifies the

 statements of former Vivint employees describing Vivint’s corporate culture of fraud, including

 one former worker who had personal knowledge of “several dozen” written communications to

 and from the Vivint Solar CEO David Bywater describing “serious allegations” of wrongdoing.

 (Id. ¶¶ 39, 17.)

     68.            According to a former Vivint employee who worked at Vivint’s Utah

 headquarters handling the escalation of consumer complaints within the company as an

 “Executive Resolutions” specialist, his direct manager, Senior Manager of Executive Resolutions




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 Tyler Anderson, “communicated regularly with senior management, including defendant [and

 Vivint CEO David] Bywater.” (Id. ¶¶ 56–57 (emphasis added).)

     69.        According to this former Vivint employee, the Executive Resolutions team

 “logged the complaints in a Google Spreadsheet which included labels for complaints sent

 directly to Bywater’s email address and those sent to Bywater via the ‘CEO Promise Page’ on

 Vivint’s website.” (Id. ¶ 57.)

     70.        According to another former Vivint employee, Vivint CEO “Bywater would send

 emails to the Company’s entire sales team urging representatives to ‘pick it up’ when sales

 numbers were down.” (Id. ¶ 128.) This employee “stated that senior management held weekly

 telephone conference calls with all of the Company’s sales managers where deceptive sales

 practices” were discussed. (Id. ¶ 54.)

     71.        Another former employee “described weekly meetings with Bywater and other

 senior management where Anderson provided updates on the escalated complaints.” (Id. ¶ 59.)

     72.        The investigatory team “emailed summaries of the investigation and findings to

 Anderson who would then send the emails to Bywater and/or reference them in weekly

 meetings.” (Id. ¶ 60.)

     73.        Yet another former Vivint employee stated he “was copied on emails regarding

 customer complaints and stated that if serious allegations were made, such as forgery, Vivint

 senior management was copied on the emails, including regional vice presidents, vice presidents

 overseeing sales on the West and East Coasts, and Chief Sales Officer Chance Allred[,] and

 Chief Revenue Officer Paul Dickson who both reported directly to [Vivint CEO David]

 Bywater.” (Id. ¶ 39 (emphasis added).) He recalls “several dozen” emails sent to CEO Bywater

 containing “serious allegations” of wrongdoing. (Id.)




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     74.        Plaintiffs intend to prove these allegations through document discovery of these

 communications and through depositions of these witnesses, including Vivint’s CEO David

 Bywater, who personally received many of these emails and communications.

 Damage from Vivint’s Fraudulent Conduct

     75.        As a result of Vivint’s willful, wanton, reckless, and/or negligent actions,

 Plaintiffs have been damaged.

     76.        Vivint’s willful, wanton, reckless, and/or negligent conduct has resulted in

 Plaintiff Baldassano being fraudulently duped into a contract she never saw and burdened with

 solar panels under terms she never agreed to.

     77.        Vivint’s willful, wanton, reckless, and/or negligent conduct has resulted in

 Plaintiff Rafael being deemed obligated to the PPA and its obligations to purchase solar energy.

     78.        Vivint’s willful, wanton, reckless, and/or negligent conduct has prevented the sale

 of Plaintiff’s home, which was originally scheduled to have a closing date in April 2021.

 Plaintiff had already moved out of the home and incurred costs to facilitate the real estate

 transaction.

     79.        Plaintiffs have suffered mental and emotional distress, worry, and aggravation as

 a result of Defendants’ actions.

                                            COUNT I
                                 New Jersey Consumer Fraud Act

     80.        Plaintiffs repeat the allegations contained above as if the same were here set forth

 at length.

     81.        Defendants’ sales and sales practices are subject to the CFA and its implementing

 regulations.




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     82.        Defendants are subject to the CFA, N.J.S.A. 56:8-1 et seq. and its implementing

 regulations.

     83.        The CFA, at N.J.S.A. 56:8-2, prohibits the use of “any unconscionable

 commercial practice, deception, fraud, false pretense, false promise, misrepresentation, or the

 knowing, concealment, suppression, or omission of any material fact with intent that others rely

 upon such concealment, suppression or omission, in connection with the sale or advertisement of

 any merchandise.”

     84.        The CFA also states: “It shall be an unlawful practice for a person in connection

 with a sale of merchandise to require or request the consumer to sign any document as evidence

 or acknowledgment of the sales transaction, of the existence of the sales contract, or of the

 discharge by the person of any obligation to the consumer specified in or arising out of the

 transaction or contract, unless he shall at the same time provide the consumer with a full and

 accurate copy of the document so presented for signature but this section shall not be applicable

 to orders placed through the mail by the consumer for merchandise.” N.J.S.A. 56:8-2.22.

     85.        The CFA’s implementing regulations also prohibit home improvement sellers

 from failing to furnish the buyer—at the time of execution—a written copy of all guarantees or

 warranties with respect to labor services, products, or materials furnished in connection with

 home improvements. N.J.A.C. § 13:45A-16.2(a)(11)(i).

     86.        The Contractors’ Registration Act provides “that a home improvement contract

 may be cancelled by a consumer for any reason at any time before midnight of the third business

 day after the consumer receives a copy of it.” N.J.S.A. § 56:8-151(b).




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     87.         Vivint Solar Developer, LLC is a licensed as a home improvement contractor

 with the State of New Jersey.          Vivint Solar Developer, LLC’s registration number is

 13VHO6589300.

     88.         Defendants’ conduct stated herein violates the CFA and its implementing

 regulations, including those pertaining to home improvement practices.

     89.         As a result of Defendants’ violations of the Consumer Fraud Act and its

 implementing regulations, Plaintiffs have suffered ascertainable losses, which include Vivint’s

 purported contractual obligation that Plaintiffs purchase solar energy, the costs associated with

 removing the solar panels from the roof of the house (including any necessary repairs), the costs

 and potential profits associated with the real estate transaction that fell through due to Vivint’s

 UCC Financing Statement, and the fraudulent PPA.

           WHEREFORE, Plaintiffs demand judgment against Defendants for:

                 a. Actual damages;

                 b. Treble damages under the Consumer Fraud Act at N.J.S.A.56:8-19;

                 c. Declaratory judgment that the contract involved herein is void, canceled, and

                    unenforceable;

                 d. Equitable relief requiring Defendants to remove the solar panels and repair

                    any damage to Plaintiff Baldassano’s property;

                 e. Reasonable attorneys’ fees and costs under the CFA at N.J.S.A.56:8-19 and

                    all other applicable statutes;

                 f. Interest; and

                 g. Any other relief the Court deems just and proper.




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                                             COUNT II
                                       Identity Theft/Forgery

     90.        Plaintiffs repeat the allegations contained above as if the same were here set forth

 at length.

     91.        Defendants, with the purpose to defraud, or with knowledge that it was facilitating

 a fraud, forged and used Plaintiffs’ signatures on the PPA without their authorization or consent.

     92.        Defendants, with the purpose to defraud, or with knowledge that it was facilitating

 a fraud, forged and used Plaintiff Baldassano’s signatures on documents filed with the State of

 New Jersey without the authorization or consent of Plaintiffs.

     93.        The conduct of Defendants violates N.J.S.A. § 2C:21-17.4 (incorporating N.J.S.A.

 §§ 2C:21-1, 2C:21-17).

     94.        As a result of Defendants’ conduct, Plaintiffs suffered ascertainable losses, which

 include Vivint’s purported contractual obligation that Plaintiffs purchase solar energy, the costs

 associated with removing the solar panels from the roof of the house (including any necessary

 repairs), the costs and potential profits associated with the real estate transaction that fell through

 due to Vivint’s UCC Financing Statement, and the fraudulent PPA.

         WHEREFORE, Plaintiffs demand judgment against Defendants for:

         (a)    Damages, N.J.S.A. § 2C:21-17.4(a);

         (b)    Treble damages, N.J.S.A. § 2C:21-17.4(a);

         (c)    Declaratory judgment that the contract involved herein is void, canceled, and

                unenforceable;

         (d)    Equitable relief requiring Defendants to remove the solar panels and repair any

                damage to Plaintiff Baldassano’s property;

         (e)    Reasonable attorneys’ fees and costs;


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         (f)     Interest; and,

         (g)     Any other relief the Court deems just and proper. N.J.S.A. § 2C:21-17.4(a).

                                            COUNT III
                                       Fraudulent Concealment

     95.         Plaintiffs repeat the allegations contained above as if the same were here set forth

 at length.

     96.         Defendants had a legal obligation to disclose the 20-year PPA to Plaintiffs, which

 included many material terms and conditions, including but not limited to the arbitration clause

 purporting to waive their right to a jury trial in open court.

     97.         Defendants had a legal obligation to disclose other documents (bearing Plaintiff

 Baldassano’s forged signature) filed with the State of New Jersey with respect to Defendants’

 registration with the New Jersey Solar Energy Program.

     98.         Defendants intentionally concealed and did not disclose the forged 20-year PPA

 to Plaintiffs until after the solar panels were installed on their home.

     99.         Defendants intentionally concealed and did not disclose that it would forge

 Plaintiff Baldassano’s signature on documents filed with the State of New Jersey with respect to

 Defendants’ registration with the New Jersey Solar Energy Program.

    100.         As a result of Defendants’ intentional concealment and nondisclosure, Plaintiffs

 suffered emotional distress, worry, aggravation, and stress, as well as costs and profits relating to

 the real estate transaction that fell through.

    101.         Defendants’ concealment and nondisclosure was willful, malicious, wanton,

 intentional, and reckless.

         WHEREFORE, Plaintiffs demand judgment against Defendants for:

         (a)     Actual damages;


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        (b)     Punitive damages;

        (c)     Declaratory judgment that the contract involved herein is void, canceled, and

                unenforceable;

        (d)     Equitable relief requiring Defendants to remove the solar panels and repair any

                damage to Plaintiff’s property;

        (e)     Interest; and

        (f)     Any other relief the Court deems just and proper.

    V. DEMAND FOR JURY TRIAL

        Plaintiff demands a trial by jury as to all issues so triable.

    VI. CERTIFICATION PURSUANT TO N.J.S.A. 56-8:20

    The undersigned hereby certifies that a copy of the Complaint was sent via first class United

 States Mail, postage prepaid, to:

 Office of the Attorney General
 P.O. Box 112
 Trenton, NJ 08625-0112

 New Jersey Board of Public Utilities
 44 South Clinton Avenue
 Post Office Box 350
 Trenton, NJ 08625-0350


                                                        Respectfully submitted:

 Date: April 11, 2022                                    /s/ Andrew M. Milz
                                                        CARY L. FLITTER
                                                        ANDREW M. MILZ
                                                        JODY T. LÓPEZ-JACOBS
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                                                        Attorneys for Plaintiffs


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              Exhibit A
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From:                             Jordan Winder <jordan.winder@vivintsolar.com>
Sent:                             Monday, November 28, 2016 12:25 PM
To:                               support@joinmosaic.com
Cc:                               Ryan Gorman; Salesops
Subject:                          Re: [Mosaic Support Center] Update: MOSAIC FRAUD ALERT to Vivint


Who is the Sales Reps?


--
Jordan Winder
Director, New Products
vivint.Solar
Capital Markets
1800 W Aston Blvd.
Lehi, UT 84043
M:(646) 787-5625
jordan.winder@vivintsolar.com

On Mon, Nov 28, 2016 at 12:06 PM, David Steinbroner <support@joinmosaic.com> wrote:
 ##- Please type your reply above this line -##


 You are registered as a cc on this help desk request and are thus receiving email notifications on all updates to the
 request.
 Reply to this email to add a comment to the request.




 David Steinbroner (Mosaic Support Center)
 Nov 28, 11:06 AM PST

 Hi,

 We are sorry to report that we have uncovered a potential FRAUD incident related to one of our mutual
 customers, Ray Jones. This is defined as a severe violation including falsification, impersonation, and/or
 deliberate, proven misinformation influencing a homeowner to apply for a loan under false pretenses.
 The following reason(s) led to the need to investigate this fraud claim:

        Salesperson created email address for homeowner that homeowner did not immediately control
         exclusively - salesperson used email account to access/sign credit application

        Salesperson ran credit on salesperson’s device (on-screen or via email) without homeowner having
         full control of the device through collecting info and acknowledging disclosures - without
         homeowner consent




                                                           1
                                                                                   Solar Mosaic_Cardona-Brown 000777
         Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 20 of 252 PageID: 20



       Salesperson impersonated the customer in some manner or forged/falsified customer signatures

       Salesperson obtained social security number and/or date of birth without expressly stating it was for
        a credit application, or asserted the credit check was a “soft pull”.

 Please respond to this alert within 24 hours to prevent disruptions in portal access. Thank you in advance
 for your attention to this important matter. Your Account Manager will be reaching out to you to discuss
 this incident shortly.

 [ZD ticket 157881]

 Best,

 David Steinbroner
 Mosaic Support




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 [1VXXY4-Q4L6]



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                                                                                   2
                                                                                       Solar Mosaic_Cardona-Brown 000778
         Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 21 of 252 PageID: 21




From:                             Jordan Winder <jordan.winder@vivintsolar.com>
Sent:                             Thursday, December 1, 2016 4:19 PM
To:                               support@joinmosaic.com
Cc:                               Ryan Gorman; salesops
Subject:                          Re: [Mosaic Support Center] Update: MOSAIC FRAUD ALERT to Vivint Solar


Who is the VSLR sales rep?


--
Jordan Winder
Director, New Products
vivint.Solar
Capital Markets
1800 W Aston Blvd.
Lehi, UT 84043
M:(646) 787-5625
jordan.winder@vivintsolar.com

On Thu, Dec 1, 2016 at 5:09 PM, Daniela Rueda <support@joinmosaic.com> wrote:
 ##- Please type your reply above this line -##


 You are registered as a cc on this help desk request and are thus receiving email notifications on all updates to the
 request.
 Reply to this email to add a comment to the request.




 Daniela Rueda (Mosaic Support Center)
 Dec 1, 4:09 PM PST

 Hi,

 We are sorry to report that we have uncovered a potential FRAUD incident related to one of our mutual
 customers, Andrew Fankhauser. This is defined as a severe violation including falsification,
 impersonation, and/or deliberate, proven misinformation influencing a homeowner to apply for a loan
 under false pretenses. The following reason(s) led to the need to investigate this fraud claim:

        Salesperson ran credit on salesperson’s device (on-screen or via email) without homeowner having
         full control of the device through collecting info and acknowledging disclosures - without
         homeowner consent

        Salesperson impersonated the customer in some manner or forged/falsified customer signatures




                                                           1
                                                                                   Solar Mosaic_Cardona-Brown 000779
         Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 22 of 252 PageID: 22



       Salesperson obtained social security number and/or date of birth without expressly stating it was for
        a credit application, or asserted the credit check was a “soft pull”.

 Please respond to this alert within 24 hours to prevent disruptions in portal access. Thank you in advance
 for your attention to this important matter. Your Account Manager will be reaching out to you to discuss
 this incident shortly.

 ZenDesk Ticket #154407

 Best,

 Daniela Rueda
 Mosaic Support




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 [JPEEPO-OQ2M]



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                                                                                   2
                                                                                       Solar Mosaic_Cardona-Brown 000780
         Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 23 of 252 PageID: 23




From:                             Jordan Winder <jordan.winder@vivintsolar.com>
Sent:                             Tuesday, December 27, 2016 7:50 PM
To:                               support@joinmosaic.com; Steven Burt; Justin Busdicker
Cc:                               Andy McElroy
Subject:                          Re: [Mosaic Support Center] Update: MOSAIC FRAUD ALERT to Vivint Solar


Adding Steve B. and Justin B.


--
Jordan Winder
Director, New Products
vivint.Solar
Capital Markets
1800 W Aston Blvd.
Lehi, UT 84043
M:(646) 787-5625
jordan.winder@vivintsolar.com

On Mon, Dec 26, 2016 at 5:10 PM, Stuart Adams <support@joinmosaic.com> wrote:
 ##- Please type your reply above this line -##


 You are registered as a cc on this help desk request and are thus receiving email notifications on all updates to the
 request.
 Reply to this email to add a comment to the request.




 Stuart Adams (Mosaic Support Center)
 Dec 26, 4:10 PM PST

 Hi,

 We are sorry to report that we have uncovered a potential FRAUD incident related to one of our mutual
 customers, Robert Duffy. The opportunity owner is Yhia Kera.

 This is defined as a severe violation including falsification, impersonation, and/or deliberate, proven
 misinformation influencing a homeowner to apply for a loan under false pretenses. The following
 reason(s) led to the need to investigate this fraud claim:

        Salesperson created email address for homeowner that homeowner did not immediately control
         exclusively - salesperson used email account to access/sign credit application




                                                           1
                                                                                   Solar Mosaic_Cardona-Brown 000781
         Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 24 of 252 PageID: 24



 Please respond to this alert within 24 hours to prevent disruptions in portal access. Thank you in advance
 for your attention to this important matter. Your Account Manager will be reaching out to you to discuss
 this incident shortly.

 #174016

 Best,

 Stuart Adams
 Mosaic Support




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 [1RKEL3-YOPW]



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                                                                                       Solar Mosaic_Cardona-Brown 000782
         Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 25 of 252 PageID: 25




From:                             Jordan Winder <jordan.winder@vivintsolar.com>
Sent:                             Thursday, December 29, 2016 8:08 PM
To:                               support@joinmosaic.com; Steven Burt; Justin Busdicker
Cc:                               salesops
Subject:                          Re: [Mosaic Support Center] Update: MOSAIC FRAUD ALERT to Vivint Solar


FYI for Steve and Justin


--
Jordan Winder
Director, New Products
vivint.Solar
Capital Markets
1800 W Aston Blvd.
Lehi, UT 84043
M:(646) 787-5625
jordan.winder@vivintsolar.com

On Thu, Dec 29, 2016 at 8:23 PM, Dana Eckhoff <support@joinmosaic.com> wrote:
 ##- Please type your reply above this line -##


 You are registered as a cc on this help desk request and are thus receiving email notifications on all updates to the
 request.
 Reply to this email to add a comment to the request.




 Dana Eckhoff (Mosaic Support Center)
 Dec 29, 7:23 PM PST

 Hi all,

 No contest has been received from Vivint so this is being resolved as a confirmed case of Fraud. If any
 evidence arises in the near future we are willing to reopen and reevaluate.

 Best,

 Dana Eckhoff
 Mosaic Support



 Ryan Gorman (Mosaic Support Center)
 Dec 1, 4:24 PM PST




                                                           1
                                                                                   Solar Mosaic_Cardona-Brown 000783
       Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 26 of 252 PageID: 26


Hi Jordan,

Can we jump on a call today or tomorrow morning to discuss these recent
incidents?

Here is the info from the most recent one. Sales rep is Jean-luc V.

Andrew Fankhauser
<https://vivintsolar.financing.joinmosaic.com/opportunity/132065> St
Petersburg, FL -- 11/18/16 Jean-luc V.

--
*Ryan Gorman*
Strategic Accounts Director

*C *415 699 2080
1212 Broadway Oakland, CA 94612

On Thu, Dec 1, 2016 at 4:19 PM, Jordan Winder <jordan.winder@vivintsolar.com
> wrote:

> Who is the VSLR sales rep?
>
> --
>
> Jordan Winder
>
> Director, New Products
>
> vivint.Solar
>
> Capital Markets
>
> 1800 W Aston Blvd.
>
> Lehi, UT 84043
>
> M:(646) 787-5625 <646.787.5625>
>
> jordan.winder@vivintsolar.com
>
> On Thu, Dec 1, 2016 at 5:09 PM, Daniela Rueda <support@joinmosaic.com>
> wrote:


                                                    2
                                                                      Solar Mosaic_Cardona-Brown 000784
      Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 27 of 252 PageID: 27


>
>>



Jordan Winder
Dec 1, 4:19 PM PST

Who is the VSLR sales rep?

--

Jordan Winder

Director, New Products

vivint.Solar

Capital Markets

1800 W Aston Blvd.

Lehi, UT 84043

M:(646) 787-5625

jordan.winder@vivintsolar.com



Daniela Rueda (Mosaic Support Center)
Dec 1, 4:09 PM PST

Hi,

We are sorry to report that we have uncovered a potential FRAUD incident related to one of our mutual
customers, Andrew Fankhauser. This is defined as a severe violation including falsification,
impersonation, and/or deliberate, proven misinformation influencing a homeowner to apply for a loan
under false pretenses. The following reason(s) led to the need to investigate this fraud claim:

     Salesperson ran credit on salesperson’s device (on-screen or via email) without homeowner having
      full control of the device through collecting info and acknowledging disclosures - without
      homeowner consent

     Salesperson impersonated the customer in some manner or forged/falsified customer signatures




                                                     3
                                                                         Solar Mosaic_Cardona-Brown 000785
         Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 28 of 252 PageID: 28


       Salesperson obtained social security number and/or date of birth without expressly stating it was for
        a credit application, or asserted the credit check was a “soft pull”.

 Please respond to this alert within 24 hours to prevent disruptions in portal access. Thank you in advance
 for your attention to this important matter. Your Account Manager will be reaching out to you to discuss
 this incident shortly.

 ZenDesk Ticket #154407

 Best,

 Daniela Rueda
 Mosaic Support




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 [JPEEPO-OQ2M]



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                                                                                   4
                                                                                       Solar Mosaic_Cardona-Brown 000786
         Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 29 of 252 PageID: 29




From:                           Steven Burt <steven.burt@vivintsolar.com>
Sent:                           Monday, January 30, 2017 1:06 PM
To:                             support@joinmosaic.com
Cc:                             Justin Busdicker
Subject:                        Re: MOSAIC COMPLIANCE ALERT to Vivint Solar



Thanks, Winnie. Can you be sure that these alerts are sent to the group we have designated for intake and
processing, including Justin Busdicker (justin.busdicker@vivintsolar.com), who I've copied here?

On Mon, Jan 30, 2017 at 2:03 PM, Winnie Gee <support@joinmosaic.com> wrote:
 ##- Please type your reply above this line -##


 Hi there! We have created a new support ticket for you (#194709). Please see the message below.




 Winnie Gee (Mosaic Support Center)
 Jan 30, 1:03 PM PST

 Hi,

 We are sorry to report that we have uncovered a potential COMPLIANCE incident related to one of our
 mutual customers, Carlos Soler. The opportunity owner is Yosue Lebron.

 This is defined as a violation of consumer lending regulations and/or Mosaic requirements. The following
 reason(s) led to the need to investigate this compliance claim:

      Salesperson represented the credit check as a "soft pull" or otherwise did not indicate there would be
       a hard inquiry on the applicant's credit

 Please respond to this alert within 72 hours if you wish to dispute this claim. Thank you in advance for
 your attention to this important matter. Your Account Manager will be reaching out to you to discuss this
 incident shortly.

 ZD# 194319

 Best,

 Winnie Gee
 Mosaic Support




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 [J66E4K-8V5Z]
                                                         1
                                                                              Solar Mosaic_Cardona-Brown 000787
         Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 30 of 252 PageID: 30




From:                            Steven Burt <steven.burt@vivintsolar.com>
Sent:                            Monday, April 24, 2017 6:21 PM
To:                              support@joinmosaic.com
Cc:                              Steve Burt; Andy McElroy; Justin Busdicker; Jordan Winder
Subject:                         Re: [Mosaic Support Center] Re: MOSAIC COMPLIANCE ALERT to Vivint Solar RE: Opp
                                 191801



Melissa, Kenneth - let's stop emailing on this chain, and speak over the phone, please. Melissa/Andy - can we
set up a call?

On Mon, Apr 24, 2017 at 6:50 PM, Melissa Miyara <support@joinmosaic.com> wrote:
 ##- Please type your reply above this line -##


 Here's an update on your ticket (#253617)! To follow up, please reply to this email.




 Melissa Miyara (Mosaic Support Center)
 Apr 24, 5:50 PM PDT

 Hi,

 We are sorry to report that we have uncovered a potential COMPLIANCE incident related to one of our
 mutual customers, Frank Siu. The opportunity owner is Kenneth Burcham.

 The way the incident was described suggests a violation of consumer lending regulations and/or Mosaic
 requirements. The following claim(s) led to the need to investigate:

      Salesperson represented the credit check as a "soft pull" or otherwise did not indicate there would be
       a hard inquiry on the applicant's credit

 Please respond to this alert within 72 hours if you wish to dispute this claim. Thank you in advance for
 your attention to this important matter.

 [Ticket 253617]

 Best,

 Melissa Miyara
 Mosaic Support



 Frank Siu


                                                          1
                                                                                 Solar Mosaic_Cardona-Brown 000788
                        Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 31 of 252 PageID: 31


 Apr 24, 1:45 PM PDT

 Dear Mosiac,
 I have been getting inquires hit on my credit, please stop all inquires ASAP.
 I am not sure how my full social got in your hands and did not authorize to run my credit.

 That being said I am not interested in getting solar panels at the moment.

 Attachment(s)
 image2.png




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 [1VXE7Q-ZK79]




--
Steven Burt
Senior Regulatory Counsel
385.715.6209
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      Internet.




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Lehi, Utah 84043


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                                                                                                                      Solar Mosaic_Cardona-Brown 000789
         Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 32 of 252 PageID: 32




From:                                        Steven Burt <steven.burt@vivintsolar.com>
Sent:                                        Tuesday, April 25, 2017 9:14 AM
To:                                          Andy McElroy
Cc:                                          Melissa Miyara
Subject:                                     Re: [Mosaic Support Center] Re: MOSAIC COMPLIANCE ALERT to Vivint Solar RE: Opp
                                             191801



How about 1:30PT?

On Mon, Apr 24, 2017 at 10:33 PM, Andy McElroy <andy.mcelroy@joinmosaic.com> wrote:
 Hi Steven,

 I can be on a call and report back to Melissa. I am free 9 - 11am and 1:30 - 5:00pm PST. Anything in those blocks work?

 Andy



 Andy McElroy
 Account Executive

 P 510 356 2841
 E andy.mcelroy@joinmosaic.com
 1212 Broadway Oakland Suite 300, CA 94612


 On Mon, Apr 24, 2017 at 6:21 PM, Steven Burt <steven.burt@vivintsolar.com> wrote:
  Melissa, Kenneth - let's stop emailing on this chain, and speak over the phone, please. Melissa/Andy - can
  we set up a call?

  On Mon, Apr 24, 2017 at 6:50 PM, Melissa Miyara <support@joinmosaic.com> wrote:
   ##- Please type your reply above this line -##


   Here's an update on your ticket (#253617)! To follow up, please reply to this email.




   Melissa Miyara (Mosaic Support Center)
   Apr 24, 5:50 PM PDT

   Hi,

   We are sorry to report that we have uncovered a potential COMPLIANCE incident related to one of our
   mutual customers, Frank Siu. The opportunity owner is Kenneth Burcham.

   The way the incident was described suggests a violation of consumer lending regulations and/or Mosaic
   requirements. The following claim(s) led to the need to investigate:



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                                                                                          Solar Mosaic_Cardona-Brown 000790
         Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 33 of 252 PageID: 33



                      Salesperson represented the credit check as a "soft pull" or otherwise did not indicate there would be
                       a hard inquiry on the applicant's credit

 Please respond to this alert within 72 hours if you wish to dispute this claim. Thank you in advance for
 your attention to this important matter.

 [Ticket 253617]

 Best,

 Melissa Miyara
 Mosaic Support



 Frank Siu
 Apr 24, 1:45 PM PDT

 Dear Mosiac,
 I have been getting inquires hit on my credit, please stop all inquires ASAP.
 I am not sure how my full social got in your hands and did not authorize to run my credit.

 That being said I am not interested in getting solar panels at the moment.

 Attachment(s)
 image2.png




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 [1VXE7Q-ZK79]




--
Steven Burt
Senior Regulatory Counsel
385.715.6209
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Lehi, Utah 84043


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                                                                                                                         Solar Mosaic_Cardona-Brown 000791
               Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 34 of 252 PageID: 34




From:                                      Jordan Winder <jordan.winder@vivintsolar.com>
Sent:                                      Wednesday, February 6, 2019 8:31 AM
To:                                        Ryan Gorman
Cc:                                        Josh Evetushick; Sylvia Semper; Sara quinto-seibert
Subject:                                   Re: VSLR // Mosaic Escalations


Thanks Ryan. Appreciate it!

On Wed, Feb 6, 2019 at 9:28 AM Ryan Gorman <ryan.gorman@joinmosaic.com> wrote:
 Jordan proposed 1pm on Friday 2/8 which looks like it works for the Mosaic team.

 I'll send out a calendar invite. Please let me know if that time does not work for anyone. Feel free to add
 others as needed.

 Thanks,

 --
 Ryan Gorman
 Director, Strategic Accounts

 C 415 699 2080
 300 Lakeside Drive 24th Floor, Oakland, CA 94612

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      protect y our
      priv acy ,
      Micro so ft
      Office
      prev ented
      auto matic
      download of
      this pictu re
      from the
      In ternet.




 On Tue, Feb 5, 2019 at 3:03 PM Josh Evetushick <josh.evetushick@joinmosaic.com> wrote:
  Hello Sylvia,

  We missed you on our escalations call today and would like to connect with you this week to discuss a few customer
  accounts:

            Olwen Bursua
            Elizabeth Cardona
            Jerard Brown

  Please propose a few time slots that work for you and we will do our best to accommodate.

  Thanks,


  Josh Evetushick
  Account Executive

  P 510.904.9835
  E josh.evetushick@joinmosaic.com
  A 300 Lakeside Drive, 24th Floor, Oakland, CA 94612




                                                                     1
                                                                                            Solar Mosaic_Cardona-Brown 000792
         Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 35 of 252 PageID: 35
--

Jordan Winder
Director, vivint.Solar
M:(646) 787-5625


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                                                                                       Solar Mosaic_Cardona-Brown 000793
       Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 36 of 252 PageID: 36




From:                               Steven Burt <steven.burt@vivintsolar.com>
Sent:                               Monday, January 9, 2017 8:02 PM
To:                                 Andy McElroy
Cc:                                 Jordan Winder; Justin Busdicker; Ryan Gorman; Zachary Cottman
Subject:                            Re: Vivint SRs using their personal emails for borrowers during credit check



Thanks, Andy. We have a call scheduled with Ryan tomorrow, and will be sure to address these concerns as
well.

As for your questions, it probably makes sense for you to CC others here at Vivint Solar when you send emails
to reps. We'll talk tomorrow about who would be best, and let you know.

We recently sent a company-wide reminder of policies, which reiterated that all customers must have an
active, valid email address that they control, and the same reminder is part of the on-boarding process.

When you mention that the problem is "big," can you give us some numbers? I want to have a benchmark
against which we can measure our progress.

On Mon, Jan 9, 2017 at 11:58 AM, Andy McElroy <andy.mcelroy@joinmosaic.com> wrote:
 Hi gentlemen,

 Long email, sorry. Please see my note to Vivint SR Tanner Sirrine below. I haven't received a response but I have to
 believe it's the same story it always is, which is that it's a matter of convenience during the initial sale to use one's own
 personal email for the borrower during the credit check. This is a major compliance violation not only for Mosaic and
 Vivint but it violates federal and state privacy laws with respect to credit inquiries. With thousand of reps from dozens
 of companies using the Mosaic portal, I know this will happen occasionally. But I send a lot of these out every week for
 Vivint. I'm happy to keep doing this but to move the needle more significantly I would like to ask for your help. These
 are the main points I would like to pursue:

     1. Can I CC one or all of you on each of these I send to the reps so you can follow up with them personally? Who
          should I include? I'll make sure I don't duplicate Fraud and Compliance emails you are already receiving. The
          issues I'm discussing are most often in a separate category where Mosaic Support hasn't gotten involved.
     2. I suggest sending a company wide compliance reminder that using the SR's personal info during credit check
          and/or doc signing is not only against Mosaic and Vivint policy, it's also against the law and the SR can be held
          personally liable.
     3. Commit to including specific training to this effect during onboarding of new reps. Since I often received replies
          that are good-natured and innocent (e.g. "oh yeah, I was helping the borrower out by using my own email,
          thanks!") from SRs that are brand new, I have a feeling this is not being discussed much during training.


 I can only advise, of course, but this is looking more and more like a systemic issue. It's already big, I'm trying to stop it
 from getting bigger.

 I'll send an example right after this of the reply I send to their reply once I've established that it is the SR's personal
 email and they are in violation.



 Andy McElroy
                                                                1
                                                                                        Solar Mosaic_Cardona-Brown 000794
                        Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 37 of 252 PageID: 37
 Strategic Account Executive

 P 510 356 2841
 E andy.mcelroy@joinmosaic.com
 1212 Broadway Oakland Suite 300, CA 94612


 ---------- Forwarded message ----------
 From: Andy McElroy <andy.mcelroy@joinmosaic.com>
 Date: Fri, Jan 6, 2017 at 9:52 AM
 Subject: Borrower                 - flagged email address
 To: tanner.sirrine@vivintsolar.com


 Hi Tanner,

 Can you tell me about this? I see borrower               has an email address in the portal that I'm guessing is your
 personal email address. Did you use this as a placeholder for the credit check? Please advise.



 Andy McElroy
 Strategic Account Executive

 P 510 356 2841
 E andy.mcelroy@joinmosaic.com
 1212 Broadway Oakland Suite 300, CA 94612




--
Steven Burt
Senior Regulatory Counsel
385.715.6209
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                                                                                                                      Solar Mosaic_Cardona-Brown 000795
               Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 38 of 252 PageID: 38




From:                              Steven Burt <steven.burt@vivintsolar.com>
Sent:                              Friday, January 13, 2017 2:24 PM
To:                                Ryan Gorman
Cc:                                Jordan Winder; Justin Busdicker; Andy McElroy; Ted Fawcett
Subject:                           Re: [Mosaic Support Center] Update: MOSAIC FRAUD ALERT to Vivint Solar



redialing now

On Fri, Jan 13, 2017 at 3:22 PM, Ryan Gorman <ryan.gorman@joinmosaic.com> wrote:
 We're on but can't hear you



 --
 Ryan Gorman
 Strategic Accounts Director

 C 415 699 2080
 1212 Broadway Oakland, CA 94612

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      In ternet.




 On Fri, Jan 13, 2017 at 2:22 PM, Steven Burt <steven.burt@vivintsolar.com> wrote:
  Are you guys on the call? We can't hear you.

  On Fri, Jan 13, 2017 at 3:02 PM, Steven Burt <steven.burt@vivintsolar.com> wrote:
   Dial in: 716-293-6479 | PIN: 96134

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    Gents - in anticipation of today's conference call, please see attached. This document reiterates Vivint
    Solar policies, and has been distributed to all employees, each of whom is required to acknowledge and
    recommit to them. It will also provided to new employees as part of their onboarding process. Moreover,
    we are developing separate training modules for all employees based on each of the 10 standards.

     Also, Andy, to your question of who you can CC on emails to reps who use suspicious email addresses -
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     Amelia Roper in our HR department (amelia.roper@vivintsolar.com).

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     Steve



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      We were planning on it, Ryan, but you're right - I didn't send an invitation across to you. We can
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                                                           1
                                                                                 Solar Mosaic_Cardona-Brown 000796
 Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 39 of 252 PageID: 39
On Tue, Jan 10, 2017 at 10:20 AM, Ryan Gorman <ryan.gorman@joinmosaic.com> wrote:
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C 415 699 2080
1212 Broadway Oakland, CA 94612

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                                                 2
                                                                      Solar Mosaic_Cardona-Brown 000797
Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 40 of 252 PageID: 40

  Please provide the following:

  1. Results of investigation and actions taken
  2. Documented process for addressing compliance and fraud alerts
  3. Does Vivint have a zero tolerance policy for fraudulent behavior?

  Thank you,

  --
  Ryan Gorman
  Strategic Accounts Director

  C 415 699 2080
  1212 Broadway Oakland, CA 94612

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  ---------- Forwarded message ----------
  From: Stuart Adams <support@joinmosaic.com>
  Date: Mon, Dec 26, 2016 at 4:10 PM
  Subject: [Mosaic Support Center] Update: MOSAIC FRAUD ALERT to Vivint Solar
  To:
  Cc: Ryan Gorman <ryan.gorman@joinmosaic.com>


  ##- Please type your reply above this line -##


  You are registered as a cc on this help desk request and are thus receiving email notifications on all updates
  to the request.
  Reply to this email to add a comment to the request.




  Stuart Adams (Mosaic Support Center)
  Dec 26, 4:10 PM PST

  Hi,

  We are sorry to report that we have uncovered a potential FRAUD incident related to one of our mutual
  customers, Robert Duffy. The opportunity owner is Yhia Kera.

  This is defined as a severe violation including falsification, impersonation, and/or deliberate, proven
  misinformation influencing a homeowner to apply for a loan under false pretenses. The following
  reason(s) led to the need to investigate this fraud claim:

            Salesperson created email address for homeowner that homeowner did not immediately control
             exclusively - salesperson used email account to access/sign credit application




                                                    3
                                                                           Solar Mosaic_Cardona-Brown 000798
Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 41 of 252 PageID: 41



  Please respond to this alert within 24 hours to prevent disruptions in portal access. Thank you in advance
  for your attention to this important matter. Your Account Manager will be reaching out to you to discuss
  this incident shortly.

  #174016

  Best,

  Stuart Adams
  Mosaic Support




  You are an agent. Add a comment by replying to this email or view ticket in Zendesk Support.


      Ticket # 174132
            Status Open
  Requester Steve Burt
                               CCs Andy McElroy, Jordan Winder, Ryan Gorman
            Group Loan Ops
      Assignee -
       Priority -
                       Type Question
      Channel Web Form




  This email is a service from Mosaic Support Center. Delivered by Zendesk.

  [1RKEL3-YOPW]Ticket-Id:174132Account-Subdomain:mosaic




 --
 Steven Burt
 Senior Regulatory Counsel
 385.715.6209
       To help protect y our priv acy , Microsoft O ffice prev ented automatic download of this picture from the
       Internet.




 1800 W.Ashton Blvd.
 Lehi, Utah 84043


 Vivint Solar Developer, LLC (EIN: XX-XXXXXXX) is a licensed contractor in each
 state in which we operate, for information about our licenses please visit
 our contractor licenses page.



                                                                                                                   4
                                                                                                                       Solar Mosaic_Cardona-Brown 000799
        Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 42 of 252 PageID: 42




From:                                         Steven Burt <steven.burt@vivintsolar.com>
Sent:                                         Friday, January 13, 2017 2:25 PM
To:                                           Andy McElroy
Cc:                                           Ryan Gorman; Jordan Winder; Justin Busdicker; Ted Fawcett
Subject:                                      Re: [Mosaic Support Center] Update: MOSAIC FRAUD ALERT to Vivint Solar



We're dialed-in to that number and on hold.

On Fri, Jan 13, 2017 at 3:23 PM, Andy McElroy <andy.mcelroy@joinmosaic.com> wrote:
 Please dial us directly at 510-346-5287



 Andy McElroy
 Strategic Account Executive

 P 510 356 2841
 E andy.mcelroy@joinmosaic.com
 1212 Broadway Oakland Suite 300, CA 94612


 On Fri, Jan 13, 2017 at 2:22 PM, Andy McElroy <andy.mcelroy@joinmosaic.com> wrote:
  It went dark, we redialed in a few times with no luck



  Andy McElroy
  Strategic Account Executive

  P 510 356 2841
  E andy.mcelroy@joinmosaic.com
  1212 Broadway Oakland Suite 300, CA 94612


  On Fri, Jan 13, 2017 at 2:22 PM, Steven Burt <steven.burt@vivintsolar.com> wrote:
   Are you guys on the call? We can't hear you.

   On Fri, Jan 13, 2017 at 3:02 PM, Steven Burt <steven.burt@vivintsolar.com> wrote:
    Dial in: 716-293-6479 | PIN: 96134

     On Fri, Jan 13, 2017 at 2:51 PM, Steven Burt <steven.burt@vivintsolar.com> wrote:
      Gents - in anticipation of today's conference call, please see attached. This document reiterates Vivint
      Solar policies, and has been distributed to all employees, each of whom is required to acknowledge and
      recommit to them. It will also provided to new employees as part of their onboarding
      process. Moreover, we are developing separate training modules for all employees based on each of the
      10 standards.

      Also, Andy, to your question of who you can CC on emails to reps who use suspicious email addresses -
      please include Justin Busdicker of our legal department (justin.busdicker@vivintsolar.com) along with
      Amelia Roper in our HR department (amelia.roper@vivintsolar.com).

      Finally, we are looking forward to discussing our process for intake, investigation, and action associated
      with the alerts we receive from Mosaic.
                                                                      1
                                                                                            Solar Mosaic_Cardona-Brown 000800
 Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 43 of 252 PageID: 43


Steve



On Tue, Jan 10, 2017 at 11:25 AM, Steven Burt <steven.burt@vivintsolar.com> wrote:
 We were planning on it, Ryan, but you're right - I didn't send an invitation across to you. We can
 reschedule - I'll do that now and be sure to send you a meeting invite.

On Tue, Jan 10, 2017 at 10:20 AM, Ryan Gorman <ryan.gorman@joinmosaic.com> wrote:
 Hi Steve,

 I didn't seen a calendar invite come across for this, but I'm out with the flu and won't be
 able to make this call today.

 Can we reschedule for Thurs or Fri this week?

 Thanks,




 --
 Ryan Gorman
 Strategic Accounts Director

 C 415 699 2080
 1212 Broadway Oakland, CA 94612

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 On Fri, Jan 6, 2017 at 4:03 PM, Ryan Gorman <ryan.gorman@joinmosaic.com> wrote:
  Hi Steve,

  12:30 PT on Tuesday works. Feel free to send a calendar invite and I'll include the right
  group here.

  It would be great if you can have the below requested items for that call.

  Thanks,

  --
  Ryan Gorman
  Strategic Accounts Director

  C 415 699 2080
  1212 Broadway Oakland, CA 94612

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  On Fri, Jan 6, 2017 at 9:42 AM, Steven Burt <steven.burt@vivintsolar.com> wrote:
   Ryan - thank you for following up about Mosaic's concerns. We take them seriously, and are
   responding accordingly.

                                                  2
                                                                       Solar Mosaic_Cardona-Brown 000801
Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 44 of 252 PageID: 44

  Can we set up some time to talk on Tuesday? We are available at 1:30MT/12:30PT. Would that
  work for you and your team?

  On Wed, Jan 4, 2017 at 10:10 AM, Ryan Gorman <ryan.gorman@joinmosaic.com> wrote:
   Vivint team,

   This unauthorized credit pull is a serious issue that has the attention of senior Legal,
   Credit, and Compliance officers at Mosaic.

   Please provide the following:

   1. Results of investigation and actions taken
   2. Documented process for addressing compliance and fraud alerts
   3. Does Vivint have a zero tolerance policy for fraudulent behavior?

   Thank you,

   --
   Ryan Gorman
   Strategic Accounts Director

   C 415 699 2080
   1212 Broadway Oakland, CA 94612

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   ---------- Forwarded message ----------
   From: Stuart Adams <support@joinmosaic.com>
   Date: Mon, Dec 26, 2016 at 4:10 PM
   Subject: [Mosaic Support Center] Update: MOSAIC FRAUD ALERT to Vivint Solar
   To:
   Cc: Ryan Gorman <ryan.gorman@joinmosaic.com>


   ##- Please type your reply above this line -##


   You are registered as a cc on this help desk request and are thus receiving email notifications on all
   updates to the request.
   Reply to this email to add a comment to the request.




   Stuart Adams (Mosaic Support Center)
   Dec 26, 4:10 PM PST

   Hi,

   We are sorry to report that we have uncovered a potential FRAUD incident related to one of our mutual
   customers, Robert Duffy. The opportunity owner is Yhia Kera.




                                                    3
                                                                           Solar Mosaic_Cardona-Brown 000802
Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 45 of 252 PageID: 45



   This is defined as a severe violation including falsification, impersonation, and/or deliberate, proven
   misinformation influencing a homeowner to apply for a loan under false pretenses. The following
   reason(s) led to the need to investigate this fraud claim:

            Salesperson created email address for homeowner that homeowner did not immediately control
             exclusively - salesperson used email account to access/sign credit application

   Please respond to this alert within 24 hours to prevent disruptions in portal access. Thank you in advanc
   for your attention to this important matter. Your Account Manager wil l be reaching out to you to discuss
   this incident shortly.

   #174016

   Best,

   Stuart Adams
   Mosaic Support




   You are an agent. Add a comment by replying to this email or view ticket in Zendesk Support.


           Ticket # 174132
            Status Open
   Requester Steve Burt
              CCs Andy McElroy, Jordan Winder, Ryan Gorman
            Group Loan Ops
       Assignee -
           Priority -
             Type Question
       Channel Web Form




   This email is a service from Mosaic Support Center. Delivered by Zendesk.

   [1RKEL3-YOPW]Ticket-Id:174132Account-Subdomain:mosaic




  --
  Steven Burt
  Senior Regulatory Counsel
  385.715.6209


                                                                       4
                                                                                                  Solar Mosaic_Cardona-Brown 000803
               Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 46 of 252 PageID: 46




From:                               Steven Burt <steven.burt@vivintsolar.com>
Sent:                               Tuesday, January 10, 2017 10:25 AM
To:                                 Ryan Gorman
Cc:                                 Jordan Winder; Justin Busdicker; Andy McElroy; Ted Fawcett
Subject:                            Re: [Mosaic Support Center] Update: MOSAIC FRAUD ALERT to Vivint Solar



We were planning on it, Ryan, but you're right - I didn't send an invitation across to you. We can reschedule -
I'll do that now and be sure to send you a meeting invite.

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 Hi Steve,

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 Can we reschedule for Thurs or Fri this week?

 Thanks,




 --
 Ryan Gorman
 Strategic Accounts Director

 C 415 699 2080
 1212 Broadway Oakland, CA 94612

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  Thanks,

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  Ryan Gorman
  Strategic Accounts Director

  C 415 699 2080
  1212 Broadway Oakland, CA 94612

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                                                                                  Solar Mosaic_Cardona-Brown 000804
   Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 47 of 252 PageID: 47
On Fri, Jan 6, 2017 at 9:42 AM, Steven Burt <steven.burt@vivintsolar.com> wrote:
 Ryan - thank you for following up about Mosaic's concerns. We take them seriously, and are responding
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 ---------- Forwarded message ----------
 From: Stuart Adams <support@joinmosaic.com>
 Date: Mon, Dec 26, 2016 at 4:10 PM
 Subject: [Mosaic Support Center] Update: MOSAIC FRAUD ALERT to Vivint Solar
 To:
 Cc: Ryan Gorman <ryan.gorman@joinmosaic.com>


 ##- Please type your reply above this line -##


 You are registered as a cc on this help desk request and are thus receiving email notifications on all updates to
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 Reply to this email to add a comment to the request.




 Stuart Adams (Mosaic Support Center)
 Dec 26, 4:10 PM PST

 Hi,



                                                        2
                                                                               Solar Mosaic_Cardona-Brown 000805
         Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 48 of 252 PageID: 48



 We are sorry to report that we have uncovered a potential FRAUD incident related to one of our mutual
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 #174016

 Best,

 Stuart Adams
 Mosaic Support




 You are an agent. Add a comment by replying to this email or view ticket in Zendesk Support.


         Ticket # 174132
          Status Open
 Requester Steve Burt
            CCs Andy McElroy, Jordan Winder, Ryan Gorman
          Group Loan Ops
     Assignee -
         Priority -
           Type Question
     Channel Web Form




 This email is a service from Mosaic Support Center. Delivered by Zendesk.

 [1RKEL3-YOPW]Ticket-Id:174132Account-Subdomain:mosaic




--
Steven Burt
                                                                              3
                                                                                                Solar Mosaic_Cardona-Brown 000806
       Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 49 of 252 PageID: 49




From:                                Steven Burt <steven.burt@vivintsolar.com>
Sent:                                Friday, January 13, 2017 2:02 PM
To:                                  Ryan Gorman
Cc:                                  Jordan Winder; Justin Busdicker; Andy McElroy; Ted Fawcett
Subject:                             Re: [Mosaic Support Center] Update: MOSAIC FRAUD ALERT to Vivint Solar



Dial in: 716-293-6479 | PIN: 96134

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   Thanks,




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   Strategic Accounts Director

   C 415 699 2080
   1212 Broadway Oakland, CA 94612




                                                             1
                                                                                   Solar Mosaic_Cardona-Brown 000807
   Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 50 of 252 PageID: 50
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1212 Broadway Oakland, CA 94612

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  ---------- Forwarded message ----------
  From: Stuart Adams <support@joinmosaic.com>
                                                    2
                                                                         Solar Mosaic_Cardona-Brown 000808
Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 51 of 252 PageID: 51
Date: Mon, Dec 26, 2016 at 4:10 PM
Subject: [Mosaic Support Center] Update: MOSAIC FRAUD ALERT to Vivint Solar
To:
Cc: Ryan Gorman <ryan.gorman@joinmosaic.com>


##- Please type your reply above this line -##


You are registered as a cc on this help desk request and are thus receiving email notifications on all updates to
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Reply to this email to add a comment to the request.




Stuart Adams (Mosaic Support Center)
Dec 26, 4:10 PM PST

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#174016

Best,

Stuart Adams
Mosaic Support




You are an agent. Add a comment by replying to this email or view ticket in Zendesk Support.


     Ticket # 174132
      Status Open
Requester Steve Burt
        CCs Andy McElroy, Jordan Winder, Ryan Gorman

                                                                          3
                                                                                               Solar Mosaic_Cardona-Brown 000809
         Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 52 of 252 PageID: 52

                                         Group Loan Ops
                  Assignee -
                                 Priority -
                                                     Type Question
                         Channel Web Form




         This email is a service from Mosaic Support Center. Delivered by Zendesk.

         [1RKEL3-YOPW]Ticket-Id:174132Account-Subdomain:mosaic




       --
       Steven Burt
       Senior Regulatory Counsel
       385.715.6209
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                                    Internet.




       1800 W. Ashton Blvd.
        Lehi, Utah 84043


       Vivint Solar Developer, LLC (EIN: XX-XXXXXXX) is a licensed contractor in each
       state in which we operate, for information about our licenses please visit
       our contractor licenses page.

       The information in this email is for the use of the designated recipients only.
       This email is considered confidential unless otherwise indicated. If you are not
       the intended recipient of this email, you are instructed not to review it or any
       attachments, and to immediately delete this email, and are further instructed to
       not disseminate, forward or copy any information from this email or its
       attachments.




 --
 Steven Burt
 Senior Regulatory Counsel
 385.715.6209
         To help protect y our priv acy , Microsoft O ffice prev ented automatic download of this picture from the
         Internet.




 1800 W.    Ashton Blvd.
     Lehi, Utah 84043




--
Steven Burt
Senior Regulatory Counsel

                                                                                                                                                4
                                                                                                                                                    Solar Mosaic_Cardona-Brown 000810
      Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 53 of 252 PageID: 53




From:                             Steven Burt <steven.burt@vivintsolar.com>
Sent:                             Friday, January 13, 2017 2:22 PM
To:                               Ryan Gorman
Cc:                               Jordan Winder; Justin Busdicker; Andy McElroy; Ted Fawcett
Subject:                          Re: [Mosaic Support Center] Update: MOSAIC FRAUD ALERT to Vivint Solar



Are you guys on the call? We can't hear you.

On Fri, Jan 13, 2017 at 3:02 PM, Steven Burt <steven.burt@vivintsolar.com> wrote:
 Dial in: 716-293-6479 | PIN: 96134

 On Fri, Jan 13, 2017 at 2:51 PM, Steven Burt <steven.burt@vivintsolar.com> wrote:
  Gents - in anticipation of today's conference call, please see attached. This document reiterates Vivint Solar
  policies, and has been distributed to all employees, each of whom is required to acknowledge and recommit
  to them. It will also provided to new employees as part of their onboarding process. Moreover, we are
  developing separate training modules for all employees based on each of the 10 standards.

  Also, Andy, to your question of who you can CC on emails to reps who use suspicious email addresses -
  please include Justin Busdicker of our legal department (justin.busdicker@vivintsolar.com) along with Amelia
  Roper in our HR department (amelia.roper@vivintsolar.com).

  Finally, we are looking forward to discussing our process for intake, investigation, and action associated with
  the alerts we receive from Mosaic.

  Steve



  On Tue, Jan 10, 2017 at 11:25 AM, Steven Burt <steven.burt@vivintsolar.com> wrote:
   We were planning on it, Ryan, but you're right - I didn't send an invitation across to you. We can
   reschedule - I'll do that now and be sure to send you a meeting invite.

   On Tue, Jan 10, 2017 at 10:20 AM, Ryan Gorman <ryan.gorman@joinmosaic.com> wrote:
    Hi Steve,

    I didn't seen a calendar invite come across for this, but I'm out with the flu and won't be able
    to make this call today.

    Can we reschedule for Thurs or Fri this week?

    Thanks,




    --
    Ryan Gorman
    Strategic Accounts Director


                                                          1
                                                                                Solar Mosaic_Cardona-Brown 000811
  Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 54 of 252 PageID: 54
C 415 699 2080
1212 Broadway Oakland, CA 94612

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On Fri, Jan 6, 2017 at 4:03 PM, Ryan Gorman <ryan.gorman@joinmosaic.com> wrote:
 Hi Steve,

 12:30 PT on Tuesday works. Feel free to send a calendar invite and I'll include the right
 group here.

 It would be great if you can have the below requested items for that call.

 Thanks,

 --
 Ryan Gorman
 Strategic Accounts Director

 C 415 699 2080
 1212 Broadway Oakland, CA 94612

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 On Fri, Jan 6, 2017 at 9:42 AM, Steven Burt <steven.burt@vivintsolar.com> wrote:
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  Can we set up some time to talk on Tuesday? We are available at 1:30MT/12:30PT. Would that work
  for you and your team?

  On Wed, Jan 4, 2017 at 10:10 AM, Ryan Gorman <ryan.gorman@joinmosaic.com> wrote:
   Vivint team,

    This unauthorized credit pull is a serious issue that has the attention of senior Legal,
    Credit, and Compliance officers at Mosaic.

    Please provide the following:

    1. Results of investigation and actions taken
    2. Documented process for addressing compliance and fraud alerts
    3. Does Vivint have a zero tolerance policy for fraudulent behavior?

    Thank you,

    --
    Ryan Gorman
    Strategic Accounts Director

    C 415 699 2080
    1212 Broadway Oakland, CA 94612

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                                                                        Solar Mosaic_Cardona-Brown 000812
Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 55 of 252 PageID: 55


---------- Forwarded message ----------
From: Stuart Adams <support@joinmosaic.com>
Date: Mon, Dec 26, 2016 at 4:10 PM
Subject: [Mosaic Support Center] Update: MOSAIC FRAUD ALERT to Vivint Solar
To:
Cc: Ryan Gorman <ryan.gorman@joinmosaic.com>


##- Please type your reply above this line -##


You are registered as a cc on this help desk request and are thus receiving email notifications on all updates to
the request.
Reply to this email to add a comment to the request.




Stuart Adams (Mosaic Support Center)
Dec 26, 4:10 PM PST

Hi,

We are sorry to report that we have uncovered a potential FRAUD incident related to one of our mutual
customers, Robert Duffy. The opportunity owner is Yhia Kera.

This is defined as a severe violation including falsification, impersonation, and/or deliberate, proven
misinformation influencing a homeowner to apply for a loan under false pretenses. The following
reason(s) led to the need to investigate this fraud claim:

      Salesperson created email address for homeowner that homeowner did not immediately control
       exclusively - salesperson used email account to access/sign credit application

Please respond to this alert within 24 hours to prevent disruptions in portal access. Thank you in advance
for your attention to this important matter. Your Account Manager will be reaching out to you to discuss
this incident shortly.

#174016

Best,

Stuart Adams
Mosaic Support




You are an agent. Add a comment by replying to this email or view ticket in Zendesk Support.


     Ticket # 174132
      Status Open
                                                                        3
                                                                                               Solar Mosaic_Cardona-Brown 000813
     Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 56 of 252 PageID: 56

      Requester Steve Burt
                                                         CCs Andy McElroy, Jordan Winder, Ryan Gorman
                                      Group Loan Ops
               Assignee -
                              Priority -
                                                  Type Question
                      Channel Web Form




      This email is a service from Mosaic Support Center. Delivered by Zendesk.

      [1RKEL3-YOPW]Ticket-Id:174132Account-Subdomain:mosaic




     --
     Steven Burt
     Senior Regulatory Counsel
     385.715.6209
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                                 Internet.




     1800 W.Ashton Blvd.
     Lehi, Utah 84043


     Vivint Solar Developer, LLC (EIN: XX-XXXXXXX) is a licensed contractor in each
     state in which we operate, for information about our licenses please visit
     our contractor licenses page.

     The information in this email is for the use of the designated recipients only.
     This email is considered confidential unless otherwise indicated. If you are not
     the intended recipient of this email, you are instructed not to review it or any
     attachments, and to immediately delete this email, and are further instructed to
     not disseminate, forward or copy any information from this email or its
     attachments.




--
Steven Burt
Senior Regulatory Counsel
385.715.6209
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       Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 57 of 252 PageID: 57




From:                                          Steven Burt <steven.burt@vivintsolar.com>
Sent:                                          Friday, January 13, 2017 2:26 PM
To:                                            Andy McElroy
Cc:                                            Ryan Gorman; Jordan Winder; Justin Busdicker; Ted Fawcett
Subject:                                       Re: [Mosaic Support Center] Update: MOSAIC FRAUD ALERT to Vivint Solar



Please call me at 385.715.6209

On Fri, Jan 13, 2017 at 3:25 PM, Steven Burt <steven.burt@vivintsolar.com> wrote:
 We're dialed-in to that number and on hold.

 On Fri, Jan 13, 2017 at 3:23 PM, Andy McElroy <andy.mcelroy@joinmosaic.com> wrote:
  Please dial us directly at 510-346-5287



  Andy McElroy
  Strategic Account Executive

  P 510 356 2841
  E andy.mcelroy@joinmosaic.com
  1212 Broadway Oakland Suite 300, CA 94612


  On Fri, Jan 13, 2017 at 2:22 PM, Andy McElroy <andy.mcelroy@joinmosaic.com> wrote:
   It went dark, we redialed in a few times with no luck



   Andy McElroy
   Strategic Account Executive

   P 510 356 2841
   E andy.mcelroy@joinmosaic.com
   1212 Broadway Oakland Suite 300, CA 94612


   On Fri, Jan 13, 2017 at 2:22 PM, Steven Burt <steven.burt@vivintsolar.com> wrote:
    Are you guys on the call? We can't hear you.

    On Fri, Jan 13, 2017 at 3:02 PM, Steven Burt <steven.burt@vivintsolar.com> wrote:
     Dial in: 716-293-6479 | PIN: 96134

      On Fri, Jan 13, 2017 at 2:51 PM, Steven Burt <steven.burt@vivintsolar.com> wrote:
       Gents - in anticipation of today's conference call, please see attached. This document reiterates Vivint
       Solar policies, and has been distributed to all employees, each of whom is required to acknowledge and
       recommit to them. It will also provided to new employees as part of their onboarding
       process. Moreover, we are developing separate training modules for all employees based on each of the
       10 standards.

       Also, Andy, to your question of who you can CC on emails to reps who use suspicious email addresses -
       please include Justin Busdicker of our legal department (justin.busdicker@vivintsolar.com) along with
       Amelia Roper in our HR department (amelia.roper@vivintsolar.com).
                                                                       1
                                                                                             Solar Mosaic_Cardona-Brown 000815
Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 58 of 252 PageID: 58


Finally, we are looking forward to discussing our process for intake, investigation, and action associated
with the alerts we receive from Mosaic.

Steve



On Tue, Jan 10, 2017 at 11:25 AM, Steven Burt <steven.burt@vivintsolar.com> wrote:
 We were planning on it, Ryan, but you're right - I didn't send an invitation across to you. We can
 reschedule - I'll do that now and be sure to send you a meeting invite.

 On Tue, Jan 10, 2017 at 10:20 AM, Ryan Gorman <ryan.gorman@joinmosaic.com> wrote:
  Hi Steve,

  I didn't seen a calendar invite come across for this, but I'm out with the flu and won't be
  able to make this call today.

  Can we reschedule for Thurs or Fri this week?

  Thanks,




  --
  Ryan Gorman
  Strategic Accounts Director

  C 415 699 2080
  1212 Broadway Oakland, CA 94612

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  On Fri, Jan 6, 2017 at 4:03 PM, Ryan Gorman <ryan.gorman@joinmosaic.com> wrote:
   Hi Steve,

   12:30 PT on Tuesday works. Feel free to send a calendar invite and I'll include the right
   group here.

   It would be great if you can have the below requested items for that call.

   Thanks,

   --
   Ryan Gorman
   Strategic Accounts Director

   C 415 699 2080
   1212 Broadway Oakland, CA 94612

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   On Fri, Jan 6, 2017 at 9:42 AM, Steven Burt <steven.burt@vivintsolar.com> wrote:
                                                   2
                                                                          Solar Mosaic_Cardona-Brown 000816
Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 59 of 252 PageID: 59

   Ryan - thank you for following up about Mosaic's concerns. We take them seriously, and are
   responding accordingly.

   Can we set up some time to talk on Tuesday? We are available at 1:30MT/12:30PT. Would that
   work for you and your team?

   On Wed, Jan 4, 2017 at 10:10 AM, Ryan Gorman <ryan.gorman@joinmosaic.com> wrote:
    Vivint team,

   This unauthorized credit pull is a serious issue that has the attention of senior Legal,
   Credit, and Compliance officers at Mosaic.

   Please provide the following:

   1. Results of investigation and actions taken
   2. Documented process for addressing compliance and fraud alerts
   3. Does Vivint have a zero tolerance policy for fraudulent behavior?

   Thank you,

   --
   Ryan Gorman
   Strategic Accounts Director

   C 415 699 2080
   1212 Broadway Oakland, CA 94612

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   ---------- Forwarded message ----------
   From: Stuart Adams <support@joinmosaic.com>
   Date: Mon, Dec 26, 2016 at 4:10 PM
   Subject: [Mosaic Support Center] Update: MOSAIC FRAUD ALERT to Vivint Solar
   To:
   Cc: Ryan Gorman <ryan.gorman@joinmosaic.com>


   ##- Please type your reply above this line -##


   You are registered as a cc on this help desk request and are thus receiving email notifications on all
   updates to the request.
   Reply to this email to add a comment to the request.




   Stuart Adams (Mosaic Support Center)
   Dec 26, 4:10 PM PST

   Hi,




                                                    3
                                                                          Solar Mosaic_Cardona-Brown 000817
Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 60 of 252 PageID: 60



    We are sorry to report that we have uncovered a potential FRAUD incident related to one of our mutual
    customers, Robert Duffy. The opportunity owner is Yhia Kera.

    This is defined as a severe violation including falsification, impersonation, and/or deliberate, proven
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             Salesperson created email address for homeowner that homeowner did not immediately control
              exclusively - salesperson used email account to access/sign credit application

    Please respond to this alert within 24 hours to prevent disruptions in portal access. Thank you in advan
    for your attention to this important matter. Your Account Manager wil l be reaching out to you to discus
    this incident shortly.

    #174016

    Best,

    Stuart Adams
    Mosaic Support




    You are an agent. Add a comment by replying to this email or view ticket in Zendesk Support.


            Ticket # 174132
             Status Open
    Requester Steve Burt
               CCs Andy McElroy, Jordan Winder, Ryan Gorman
             Group Loan Ops
        Assignee -
            Priority -
              Type Question
        Channel Web Form




    This email is a service from Mosaic Support Center. Delivered by Zendesk.

    [1RKEL3-YOPW]Ticket-Id:174132Account-Subdomain:mosaic




   --
   Steven Burt
                                                                      4
                                                                                                   Solar Mosaic_Cardona-Brown 000818
        Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 61 of 252 PageID: 61




From:                               Steven Burt <steven.burt@vivintsolar.com>
Sent:                               Friday, January 13, 2017 1:51 PM
To:                                 Ryan Gorman
Cc:                                 Jordan Winder; Justin Busdicker; Andy McElroy; Ted Fawcett
Subject:                            Re: [Mosaic Support Center] Update: MOSAIC FRAUD ALERT to Vivint Solar
Attachments:                        VSLR Ethics Standards.pdf



Gents - in anticipation of today's conference call, please see attached. This document reiterates Vivint Solar
policies, and has been distributed to all employees, each of whom is required to acknowledge and recommit to
them. It will also provided to new employees as part of their onboarding process. Moreover, we are
developing separate training modules for all employees based on each of the 10 standards.

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  Can we reschedule for Thurs or Fri this week?

  Thanks,




  --
  Ryan Gorman
  Strategic Accounts Director

  C 415 699 2080
  1212 Broadway Oakland, CA 94612

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    Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 62 of 252 PageID: 62
On Fri, Jan 6, 2017 at 4:03 PM, Ryan Gorman <ryan.gorman@joinmosaic.com> wrote:
 Hi Steve,

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Thanks,

--
Ryan Gorman
Strategic Accounts Director

C 415 699 2080
1212 Broadway Oakland, CA 94612

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  Please provide the following:

  1. Results of investigation and actions taken
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  3. Does Vivint have a zero tolerance policy for fraudulent behavior?

  Thank you,

  --
  Ryan Gorman
  Strategic Accounts Director

  C 415 699 2080
  1212 Broadway Oakland, CA 94612

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  ---------- Forwarded message ----------
  From: Stuart Adams <support@joinmosaic.com>
  Date: Mon, Dec 26, 2016 at 4:10 PM
  Subject: [Mosaic Support Center] Update: MOSAIC FRAUD ALERT to Vivint Solar
  To:
                                                     2
                                                                           Solar Mosaic_Cardona-Brown 000820
 Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 63 of 252 PageID: 63
Cc: Ryan Gorman <ryan.gorman@joinmosaic.com>


##- Please type your reply above this line -##


You are registered as a cc on this help desk request and are thus receiving email notifications on all updates to
the request.
Reply to this email to add a comment to the request.




Stuart Adams (Mosaic Support Center)
Dec 26, 4:10 PM PST

Hi,

We are sorry to report that we have uncovered a potential FRAUD incident related to one of our mutual
customers, Robert Duffy. The opportunity owner is Yhia Kera.

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misinformation influencing a homeowner to apply for a loan under false pretenses. The following
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      Salesperson created email address for homeowner that homeowner did not immediately control
       exclusively - salesperson used email account to access/sign credit application

Please respond to this alert within 24 hours to prevent disruptions in portal access. Thank you in advance
for your attention to this important matter. Your Account Manager will be reaching out to you to discuss
this incident shortly.

#174016

Best,

Stuart Adams
Mosaic Support




You are an agent. Add a comment by replying to this email or view ticket in Zendesk Support.


     Ticket # 174132
      Status Open
Requester Steve Burt
        CCs Andy McElroy, Jordan Winder, Ryan Gorman
      Group Loan Ops
 Assignee -
     Priority -

                                                                           3
                                                                                               Solar Mosaic_Cardona-Brown 000821
                          Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 64 of 252 PageID: 64

                                                             Type Question
                                 Channel Web Form




                This email is a service from Mosaic Support Center. Delivered by Zendesk.

                [1RKEL3-YOPW]Ticket-Id:174132Account-Subdomain:mosaic




       --
       Steven Burt
       Senior Regulatory Counsel
       385.715.6209
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           Lehi, Utah 84043


       Vivint Solar Developer, LLC (EIN: XX-XXXXXXX) is a licensed contractor in each
       state in which we operate, for information about our licenses please visit
       our contractor licenses page.

       The information in this email is for the use of the designated recipients only.
       This email is considered confidential unless otherwise indicated. If you are not
       the intended recipient of this email, you are instructed not to review it or any
       attachments, and to immediately delete this email, and are further instructed to
       not disseminate, forward or copy any information from this email or its
       attachments.




 --
 Steven Burt
 Senior Regulatory Counsel
 385.715.6209
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     Lehi, Utah 84043




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Steven Burt
Senior Regulatory Counsel
385.715.6209
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      Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 65 of 252 PageID: 65

                       ETHICS STANDARDS
      Vivint Solar’s reputation and corporate integrity is built upon the honesty, fairness, and personal integrity of its
      employees. Consequently, Vivint Solar requires that its employees adhere to the following standards:*


Cr e a t i n g a Fa l s e Acco u n t                                      Notice of Cancellation
     We may not create a false account of any kind. This includes              We must orally notify customers that they have the right to
     creating an account under a fictitious name or the name of                cancel the contract as required by state and federal law. In
     someone who has not expressly agreed to have an account                   doing so, we may not state that the contract is "not binding" or




1                                                                         2
     created in their name. All customer agreements must be                    anything to that effect; the contract is binding unless the
     signed by the homeowner. The homeowner's spouse or                        customer exercises his or her right to cancel.
     domestic partner may also sign customer agreements, but only
     if the homeowner also signs. No one who is not a homeowner
     or homeowner's spouse may sign a customer agreement.

Misrepresent at ions Regarding                                            Fo rg e r y
R e l a t i o n s h i p wi t h Ut i l i t y C o m p a n i e s                  We may not sign a customer agreement or check a signature
     We may not say or do anything that may reasonably cause a                 box in a customer agreement on a customer’s behalf.
     customer to believe we are affiliated with a utility company.             Checking a signature box for a customer, or leading them to




3                                                                         4
     We do not work for or in partnership with any utility. Other              believe it means something it doesn't, is the same as forging
     than net metering and interconnection, there is no                        their signature. Similarly, we may not knowingly allow any
     relationship between Vivint Solar and a utility company.                  person to sign or check a signature box in a customer
                                                                               agreement on behalf of another person.


Running Customer Credit Without                                           Pr ov i d i n g Fa l s e I n fo r m a t i o n
Consent                                                                        We may not provide false or inaccurate information
     Obtaining a consumer report can negatively impact a                       concerning any customer in order to progress an account.
     customer’s credit and, consequently, should only be done                  This includes providing a false email address, false usage or




5                                                                         6
     with a customer's express authorization, appropriate for the              utility information, or false payment information. In addition,
     circumstances (or other circumstances expressly approved                  we may not list an employee's own checking account
     by the Legal Department). We must never allow another                     information or a prepaid card of any kind as a customer’s
                                                                               payment information.
     person -even a spouse- to authorize a credit check on behalf
     of someone else.

C o n t r a c t Te r m s                                                  S h a r i n g C o n fi d e n t i a l I n f o r m a t i o n
     We may not promise customers anything that contradicts the                We may not share confidential information with anyone
     terms of their agreement, including any promise concerning:               outside the company or allow anyone to do work on an
     (a) energy production (except in a lease); (b) cost savings; (c) a        employee's behalf that is not an employee of Vivint Solar. This




7                                                                         8
     customer's ability to terminate the agreement after the                   includes allowing anyone to access Vivint Solar’s information
     system is installed; and/or (d) the cost to remove the system             technology systems using our log-in information.
     temporarily for property repairs. We may not enter into side
     deals with customers that are not memorialized in written
     agreements approved by the company. And nothing is free!

Misrepresentations Regarding                                              Elderly Customers
Competition and Utilities                                                              We need to treat elderly customers with extra care to
     We may not make untrue or misleading statements about a                           ensure they understand our products and services.
     competitor or a utility company. For example, we may not




9                                                                         10
                                                                                       This includes not taking advantage of an older
     represent that a utility's or competitor's rates will increase                    customer's inexperience with or lack of access to
     without data to support our claim and appropriate                                 technology, or unfamiliarity with utility rates and
     company approval.                                                                 usage.




Violation of these standards will result in immediate disciplinary action, which may include termination.

                                    * These Standards do not include every principle that should govern employee conduct.     All
                                      employees should apply common sense, follow all company policies (including the
                                      Employee Handbook, Operations Manual, and SEIA Business Code), and abide by the
                                      highest personal ethical standards, in making decisions and interacting with customers. If
                                      you have any questions, please contact Human Resources (HRsolar@vivintsolar.com) or
                                      the Legal Department (solarlegal@vivintsolar.com). As we each personally uphold these
                                      Standards, and train and require our employees to do the same, we will delight our
                                      customers and lead the industry.
                                                                                          Solar Mosaic_Cardona-Brown 000823
       Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 66 of 252 PageID: 66




From:                                Steven Burt <steven.burt@vivintsolar.com>
Sent:                                Monday, January 23, 2017 4:06 PM
To:                                  Ryan Gorman
Cc:                                  Andy McElroy; Jordan Winder; Justin Busdicker; Brandon Hale
Subject:                             Re: Report on Compliance Concerns



Ryan - would your team be available on Thursday at 10:00 PT? Our Chief Revenue Officer would like to join
the call, and is available then.

On Mon, Jan 23, 2017 at 2:32 PM, Steven Burt <steven.burt@vivintsolar.com> wrote:
 We are, tentatively; I'm awaiting schedule confirmation from others, per your request, but I think it makes
 sense to get it on calendar. We'll let you know if someone on our side ends up unavailable.

 On Mon, Jan 23, 2017 at 11:18 AM, Ryan Gorman <ryan.gorman@joinmosaic.com> wrote:
  Hi Steve,

  Are we confirmed for tomorrow? Can you send out a calendar invite, or would you like me to?

  Thanks,



  --
  Ryan Gorman
  Strategic Accounts Director

  C 415 699 2080
  1212 Broadway Oakland, CA 94612

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  On Fri, Jan 20, 2017 at 3:04 PM, Ryan Gorman <ryan.gorman@joinmosaic.com> wrote:
   Sure, does 1:30pm PT on Tuesday work?

   Our VP of Ops will be joining as well. Does it make sense to include Vivint senior operations
   too?

   Thanks,


   --
   Ryan Gorman
   Strategic Accounts Director

   C 415 699 2080
   1212 Broadway Oakland, CA 94612

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   On Fri, Jan 20, 2017 at 2:10 PM, Steven Burt <steven.burt@vivintsolar.com> wrote:
                                                              1
                                                                                    Solar Mosaic_Cardona-Brown 000824
  Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 67 of 252 PageID: 67

I'm tied up all afternoon on Monday - I'm free Tuesday afternoon or Wednesday morning, though. Would
that work for Mosaic legal?

On Fri, Jan 20, 2017 at 3:02 PM, Ryan Gorman <ryan.gorman@joinmosaic.com> wrote:
 Hi Steve,

Thanks for sending this report and process outline. We've provided this information to our
compliance committee.

Mosaic legal has requested a call to discuss the issue of unauthorized credit pulls.

Does 3 or 3:30pm PT on Monday work for the Vivint team?

Thanks,


--
Ryan Gorman
Strategic Accounts Director

C 415 699 2080
1212 Broadway Oakland, CA 94612

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On Thu, Jan 19, 2017 at 6:19 PM, Steven Burt <steven.burt@vivintsolar.com> wrote:
 Good Evening,

 Per our conversation, we wanted to give you a report of our investigation of Mosaic alerts since we
 spoke last Friday. Recall that we intend to provide similar reports each Friday; we will provide our next
 report next Friday, January 27, 2017.

 Per your request, we wanted to give you some detail on our process for investigating claims and
 disciplining sales representatives.

 The level of disciplinary action depends on the degree, severity, and frequency of the conduct, but as a
 general matter we begin with verbal warnings for isolated, first-time incidents. The focus of such a
 warning is to educate and reiterate training to ensure representatives clearly understand the violation,
 and how to avoid it in the future. If we discover an incident is not isolated, or that a representative is a
 repeat offender, they will receive a formal written warning, and may be terminated. If the
 representative is not terminated, we arrange a meeting with Human Resources and the representative's
 leaders to discuss the incident and clarify expectations going forward.

 As we mentioned on the call, we have recently hired new HR personnel who are tasked, in part, with
 investigating issues such as those Mosaic has raised. The Director who is leading this effort and will be
 making decisions related to discipline is on vacation this week. However, a member of his team has
 been interviewing representatives and gathering information, and has prioritized her investigation by
 starting with representatives who have been the subject of multiple alerts. We will wait to report some
 of that information until we can report disciplinary action, if any, taken as a result of the
 investigation. For now, we have a few items to report.


 Sales Rep: Brock Morrison
                                                    2
                                                                          Solar Mosaic_Cardona-Brown 000825
Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 68 of 252 PageID: 68




We look forward to moving this process forward, and will be in touch with more information.

Steve

--
Steven Burt
Senior Regulatory Counsel
385.715.6209
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                                                                                                                  3
                                                                                                                      Solar Mosaic_Cardona-Brown 000826
               Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 69 of 252 PageID: 69




From:                               Steven Burt <steven.burt@vivintsolar.com>
Sent:                               Monday, January 23, 2017 1:33 PM
To:                                 Ryan Gorman
Cc:                                 Andy McElroy; Jordan Winder; Justin Busdicker; Brandon Hale
Subject:                            Re: Report on Compliance Concerns



We are, tentatively; I'm awaiting schedule confirmation from others, per your request, but I think it makes
sense to get it on calendar. We'll let you know if someone on our side ends up unavailable.

On Mon, Jan 23, 2017 at 11:18 AM, Ryan Gorman <ryan.gorman@joinmosaic.com> wrote:
 Hi Steve,

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 Thanks,



 --
 Ryan Gorman
 Strategic Accounts Director

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 On Fri, Jan 20, 2017 at 3:04 PM, Ryan Gorman <ryan.gorman@joinmosaic.com> wrote:
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  Our VP of Ops will be joining as well. Does it make sense to include Vivint senior operations
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  Thanks,


  --
  Ryan Gorman
  Strategic Accounts Director

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  On Fri, Jan 20, 2017 at 2:10 PM, Steven Burt <steven.burt@vivintsolar.com> wrote:
   I'm tied up all afternoon on Monday - I'm free Tuesday afternoon or Wednesday morning, though. Would
   that work for Mosaic legal?

   On Fri, Jan 20, 2017 at 3:02 PM, Ryan Gorman <ryan.gorman@joinmosaic.com> wrote:
                                                             1
                                                                                   Solar Mosaic_Cardona-Brown 000827
  Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 70 of 252 PageID: 70

Hi Steve,

Thanks for sending this report and process outline. We've provided this information to our
compliance committee.

Mosaic legal has requested a call to discuss the issue of unauthorized credit pulls.

Does 3 or 3:30pm PT on Monday work for the Vivint team?

Thanks,


--
Ryan Gorman
Strategic Accounts Director

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1212 Broadway Oakland, CA 94612

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On Thu, Jan 19, 2017 at 6:19 PM, Steven Burt <steven.burt@vivintsolar.com> wrote:
 Good Evening,

 Per our conversation, we wanted to give you a report of our investigation of Mosaic alerts since we spoke
 last Friday. Recall that we intend to provide similar reports each Friday; we will provide our next report
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 Per your request, we wanted to give you some detail on our process for investigating claims and
 disciplining sales representatives.

 The level of disciplinary action depends on the degree, severity, and frequency of the conduct, but as a
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 repeat offender, they will receive a formal written warning, and may be terminated. If the representative
 is not terminated, we arrange a meeting with Human Resources and the representative's leaders to
 discuss the incident and clarify expectations going forward.

 As we mentioned on the call, we have recently hired new HR personnel who are tasked, in part, with
 investigating issues such as those Mosaic has raised. The Director who is leading this effort and will be
 making decisions related to discipline is on vacation this week. However, a member of his team ha s been
 interviewing representatives and gathering information, and has prioritized her investigation by starting
 with representatives who have been the subject of multiple alerts. We will wait to report some of that
 information until we can report disciplinary action, if any, taken as a result of the investigation. For now,
 we have a few items to report.




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                                                                           Solar Mosaic_Cardona-Brown 000828
 Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 71 of 252 PageID: 71




We look forward to moving this process forward, and will be in touch with more information.

Steve

--
Steven Burt
Senior Regulatory Counsel
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                                                                                                                      Solar Mosaic_Cardona-Brown 000829
               Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 72 of 252 PageID: 72




From:                              Steven Burt <steven.burt@vivintsolar.com>
Sent:                              Friday, January 20, 2017 2:11 PM
To:                                Ryan Gorman
Cc:                                Andy McElroy; Jordan Winder; Justin Busdicker; Brandon Hale
Subject:                           Re: Report on Compliance Concerns



I'm tied up all afternoon on Monday - I'm free Tuesday afternoon or Wednesday morning, though. Would that
work for Mosaic legal?

On Fri, Jan 20, 2017 at 3:02 PM, Ryan Gorman <ryan.gorman@joinmosaic.com> wrote:
 Hi Steve,

 Thanks for sending this report and process outline. We've provided this information to our
 compliance committee.

 Mosaic legal has requested a call to discuss the issue of unauthorized credit pulls.

 Does 3 or 3:30pm PT on Monday work for the Vivint team?

 Thanks,


 --
 Ryan Gorman
 Strategic Accounts Director

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 On Thu, Jan 19, 2017 at 6:19 PM, Steven Burt <steven.burt@vivintsolar.com> wrote:
  Good Evening,

  Per our conversation, we wanted to give you a report of our investigation of Mosaic alerts since we spoke
  last Friday. Recall that we intend to provide similar reports each Friday; we will provide our next report
  next Friday, January 27, 2017.

  Per your request, we wanted to give you some detail on our process for investigating claims and disciplining
  sales representatives.

  The level of disciplinary action depends on the degree, severity, and frequency of the conduct, but as a
  general matter we begin with verbal warnings for isolated, first-time incidents. The focus of such a warning
  is to educate and reiterate training to ensure representatives clearly understand the violation, and how to
  avoid it in the future. If we discover an incident is not isolated, or that a representative is a repeat offender,
  they will receive a formal written warning, and may be terminated. If the representative is not terminated,
  we arrange a meeting with Human Resources and the representative's leaders to discuss the incident and
  clarify expectations going forward.


                                                            1
                                                                                  Solar Mosaic_Cardona-Brown 000830
      Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 73 of 252 PageID: 73

As we mentioned on the call, we have recently hired new HR personnel who are tasked, in part, with
investigating issues such as those Mosaic has raised. The Director who is leading this effort and will be
making decisions related to discipline is on vacation this week. However, a member of his team has been
interviewing representatives and gathering information, and has prioritized her investigation by starting with
representatives who have been the subject of multiple alerts. We will wait to report some of that
information until we can report disciplinary action, if any, taken as a result of the investigation. For now, we
have a few items to report.




We look forward to moving this process forward, and will be in touch with more information.

Steve

--
Steven Burt
Senior Regulatory Counsel
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                                                                                                                      Solar Mosaic_Cardona-Brown 000831
                        Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 74 of 252 PageID: 74




From:                                                                                                             Steven Burt <steven.burt@vivintsolar.com>
Sent:                                                                                                             Friday, January 27, 2017 5:57 PM
To:                                                                                                               Ryan Gorman; Andy McElroy
Cc:                                                                                                               Jordan Winder; Justin Busdicker; Brandon Hale; Ben Harper
Subject:                                                                                                          2d Report on Compliance Concerns


Good Evening,

Here is our second report on Vivint Solar's efforts to address the compliance concerns Mosaic has raised.

We have received information about a total of approximately 152 incidents from Mosaic. We received that information by way
of two spreadsheets, Mosaic Fraud and Compliance Alert emails, and emails forwarded from Andy McElroy. We evaluated and
reported on 5 of these incidents last week, and covered a handful of others with Mosaic before formalizing the process.

This week, we reviewed the backlog and eliminated 48 of these incidents as either false-positives for bogus emails, or lacking
sufficient information to investigate. We would be happy to discuss those incidents lacking sufficient information in order to get
what we need to allow us to investigate.

We identified 87 incidents that merited additional investigation. After eliminating representatives that no longer work for Vivint
Solar, along with names we could not find in our systems, we were left with 41 representatives who were involved in one or
more of the incidents. Each of these representatives received a verbal warning in connection with the conduct at issue. We
would be happy to provide additional detail and discuss these communications further.

We believe we are now left with approximately 15 incidents meriting further investigation; we hope to investigate those
incidents next week.

Please let us know if you have any additional questions.

Steve

--
Steven Burt
Senior Regulatory Counsel
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                                                                                                                                                                  Solar Mosaic_Cardona-Brown 000832
                        Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 75 of 252 PageID: 75




From:                                                                                                             Steven Burt <steven.burt@vivintsolar.com>
Sent:                                                                                                             Friday, February 3, 2017 6:37 PM
To:                                                                                                               Ryan Gorman; Andy McElroy
Cc:                                                                                                               Jordan Winder; Justin Busdicker; Brandon Hale; Ben Harper
Subject:                                                                                                          3d Report on Compliance Concerns
Attachments:                                                                                                      Mosaic Incident Tracker - No Follow Up.xlsx



Good Evening,

Here is our third report on Vivint Solar's efforts to address the compliance concerns Mosaic has raised. As a
preliminary matter, are you and your team available for a call next Friday at 3:00 PM for a conference call
on the unauthorized credit pull issue? Our CRO and CSO are available then.

I've attached a spreadsheet reflecting incidents I described in last week's email as reflecting false-positive
"bogus" emails, or without sufficient information for us to investigate. Please let us know if you'd like to
discuss these items further.

We also reached out and have not heard back from several sales representatives. We were able to speak with
sales representatives about the following incidents:




                          Sales Rep: Yosue Lebron; Customer: Carlos Soler; Date: 2/1/2017;Issue: Misrepresentation - "soft pull"




                          Yosue reported that he does not recall telling the customer that the credit run was a "soft" pull. He received additional
                          training and a first warning.



Let us know if you have any questions.

Steve

--
Steven Burt
Senior Regulatory Counsel
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    Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 76 of 252 PageID: 76


Customer Last   Customer First   State Sales Rep Last   Sales Rep First Mosaic Category   Issue                       Date Of Incident
Name            Name                   Name             Name




                                                                                                  Solar Mosaic_Cardona-Brown 000834
    Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 77 of 252 PageID: 77


Customer Last   Customer First   State Sales Rep Last   Sales Rep First Mosaic Category   Issue                       Date Of Incident
Name            Name                   Name             Name




                                                                                                  Solar Mosaic_Cardona-Brown 000835
          Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 78 of 252 PageID: 78




From:                                                      andy.mcelroy@joinmosaic.com
Sent:                                                      Wednesday, February 15, 2017 1:57 PM
To:                                                        andy.mcelroy@joinmosaic.com
Subject:                                                   Accepted: Vivint + Mosaic compliance call @ Thu Feb 16, 2017 3pm - 4pm
                                                           (andy.mcelroy@joinmosaic.com)


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                                                                                                                                                Solar Mosaic_Cardona-Brown 000836
               Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 79 of 252 PageID: 79




From:                                 Steven Burt <steven.burt@vivintsolar.com>
Sent:                                 Wednesday, February 15, 2017 1:33 PM
To:                                   Ryan Gorman
Cc:                                   Andy McElroy; Jordan Winder; Justin Busdicker; Brandon Hale; Ben Harper
Subject:                              Re: 3d Report on Compliance Concerns



3PM PT/4PM MT works for me. Would you mind sending a calendar item?

On Wed, Feb 15, 2017 at 2:21 PM, Ryan Gorman <ryan.gorman@joinmosaic.com> wrote:
 Thanks Steve, tomorrow works but we're tied up until 3pm PT. Can we schedule for 3pm or
 4pm?


 --
 Ryan Gorman
 Strategic Accounts Director

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 1212 Broadway Oakland, CA 94612

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 On Wed, Feb 15, 2017 at 7:35 AM, Steven Burt <steven.burt@vivintsolar.com> wrote:
  Hi Ryan - unfortunately, today won't work. Any chance we can talk tomorrow? I'm available for a call after
  1:00 PM PT.

  On Mon, Feb 13, 2017 at 10:13 AM, Ryan Gorman <ryan.gorman@joinmosaic.com> wrote:
   Hi Steve,

   Can we connect this week to review the remediation process and outstanding individual fraud
   and compliance alerts?

   Do you have time Tuesday after 3pm or Wednesday morning before 12pm PT?

   Thanks,


   --
   Ryan Gorman
   Strategic Accounts Director

   C 415 699 2080
   1212 Broadway Oakland, CA 94612

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   On Fri, Feb 3, 2017 at 6:37 PM, Steven Burt <steven.burt@vivintsolar.com> wrote:
    Good Evening,


                                                               1
                                                                                     Solar Mosaic_Cardona-Brown 000837
     Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 80 of 252 PageID: 80

Here is our third report on Vivint Solar's efforts to address the compliance concerns Mosaic has raised. As
a preliminary matter, are you and your team available for a call next Friday at 3:00 PM for a conference
call on the unauthorized credit pull issue? Our CRO and CSO are available then.

I've attached a spreadsheet reflecting incidents I described in last week's email as reflecting false-positive
"bogus" emails, or without sufficient information for us to investigate. Please let us know if you'd like to
discuss these items further.

We also reached out and have not heard back from several sales representatives. We were able to speak
with sales representatives about the following incidents:




                          Sales Rep: Yosue Lebron; Customer: Carlos Soler; Date: 2/1/2017;Issue: Misrepresentation - "soft pull"




                          Yosue reported that he does not recall telling the customer that the credit run was a "soft" pull. He received
                          additional training and a first warning.



Let us know if you have any questions.

Steve

--
Steven Burt
Senior Regulatory Counsel
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                                                                                                                      Solar Mosaic_Cardona-Brown 000838
               Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 81 of 252 PageID: 81




From:                              Steven Burt <steven.burt@vivintsolar.com>
Sent:                              Wednesday, February 15, 2017 7:36 AM
To:                                Ryan Gorman
Cc:                                Andy McElroy; Jordan Winder; Justin Busdicker; Brandon Hale; Ben Harper
Subject:                           Re: 3d Report on Compliance Concerns



Hi Ryan - unfortunately, today won't work. Any chance we can talk tomorrow? I'm available for a call after
1:00 PM PT.

On Mon, Feb 13, 2017 at 10:13 AM, Ryan Gorman <ryan.gorman@joinmosaic.com> wrote:
 Hi Steve,

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 Strategic Accounts Director

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  I've attached a spreadsheet reflecting incidents I described in last week's email as reflecting false-positive
  "bogus" emails, or without sufficient information for us to investigate. Please let us know if you'd like to
  discuss these items further.

  We also reached out and have not heard back from several sales representatives. We were able to speak
  with sales representatives about the following incidents:




                                                            1
                                                                                  Solar Mosaic_Cardona-Brown 000839
                            Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 82 of 252 PageID: 82



                                                Sales Rep: Yosue Lebron; Customer: Carlos Soler; Date: 2/1/2017;Issue: Misrepresentation - "soft pull"




                                                Yosue reported that he does not recall telling the customer that the credit run was a "soft" pull. He received additional
                                                training and a first warning.



     Let us know if you have any questions.

     Steve

     --
     Steven Burt
     Senior Regulatory Counsel
     385.715.6209
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Senior Regulatory Counsel
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       Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 83 of 252 PageID: 83




From:                                  Steven Burt <steven.burt@vivintsolar.com>
Sent:                                  Thursday, February 16, 2017 3:04 PM
To:                                    Ryan Gorman
Cc:                                    Andy McElroy; Jordan Winder; Justin Busdicker; Brandon Hale; Ben Harper
Subject:                               Re: 3d Report on Compliance Concerns



Are we doing this via Google Hangouts? If so, I'm logged in but alone.

On Wed, Feb 15, 2017 at 2:32 PM, Steven Burt <steven.burt@vivintsolar.com> wrote:
 3PM PT/4PM MT works for me. Would you mind sending a calendar item?

 On Wed, Feb 15, 2017 at 2:21 PM, Ryan Gorman <ryan.gorman@joinmosaic.com> wrote:
  Thanks Steve, tomorrow works but we're tied up until 3pm PT. Can we schedule for 3pm or
  4pm?


  --
  Ryan Gorman
  Strategic Accounts Director

  C 415 699 2080
  1212 Broadway Oakland, CA 94612

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  On Wed, Feb 15, 2017 at 7:35 AM, Steven Burt <steven.burt@vivintsolar.com> wrote:
   Hi Ryan - unfortunately, today won't work. Any chance we can talk tomorrow? I'm available for a call after
   1:00 PM PT.

   On Mon, Feb 13, 2017 at 10:13 AM, Ryan Gorman <ryan.gorman@joinmosaic.com> wrote:
    Hi Steve,

    Can we connect this week to review the remediation process and outstanding individual fraud
    and compliance alerts?

    Do you have time Tuesday after 3pm or Wednesday morning before 12pm PT?

    Thanks,


    --
    Ryan Gorman
    Strategic Accounts Director

    C 415 699 2080
    1212 Broadway Oakland, CA 94612

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    On Fri, Feb 3, 2017 at 6:37 PM, Steven Burt <steven.burt@vivintsolar.com> wrote:
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                                                                                      Solar Mosaic_Cardona-Brown 000841
 Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 84 of 252 PageID: 84

Good Evening,

Here is our third report on Vivint Solar's efforts to address the compliance concerns Mosaic has raised. As
a preliminary matter, are you and your team available for a call next Friday at 3:00 PM for a
conference call on the unauthorized credit pull issue? Our CRO and CSO are available then.

I've attached a spreadsheet reflecting incidents I described in last week's email as reflecting false- positive
"bogus" emails, or without sufficient information for us to investigate. Please let us know if you'd like to
discuss these items further.

We also reached out and have not heard back from several sales representatives. We were able to speak
with sales representatives about the following incidents:




                          Sales Rep: Yosue Lebron; Customer: Carlos Soler; Date: 2/1/2017;Issue: Misrepresentation - "soft pull"




                          Yosue reported that he does not recall telling the customer that the credit run was a "soft" pull. He received
                          additional training and a first warning.



Let us know if you have any questions.

Steve

--
Steven Burt
Senior Regulatory Counsel
385.715.6209
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From:                                                                                                             Steven Burt <steven.burt@vivintsolar.com>
Sent:                                                                                                             Friday, February 24, 2017 4:35 PM
To:                                                                                                               Andy McElroy
Subject:                                                                                                          Re: Resolution tracker for fraud, compliance, flagged emails, flagged phone numbers



Thanks, Andy. We're circling up on this, and will get back in touch with you and Ryan early next week. Have
a good weekend.

On Tue, Feb 21, 2017 at 4:15 PM, Andy McElroy <andy.mcelroy@joinmosaic.com> wrote:
 Hi Steven,

 I hope you had a good weekend. Here are all 2017 tickets* with resolution tracking like we discussed on Thursday. I'm
 only sending this to you to start with for fear of "version dysplasia" if I send it to everyone all at once. I haven't gotten it
 cleared with our legal department yet, but Ryan and I really like the idea of a shared Google Sheet that both entities
 can edit. For privacy and security reasons we'll have to remove customer info and just leave their Mosaic opp and ticket
 numbers, the former of which you can use for tracking.

 Look the attachment over with other interested parties and let me know what you think. First we can discuss format,
 then move to a Google Sheet pending our legal department approval, then actual tracking. Hopefully all this week!


 *Prior-to-2017 tickets are also on there but without any details. The near term goal will include updating these with
 resolutions, as well, mostly because I'd like the data for analyzing trends.




 Andy McElroy
 Strategic Account Executive

 P 510 356 2841
 E andy.mcelroy@joinmosaic.com
 1212 Broadway Oakland Suite 300, CA 94612




--
Steven Burt
Senior Regulatory Counsel
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From:                                       Steven Burt <steven.burt@vivintsolar.com>
Sent:                                       Tuesday, March 28, 2017 5:10 PM
To:                                         Andy McElroy; Ryan Gorman
Cc:                                         Jordan Winder; Justin Busdicker
Subject:                                    Re: Customer Complaint Resolution


That works for me!

On Tue, Mar 28, 2017 at 6:09 PM Ryan Gorman <ryan.gorman@joinmosaic.com> wrote:
 I'll be in the Vivint Solar office this Thursday. Would love to connect in the early afternoon, around 1pm?


 Ryan Gorman
 Strategic Accounts Director
 (415) 699-2080
 joinmosaic.com

 On Mar 28, 2017, at 4:47 PM, Andy McElroy <andy.mcelroy@joinmosaic.com> wrote:

           My pleasure. I'm always interested in looking at solutions that can help us track issues while
           maintaining a collaborative environment.



           Andy McElroy
           Account Executive

           P 510 356 2841
           E andy.mcelroy@joinmosaic.com
           1212 Broadway Oakland Suite 300, CA 94612


           On Tue, Mar 28, 2017 at 4:36 PM, Steven Burt <steven.burt@vivintsolar.com> wrote:
            Thanks for speaking with me just now, Andy. We appreciate Mosaic's approach and
            partnership mindset. Let's stay in touch and come up with a game plan that works for
            everyone.

            On Tue, Mar 28, 2017 at 5:22 PM, Andy McElroy <andy.mcelroy@joinmosaic.com> wrote:
             Hi Steven,

             I'm happy to be available Thursday at 4pm MDT. I see Ryan might be on travel and Veronica appears
             to be booked, but maybe we can have a 15-30 minute brainstorm call.

             I can understand your pain. Our ticketing system is great for Mosaic to track complaint tickets (and
             fraud/compliance), but the resulting emails that get sent to you are becoming quite numerous given
             your sales volume and sheer number of existing customers.

             Let me know if you want to have a call Thursday or if you'd prefer to also have Ryan and/or Veronica
             on the line at another time.


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   Andy McElroy
   Account Executive

   P 510 356 2841
   E andy.mcelroy@joinmosaic.com
   1212 Broadway Oakland Suite 300, CA 94612


   On Tue, Mar 28, 2017 at 2:00 PM, Steven Burt <steven.burt@vivintsolar.com> wrote:
    Good Afternoon - do you have time on Thursday to talk about developing a process for
    resolving customer complaints? In short, we've been in touch with our IT folks and believe
    a shared SmartSheet, rather than email, may be a better way to address the issue.

       My afternoon on Thursday is uncharacteristically free at the moment - would that work for
       you? Also, would Veronica be available then as well?

       --
       Steven Burt
       Senior Regulatory Counsel
       385.715.6209
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From:                                                                                                               Steven Burt <steven.burt@vivintsolar.com>
Sent:                                                                                                               Tuesday, March 28, 2017 4:37 PM
To:                                                                                                                 Andy McElroy
Cc:                                                                                                                 Ryan Gorman; Justin Busdicker; Jordan Winder
Subject:                                                                                                            Re: Customer Complaint Resolution



Thanks for speaking with me just now, Andy. We appreciate Mosaic's approach and partnership
mindset. Let's stay in touch and come up with a game plan that works for everyone.

On Tue, Mar 28, 2017 at 5:22 PM, Andy McElroy <andy.mcelroy@joinmosaic.com> wrote:
 Hi Steven,

 I'm happy to be available Thursday at 4pm MDT. I see Ryan might be on travel and Veronica appears to be booked, but
 maybe we can have a 15-30 minute brainstorm call.

 I can understand your pain. Our ticketing system is great for Mosaic to track complaint tickets (and fraud/compliance),
 but the resulting emails that get sent to you are becoming quite numerous given your sales volume and sheer number
 of existing customers.

 Let me know if you want to have a call Thursday or if you'd prefer to also have Ryan and/or Veronica on the line at
 another time.



 Andy McElroy
 Account Executive

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 E andy.mcelroy@joinmosaic.com
 1212 Broadway Oakland Suite 300, CA 94612


 On Tue, Mar 28, 2017 at 2:00 PM, Steven Burt <steven.burt@vivintsolar.com> wrote:
  Good Afternoon - do you have time on Thursday to talk about developing a process for resolving customer
  complaints? In short, we've been in touch with our IT folks and believe a shared SmartSheet, rather than
  email, may be a better way to address the issue.

  My afternoon on Thursday is uncharacteristically free at the moment - would that work for you? Also, would
  Veronica be available then as well?

  --
  Steven Burt
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From:                                                                                                             Steven Burt <steven.burt@vivintsolar.com>
Sent:                                                                                                             Tuesday, March 28, 2017 2:01 PM
To:                                                                                                               Ryan Gorman; Andy McElroy
Cc:                                                                                                               Justin Busdicker; Jordan Winder
Subject:                                                                                                          Customer Complaint Resolution



Good Afternoon - do you have time on Thursday to talk about developing a process for resolving customer
complaints? In short, we've been in touch with our IT folks and believe a shared SmartSheet, rather than
email, may be a better way to address the issue.

My afternoon on Thursday is uncharacteristically free at the moment - would that work for you? Also, would
Veronica be available then as well?

--
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From:                                                                                                             Steven Burt <steven.burt@vivintsolar.com>
Sent:                                                                                                             Thursday, April 6, 2017 9:44 PM
To:                                                                                                               Ryan Gorman; Andy McElroy
Cc:                                                                                                               Jordan Winder; Justin Busdicker
Subject:                                                                                                          Outstanding Compliance Concerns - Report
Attachments:                                                                                                      Vivint Solar Report to Mosaic - 4.6.2017.xlsx



Good Evening - I've attached a spreadsheet reflecting the ultimate action taken in connection with 89 Alerts
we have received from Mosaic.

Let us know if you have any questions.

--
Steven Burt
Senior Regulatory Counsel
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Customer Last Name   Customer First Name   Rep Last Name   Rep First Name   Mosaic Issue Code        Mosaic Zendesk                      Action Taken




Rasmussen            Stefanie              Beck            Jordan           Compliance                                            113001 Warning/Retraining
Goss                 Danny                 Beck            Jordan           Fraud                                                 156326 Warning/Retraining
Jones                Ray                   Beck            Jordan           Fraud                                                 157881 Warning/Retraining




Carlson              Caren                 Cuevas          Aureo            Compliance                                no zendesk number Warning/Retraining




Aplas                Ewa                   Dale            Richard          Compliance                                            189644 Warning/Retraining




Duck                 Allen                 Salgado         Rodner           Compliance                                            193934 Warning/Retraining




Adalla               Eshak                 Katilus         Briant           Compliance                                            227768 Warning/Retraining

Velez                Angelina              Arp             David            Compliance                                 no zendesk number Warning/Retraining

Fankhauser           Andrew                Luc V           Jean             Fraud                                                 160671 Warning/Retraining




Tiffani              Dean                  Obrien          Justin           Fraud                                                 202030 Warning/Retraining




Soler                Carlos                Yosue           Lebron           Credit Inquiry Removal                                194709 Warning/Retraining




Aplas                Ewa                   Dale            Richard          Compliance                                            189644 Warning/Retraining


Duffy                Robert                Kera            Yhia             "Bogus" Email                                         174380 Warning/Retraining




                                                                                                            Solar Mosaic_Cardona-Brown 000849
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Customer Last Name   Customer First Name   Rep Last Name   Rep First Name   Mosaic Issue Code   Mosaic Zendesk           Action Taken




Chenard              Yael                  Frankie         Ammons           Fraud                                 205247 Warning/Retraining




                                                                                                       Solar Mosaic_Cardona-Brown 000850
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From:                                                                                                               Steven Burt <steven.burt@vivintsolar.com>
Sent:                                                                                                               Friday, April 7, 2017 10:24 AM
To:                                                                                                                 Andy McElroy
Cc:                                                                                                                 Ryan Gorman; Jordan Winder; Justin Busdicker
Subject:                                                                                                            Re: Outstanding Compliance Concerns - Report



Makes sense - thanks, Andy.

On Fri, Apr 7, 2017 at 11:15 AM, Andy McElroy <andy.mcelroy@joinmosaic.com> wrote:
 Hi Steven,

 Thanks for this. I will update our records with the Action Taken values in our ticketing system and close the tickets
 where possible. Some could remain open if there are outstanding customer questions that need more attention. I'll
 advise as necessary.



 Andy McElroy
 Account Executive

 P 510 356 2841
 E andy.mcelroy@joinmosaic.com
 1212 Broadway Oakland Suite 300, CA 94612


 On Thu, Apr 6, 2017 at 9:44 PM, Steven Burt <steven.burt@vivintsolar.com> wrote:
  Good Evening - I've attached a spreadsheet reflecting the ultimate action taken in connection with 89 Alerts
  we have received from Mosaic.

  Let us know if you have any questions.

  --
  Steven Burt
  Senior Regulatory Counsel
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From:                                                                                                             Steven Burt <steven.burt@vivintsolar.com>
Sent:                                                                                                             Wednesday, May 10, 2017 11:55 AM
To:                                                                                                               Andy McElroy
Cc:                                                                                                               Rico Jensen; Jordan Winder; Justin Busdicker; derek.evans@vivintsolar.com
Subject:                                                                                                          Re: Ready to go live with MosaicResolutions@vivintsolar.com?



Thanks, Andy. Yes, we approve. My team works closely with Rico and his team, and look forward to this
change in process. And we in Legal will remain in touch with you and your team at Mosaic, as necessary.



On Wed, May 10, 2017 at 12:06 PM, Andy McElroy <andy.mcelroy@joinmosaic.com> wrote:
 Hi Steven,

 I wanted to get your approval that we can go live today with Rico's team receiving all Complaint, Compliance, and
 Fraud Alerts to MosaicResolutions@vivintsolar.com.

 A significant change here will be to remove you, Jordan, and Justin from the recipient lists for these alerts and rely on
 Rico's team to distribute to you three as needed. I wanted to get your sign-off before we turned things over to the new
 system and steer 100% of the initial Zendesk emails away from you.




 Andy McElroy
 Account Executive

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From:                                          Steven Burt <steven.burt@vivintsolar.com>
Sent:                                          Sunday, June 18, 2017 9:13 PM
To:                                            Andy McElroy
Subject:                                       Re: Proposed visit to Vivint HQ Thursday Jun 29



Thanks, Andy. Sounds like a good plan. I'll work on getting the right folks together for the smaller group
meeting.

On Wed, Jun 14, 2017 at 1:26 PM, Andy McElroy <andy.mcelroy@joinmosaic.com> wrote:
 Great. I should be there from 10:30 until close of business. Are there preferred times for your team to meet? I'd like to
 have at least one small group session with yourself and other managers to go over some of the more in-the-weeds
 issues we're seeing, and a larger group training to help Rico's team and anyone else who wants to attend understand
 how the loans work, welcome calls, and more day to day stuff. All of that's just a few hours, so please let me know
 anything else you'd like to get out of the day.



 Andy McElroy
 Account Executive

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 E andy.mcelroy@joinmosaic.com
 1212 Broadway Oakland Suite 300, CA 94612


 On Wed, Jun 14, 2017 at 12:12 PM, Steven Burt <steven.burt@vivintsolar.com> wrote:
  It's looking good, and I (and others) are planning on it. Thanks for putting it together!

  On Wed, Jun 14, 2017 at 1:01 PM, Andy McElroy <andy.mcelroy@joinmosaic.com> wrote:
   Hi Steven,

   Rico and I have been talking about me coming out there to do some training for his team this month and I was
   looking at June 29 as a good day trip. I'd love to have some time with you and your team to discuss compliance and
   any other items that are of interest to you. How's that day look?



   Andy McElroy
   Account Executive

   P 510 356 2841
   E andy.mcelroy@joinmosaic.com
   1212 Broadway Oakland Suite 300, CA 94612




  --
  Steven Burt
  Senior Regulatory Counsel
  385.715.6209


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From:                                                                                                             Steven Burt <steven.burt@vivintsolar.com>
Sent:                                                                                                             Wednesday, June 14, 2017 12:13 PM
To:                                                                                                               Andy McElroy
Subject:                                                                                                          Re: Proposed visit to Vivint HQ Thursday Jun 29



It's looking good, and I (and others) are planning on it. Thanks for putting it together!

On Wed, Jun 14, 2017 at 1:01 PM, Andy McElroy <andy.mcelroy@joinmosaic.com> wrote:
 Hi Steven,

 Rico and I have been talking about me coming out there to do some training for his team this month and I was looking
 at June 29 as a good day trip. I'd love to have some time with you and your team to discuss compliance and any other
 items that are of interest to you. How's that day look?



 Andy McElroy
 Account Executive

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Senior Regulatory Counsel
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From:                                         Steven Burt <steven.burt@vivintsolar.com>
Sent:                                         Wednesday, June 28, 2017 3:53 PM
To:                                           Rico Jensen
Cc:                                           Andy McElroy; Derrek Evans
Subject:                                      Re: Thursday schedule



Sounds good to me as well. Thanks, Andy.

On Tue, Jun 27, 2017 at 2:44 PM, Rico Jensen <eric.jensen@vivintsolar.com> wrote:
 Well, it all sounds splendid to me. Looking forward to it. I have adjusted the time for the Big Group gathering to
 accommodate our start time. I have also ordered the Kool-Aid, so everyone will be on board. We will be
 ready! Thanks Andy!

 On Tue, Jun 27, 2017 at 1:51 PM, Andy McElroy <andy.mcelroy@joinmosaic.com> wrote:
  Hi Rico and Steven,

  How's this for the Thursday schedule? The morning is what Rico and I discussed on the phone, put in writing. Steven,
  let me know if you need a different time for a small group meeting with your team.


        10 - 10:30:     I arrive, meet with Rico's group, mostly for introductions and getting to know Executive
             Resolutions face to face.
          10:30 - 11:30: Presentation to the Big Group on sales process, the new Compliance Guide, and common pitfalls
             for borrowers during loan origination. All are welcome to attend.
          12:00 - 1:00: Lunch with whoever wants to talk about Compliance and customer service (who wouldn't?)
          1:00 - 2:00 : Meet with Steven and his team (+ HR rep if that seems appropriate) to discuss a few specific and
             very egregious instances (eg. sales rep impersonating the homeowner during Welcome Call) and what their
             broader implications are. Hopefully at least one representative from Rico's team could attend.
          TBD        : Meet with Abigail to go over onboarding and training ideas.

  Beyond that I could easily set up shop somewhere for office hours between meetings. I'm open to ideas for whatever
  would be most helpful for your stakeholders.

  Andy




  Andy McElroy
  Account Executive

  P 510 356 2841
  E andy.mcelroy@joinmosaic.com
  1212 Broadway Oakland Suite 300, CA 94612




                                                                      1
                                                                                          Solar Mosaic_Cardona-Brown 000855
                        Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 98 of 252 PageID: 98


 --
 Best Regards,

 Rico Jensen

 Manager- Executive Resolutions- vivint.Solar




 1800 W Ashton Blvd
 Lehi, UT 84043
 O: 385-236-4328
 rico.jensen@vivintsolar.com

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--
Steven Burt
Senior Regulatory Counsel
385.715.6209
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      Internet.




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Lehi, Utah 84043


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                                                                                                                  2
                                                                                                                      Solar Mosaic_Cardona-Brown 000856
        Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 99 of 252 PageID: 99




From:                                        Steven Burt <steven.burt@vivintsolar.com>
Sent:                                        Thursday, July 6, 2017 2:26 PM
To:                                          Andy McElroy
Subject:                                     Re: Thanks for a great visit



Thanks, Andy.

On Thu, Jul 6, 2017 at 3:03 PM, Andy McElroy <andy.mcelroy@joinmosaic.com> wrote:
 Hi Steven

 I have it as an action item to give you more details on the players who are accounting for a spike in email subbing and
 misrepresenting the credit check. Expect some reporting on this next week.



 Andy McElroy
 Account Executive

 P 510 356 2841
 E andy.mcelroy@joinmosaic.com
 1212 Broadway Oakland Suite 300, CA 94612


 On Thu, Jul 6, 2017 at 1:00 PM, Steven Burt <steven.burt@vivintsolar.com> wrote:

  Can you give me more details about the recent uptick in use of a rep’s email address instead of the customer’s? In
  particular, is the uptick attributable to a handful of people, as we suspected it might be when we met?



  Steven Burt

  385.715.6209




  From: Andy McElroy <andy.mcelroy@joinmosaic.com>
  Date: Friday, June 30, 2017 at 1:24 PM
  To: Steven Burt <steven.burt@vivintsolar.com>, Rico Jensen <eric.jensen@vivintsolar.com>,
  "MosaicResolutions@vivintsolar.com" <MosaicResolutions@vivintsolar.com>, Abigail Hansen
  <abigail.hansen@vivintsolar.com>, Jordan Winder <jordan.winder@vivintsolar.com>,
  "ben.young@vivintsolar.com" <ben.young@vivintsolar.com>, Jeanette Jensen
  <jeanette.jensen@vivintsolar.com>, Derrek Evans <derrek.evans@vivintsolar.com>

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                                                                                         Solar Mosaic_Cardona-Brown 000857
   Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 100 of 252 PageID: 100

Cc: Ryan Gorman <ryan.gorman@joinmosaic.com>, Ted Fawcett <ted.fawcett@joinmosaic.com>
Subject: Thanks for a great visit



Hello Vivint,



I want to express my gratitude for the time you took yesterday to learn more about Mosaic and the ins and outs of
selling our loan products compliantly. The robust partnership between Vivint and Mosaic is largely due to the strong
spirit of collaboration and forward focus we share, and the enthusiasm and curiosity on display yesterday by your
teams reinforced that notion. I'm also confident that with just a few subtle tweaks on presenting the loan - namely the
hard credit inquiry and the 30% Choice Paydown schedule that are not present in lease and PPA products - the
amount of tickets Rico's team receives from us would drop to nearly zero. That's more time your sales and operations
teams can focus on new customers.



I know I missed a lot of yesterday's attendees in my distribution list above so please pass this along as you see fit.



Thank you again!




Ps. I have a solid action item list from yesterday, so expect some individual follow up shortly if we discussed new ideas
and solutions for your particular team.




Andy McElroy


Account Executive




P 510 356 2841

E andy.mcelroy@joinmosaic.com

1212 Broadway Oakland Suite 300, CA 94612




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                                                                                    Solar Mosaic_Cardona-Brown 000858
      Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 101 of 252 PageID: 101




From:                              Steven Burt <steven.burt@vivintsolar.com>
Sent:                              Thursday, July 6, 2017 1:00 PM
To:                                Andy McElroy
Subject:                           Re: Thanks for a great visit


Can you give me more details about the recent uptick in use of a rep’s email address instead of the customer’s? In
particular, is the uptick attributable to a handful of people, as we suspected it might be when we met?

Steven Burt
385.715.6209




From: Andy McElroy <andy.mcelroy@joinmosaic.com>
Date: Friday, June 30, 2017 at 1:24 PM
To: Steven Burt <steven.burt@vivintsolar.com>, Rico Jensen <eric.jensen@vivintsolar.com>,
"MosaicResolutions@vivintsolar.com" <MosaicResolutions@vivintsolar.com>, Abigail Hansen
<abigail.hansen@vivintsolar.com>, Jordan Winder <jordan.winder@vivintsolar.com>,
"ben.young@vivintsolar.com" <ben.young@vivintsolar.com>, Jeanette Jensen
<jeanette.jensen@vivintsolar.com>, Derrek Evans <derrek.evans@vivintsolar.com>
Cc: Ryan Gorman <ryan.gorman@joinmosaic.com>, Ted Fawcett <ted.fawcett@joinmosaic.com>
Subject: Thanks for a great visit

Hello Vivint,

I want to express my gratitude for the time you took yesterday to learn more about Mosaic and the ins and outs of
selling our loan products compliantly. The robust partnership between Vivint and Mosaic is largely due to the strong
spirit of collaboration and forward focus we share, and the enthusiasm and curiosity on display yesterday by your teams
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tickets Rico's team receives from us would drop to nearly zero. That's more time your sales and operations teams can
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I know I missed a lot of yesterday's attendees in my distribution list above so please pass this along as you see fit.

Thank you again!


Ps. I have a solid action item list from yesterday, so expect some individual follow up shortly if we discussed new ideas
and solutions for your particular team.




Andy McElroy
Account Executive

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                                                                                      Solar Mosaic_Cardona-Brown 000859
      Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 102 of 252 PageID: 102
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                                                                                       Solar Mosaic_Cardona-Brown 000860
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From:                              Steven Burt <steven.burt@vivintsolar.com>
Sent:                              Thursday, July 6, 2017 12:58 PM
To:                                Andy McElroy; Rico Jensen; MosaicResolutions@vivintsolar.com; Abigail Hansen; Jordan
                                   Winder; ben.young@vivintsolar.com; Jeanette Jensen; Derrek Evans
Cc:                                Ryan Gorman; Ted Fawcett
Subject:                           Re: Thanks for a great visit


Thanks, Andy, for taking the time. We’re looking forward to continuing our relationship and improving our processes.

Best,

Steve

Steven Burt
385.715.6209




From: Andy McElroy <andy.mcelroy@joinmosaic.com>
Date: Friday, June 30, 2017 at 1:24 PM
To: Steven Burt <steven.burt@vivintsolar.com>, Rico Jensen <eric.jensen@vivintsolar.com>,
"MosaicResolutions@vivintsolar.com" <MosaicResolutions@vivintsolar.com>, Abigail Hansen
<abigail.hansen@vivintsolar.com>, Jordan Winder <jordan.winder@vivintsolar.com>,
"ben.young@vivintsolar.com" <ben.young@vivintsolar.com>, Jeanette Jensen
<jeanette.jensen@vivintsolar.com>, Derrek Evans <derrek.evans@vivintsolar.com>
Cc: Ryan Gorman <ryan.gorman@joinmosaic.com>, Ted Fawcett <ted.fawcett@joinmosaic.com>
Subject: Thanks for a great visit

Hello Vivint,

I want to express my gratitude for the time you took yesterday to learn more about Mosaic and the ins and outs of
selling our loan products compliantly. The robust partnership between Vivint and Mosaic is largely due to the strong
spirit of collaboration and forward focus we share, and the enthusiasm and curiosity on display yesterday by your teams
reinforced that notion. I'm also confident that with just a few subtle tweaks on presenting the loan - namely the hard
credit inquiry and the 30% Choice Paydown schedule that are not present in lease and PPA products - the amount of
tickets Rico's team receives from us would drop to nearly zero. That's more time your sales and operations teams can
focus on new customers.

I know I missed a lot of yesterday's attendees in my distribution list above so please pass this along as you see fit.

Thank you again!


Ps. I have a solid action item list from yesterday, so expect some individual follow up shortly if we discussed new ideas
and solutions for your particular team.


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                                                                                      Solar Mosaic_Cardona-Brown 000861
      Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 104 of 252 PageID: 104



Andy McElroy
Account Executive

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1212 Broadway Oakland Suite 300, CA 94612


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                                                                                       Solar Mosaic_Cardona-Brown 000862
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From:                                                       Steven Burt <steven.burt@vivintsolar.com>
Sent:                                                       Friday, July 7, 2017 2:32 PM
To:                                                         Abigail Hansen; Andy McElroy
Subject:                                                    Re: Briant Katilus


Thanks, Abigail and Andy.

Steven Burt
385.715.6209




From: Abigail Hansen <abigail.hansen@vivintsolar.com>
Date: Friday, July 7, 2017 at 3:16 PM
To: Andy McElroy <andy.mcelroy@joinmosaic.com>
Cc: Steven Burt <steven.burt@vivintsolar.com>
Subject: Re: Briant Katilus

Thanks Andy!!
Steve, Colt has gotten my previous email to Paul/Chance regarding this. I'll be forwarding him this documentation too.
Please let me know if efforts are being made on your end too :)




Abigail Hansen • Regional Sales Operations Specialist • TRIBE

abigail.hansen@vivintsolar.com C: 480.332.6048


simply brighter • vivintsolar.com

1800 W. Ashton Blvd Lehi, Utah 84043



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any attachments, to immediately permanently delete this e-mail, and are further directed to not disseminate, forward or copy any information from this email or any attachments.




On Thu, Jul 6, 2017 at 6:49 PM, Andy McElroy <andy.mcelroy@joinmosaic.com> wrote:
 Hi Abigail and Steven,

 Here's a list of Briant Katilus's 6 compliance issues from the last 5 months. I said there are 2 other complaints but I am
 still tracking those down. He was not the rep who did the Welcome Call coaching - that was a rep by the name of
 Dalton Brown. Sorry if I conflated those during our speed lunch, Abigail. Briant's repeating issues are representing the
 solar as somehow "free", creating logins for credit applications, and signing up Spanish speakers on English docs.


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                                                                                                                                                   Solar Mosaic_Cardona-Brown 000863
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I looked up his total loans and see that Briant does high volume with Mosaic loans, which of course we appreciate. We
just want to make sure no one's engaging in highly non-compliant activity in the process, like representing solar as
"free," creating email addresses for customers, and signing non-English speakers up on English docs without a
translator.

Thank you for looking into this.




Andy McElroy
Account Executive

P 510 356 2841
E andy.mcelroy@joinmosaic.com
1212 Broadway Oakland Suite 300, CA 94612


On Thu, Jul 6, 2017 at 3:12 PM, Abigail Hansen <abigail.hansen@vivintsolar.com> wrote:
 Thank you Andy!!




 Abigail Hansen • Regional Sales Operations Specialist • TRIBE

 abigail.hansen@vivintsolar.com C: 480.332.6048


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 attachments.




 On Thu, Jul 6, 2017 at 4:04 PM, Andy McElroy <andy.mcelroy@joinmosaic.com> wrote:
  Hi Abigail,

  I'll get a summary of Briant's 2017 compliance tickets over to you in a bit. Thanks for following up.



  Andy McElroy
  Account Executive

  P 510 356 2841
  E andy.mcelroy@joinmosaic.com
  1212 Broadway Oakland Suite 300, CA 94612


  On Thu, Jul 6, 2017 at 2:46 PM, Abigail Hansen <abigail.hansen@vivintsolar.com> wrote:
    Can you please send me the examples for him (tickets, coaching 90 yr women, etc)?
    We're digging in with the Execs on this.

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                                                                                                                                             Solar Mosaic_Cardona-Brown 000864
      Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 107 of 252 PageID: 107
     Thanks!



     Abigail Hansen • Regional Sales Operations Specialist • TRIBE

     abigail.hansen@vivintsolar.com C: 480.332.6048


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     1800 W. Ashton Blvd Lehi, Utah 84043



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                                                                                                                                             Solar Mosaic_Cardona-Brown 000865
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From:                             steven.burt@vivintsolar.com
Sent:                             Sunday, July 16, 2017 3:26 PM
To:                               Andy McElroy
Subject:                          Re: Month over month compliance instances


Thanks, Andy.

Steven Burt
Senior Regulatory Counsel
385.715.6209
1800 W. Ashton Blvd.
Lehi, Utah 84043



On Sat, Jul 15, 2017 at 7:48 PM -0600, "Andy McElroy" <andy.mcelroy@joinmosaic.com> wrote:

 Hi Steven,

 That's part of what I'm working on. Should have it Monday.

 On Jul 15, 2017 6:44 PM, "Steven Burt" <steven.burt@vivintsolar.com> wrote:
  Thanks, Andy. The most useful piece of data for me would be who are the main offenders. Is that easy to tease out?

  Steven Burt
  Senior Regulatory Counsel
  385.715.6209
  1800 W. Ashton Blvd.
  Lehi, Utah 84043



  On Fri, Jul 14, 2017 at 5:43 PM -0600, "Andy McElroy" <andy.mcelroy@joinmosaic.com> wrote:

   Hi Steven,

   I still owe you the detailed version of email shenanigans and am working on that. I did compile the raw numbers of
   tickets for all time with Vivint and you can see the monthly trends. March was a spike, then it got better in April and
   May, but then spiked again in June. And July is on track to equal or surpass June. This is all
   Fraud/Compliance/Complaint instances, not just email creation.




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 Could be summer volume related but worth digging into, which I'm still doing. Have a good weekend!




 Andy McElroy
 Account Executive

 P 510 356 2841
 E andy.mcelroy@joinmosaic.com
 1212 Broadway Oakland Suite 300, CA 94612


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                                                                                   Solar Mosaic_Cardona-Brown 000867
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From:                                       Steven Burt <steven.burt@vivintsolar.com>
Sent:                                       Tuesday, July 18, 2017 11:05 AM
To:                                         Andy McElroy
Subject:                                    Re: Questionable Emails since May 1


Thanks. Deleted.

Steven Burt
385.715.6209




From: Andy McElroy <andy.mcelroy@joinmosaic.com>
Date: Tuesday, July 18, 2017 at 12:03 PM
To: Steven Burt <steven.burt@vivintsolar.com>
Subject: Re: Questionable Emails since May 1

Steven,

See R1 attached. Please delete the other file.



Andy McElroy
Account Executive

P 510 356 2841
E andy.mcelroy@joinmosaic.com
1212 Broadway Oakland Suite 300, CA 94612


On Tue, Jul 18, 2017 at 10:47 AM, Steven Burt <steven.burt@vivintsolar.com> wrote:

 Thanks, Andy. Can you include the questionable email address itself as a column in the sheet?



 Steven Burt

 385.715.6209




                                                                    1
                                                                                        Solar Mosaic_Cardona-Brown 000868
     Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 111 of 252 PageID: 111

From: Andy McElroy <andy.mcelroy@joinmosaic.com>
Date: Tuesday, July 18, 2017 at 11:44 AM
To: Steven Burt <steven.burt@vivintsolar.com>
Subject: Questionable Emails since May 1



Hi Steven,



Meant to send this last night. These are all the confirmed "questionable emails" since May 1, with two repeat users on
the list. Sunny Mooney has two instances of using his personal email. There was a third instance originally flagged but
we found that to be a real email. In turn, each of those three generated an FCC ticket, which made for a total of six call-
outs. Thus my incorrect anecdotal feedback while I was visiting. I want to be clear Mr. Mooney is responsible for two,
not six, instances of using personal email. Not great, but certainly less egregious than my original reporting. We also
confirmed a number of emails that were originally flagged but were removed from this list once the customer reported
them as credible.



This is only the list for questionable emails. I'm parsing the FCC tickets by sales rep for the same time period to identify
reps who show up repeatedly. I'll have that shortly.



Best,




Andy McElroy


Account Executive




P 510 356 2841

E andy.mcelroy@joinmosaic.com

1212 Broadway Oakland Suite 300, CA 94612




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                                                                                       Solar Mosaic_Cardona-Brown 000869
        Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 112 of 252 PageID: 112




From:                                         Steven Burt <steven.burt@vivintsolar.com>
Sent:                                         Tuesday, July 18, 2017 10:47 AM
To:                                           Andy McElroy
Subject:                                      Re: Questionable Emails since May 1


Thanks, Andy. Can you include the questionable email address itself as a column in the sheet?

Steven Burt
385.715.6209




From: Andy McElroy <andy.mcelroy@joinmosaic.com>
Date: Tuesday, July 18, 2017 at 11:44 AM
To: Steven Burt <steven.burt@vivintsolar.com>
Subject: Questionable Emails since May 1

Hi Steven,

Meant to send this last night. These are all the confirmed "questionable emails" since May 1, with two repeat users on
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outs. Thus my incorrect anecdotal feedback while I was visiting. I want to be clear Mr. Mooney is responsible for two,
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confirmed a number of emails that were originally flagged but were removed from this list once the customer reported
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This is only the list for questionable emails. I'm parsing the FCC tickets by sales rep for the same time period to identify
reps who show up repeatedly. I'll have that shortly.

Best,



Andy McElroy
Account Executive

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                                                                                          Solar Mosaic_Cardona-Brown 000870
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From:                                       Steven Burt <steven.burt@vivintsolar.com>
Sent:                                       Wednesday, August 2, 2017 7:29 AM
To:                                         Andy McElroy; Jordan Winder
Cc:                                         Ryan Gorman; Jason Deelstra; Julie Allen
Subject:                                    Re: Loan Sales Training Materials
Attachments:                                Ethics Standards Training - For Mosaic Review - 8.2.2017.pdf


Hi Andy – I’ve attached a PDF copy of our Ethics Standards training. All sales representatives are required to complete
this training and pass the associated quiz, and their activity associated with the training is tracked (they interact with th e
training through training software, not through a document like this PDF, as you probably surmised).

To orient you, you’ll find the Standards themselves on page 3 of the PDF, and then training on each standard
thereafter. For example, training associated with Standard 5, relating to running customer’s credit, begins on page 17 o f
the PDF. Correct answers to questions are in bold.

Let us know if you have any questions.

Steven Burt
385.715.6209




From: Andy McElroy <andy.mcelroy@joinmosaic.com>
Date: Monday, July 31, 2017 at 11:21 AM
To: Jordan Winder <jordan.winder@vivintsolar.com>
Cc: Ryan Gorman <ryan.gorman@joinmosaic.com>, Jason Deelstra <jdeelstra@vivintsolar.com>, Julie Allen
<julie.allen@vivintsolar.com>, Steven Burt <steven.burt@vivintsolar.com>
Subject: Re: Loan Sales Training Materials

Hi Jordan,

Sounds like a good opportunity, but I would still like to see the previous training materials if that's possible. It will help
me identify if there were holes that led to prevalent compliance issues like the ones we went over in June and how to
create the focus in the new materials. Is that doable?




Andy McElroy
Account Executive

P 510 356 2841
E andy.mcelroy@joinmosaic.com
1212 Broadway Oakland Suite 300, CA 94612


On Mon, Jul 31, 2017 at 9:16 AM, Jordan Winder <jordan.winder@vivintsolar.com> wrote:


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                                                                                             Solar Mosaic_Cardona-Brown 000871
       Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 114 of 252 PageID: 114
Ryan or Andy (while Ryan is OoO),

We are incidentally in the process of completely overhauling our training, so rather than send you stuff that is
outdated, could you send us items/content that you'd like us to address as part of that development. Are there
specific current concerns that we can understand and potentially address with more robust training?

Thanks,
Jordan

On Fri, Jul 28, 2017 at 1:33 PM, Ryan Gorman <ryan.gorman@joinmosaic.com> wrote:
 Thanks Jordan,

 We're asking in order to get an understanding of how we can best supplement with Mosaic
 provided materials.

 You mentioned this is administered via LMS. Would it be possible for VSLR to provide the
 same login/access that a new hire would get?

 It would be great to see the material in the same format that trainees do, and hopefully that
 makes the task of providing this info easy on your side as well.

 Thanks,



 --
 Ryan Gorman
 Strategic Accounts Director

 C 415 699 2080
 1212 Broadway Oakland, CA 94612

        The link ed
        image can not
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        The file may
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        correct file
        and location.




 On Fri, Jul 28, 2017 at 11:57 AM, Jordan Winder <jordan.winder@vivintsolar.com> wrote:
  Hi Jason,

  Would it be possible to provide the Mosaic team (Ryan cc'd) our sales training materials for around all things loan
  related? They would like to review.

  Thanks,
  Jordan


  --

  Jordan Winder
  Director, New Products
  vivint.Solar
  Capital Markets
  1800 W Aston Blvd.
  Lehi, UT 84043
  M:(646) 787-5625
                                                           2
                                                                                  Solar Mosaic_Cardona-Brown 000872
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      jordan.winder@vivintsolar.com


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 --

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  Course Name: Ethics Standards

  Page Title: Welcome
  The following courses are designed to teach you certain ethical standards you are expected to
  follow while working for Vivint Solar.

  Each course will discuss one of the 10 ethics standards, give specific examples of how these
  standards should be interpreted, and have a story assessment to see if you understand how it
  works.

  The end of this program will have a quiz to make sure you understand the Standards.




                                                                     Solar Mosaic_Cardona-Brown 000874
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  Page Name: The Standards




                                                        Solar Mosaic_Cardona-Brown 000875
                          ETHICS STANDARDS
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       Vivint Solar’s reputation and corporate integrity is built upon the honesty, fairness, and personal integrity of its
            employees. Consequently, Vivint Solar requires that its employees adhere to the following standards: *

Cr e a t i n g a Fa l s e Acco u n t                                                    Notice of Cancellation
     We may not create a false account of any kind. This includes creating                   We must orally notify customers that they have the right to
     an account under a fictitious name or the name of someone who has                       cancel the contract as required by state and federal law. In
     not expressly agreed to have an account created in their name. All                      doing so, we may not state that the contract is "not binding"




1                                                                                       2
     customer agreements must be signed by the homeowner. The                                or anything to that effect; the contract is binding unless the
     homeowner's spouse or domestic partner may also sign a PPA, Lease                       customer exercises his or her right to cancel.
     or Cash SPA, but only if the homeowner also signs. No one who is not
     a homeowner or homeowner's spouse may sign a customer
     agreement.

Misrepresentations Re: Relationships                                                    Fo rg e r y
with Utility Companies                                                                       We may not sign a customer agreement or check a signature
     We may not say or do anything that may reasonably cause a                               box in a customer agreement on a customer’s behalf. Checking
     customer to believe we are affiliated with a utility company.                           a signature box for a customer, or leading them to believe it




3                                                                                       4
     We do not work for or in partnership with any utility. Other                            means something it doesn't, is the same as forging their
     than net metering and interconnection, there is no relationship                         signature. Similarly, we may not knowingly allow any person to
     between Vivint Solar and a utility company.                                             sign or check a signature box in a customer agreement on
                                                                                             behalf of another person.


Running Customer Credit Without                                                         Pr ov i d i n g Fa l s e I n fo r m a t i o n
Consent                                                                                      We may not provide false or inaccurate information concerning
     Obtaining a consumer report can negatively impact a custom-                             any customer in order to progress an account. This includes
     er’s credit and, consequently, should only be done with a                               providing a false email address, false usage or utility




5                                                                                       6
     customer's express authorization, appropriate for the                                   information, or false payment information. In addition, we may
     circumstances (or other circumstances expressly approved by                             not list an employee's own checking account information or a
     the Legal Department). We must never allow another person -                             prepaid card of any kind as a customer’s payment information.
     even a spouse - to authorize a credit check on behalf of
     someone else.

S a l e s P r e s e n t a t i o n - C o n t r a c t Te r m s                            S h a r i n g C o n fi d e n t i a l I n f o r m a t i o n
and English Only                                                                             We may not share confidential information with anyone outside
     We may not conduct a sales presentation in a language other than English.               the company or allow anyone to do work on an employee's
     Also, we may not promise customers anything that contradicts the terms of               behalf that is not an employee of Vivint Solar. This includes




7                                                                                       8
     their agreement, including any promise concerning: (a) energy production                allowing anyone to access Vivint Solar’s information
     (except in a lease); (b) cost savings; (c) a customer's ability to terminate the        technology systems using our log-in information.
     agreement after the system is installed; and/or (d) the cost to remove the
     system temporarily. We may not enter into side deals with customers that
     are not memorialized in written agreements approved by the company. And
     nothing is free!
Misrepresentations Regarding                                                            Elderly Customers
Competition and Utilities                                                                    We need to treat elderly customers with extra care to ensure
     We may not make untrue or misleading statements about a                                 they understand our products and services. This includes not
     competitor or a utility company. For example, we may not                                taking advantage of an older customer's inexperience with or




9                                                                                       10
     represent that a utility's or competitor's rates will increase                          lack of access to technology, or unfamiliarity with utility rates
     without data to support our claim and appropriate company                                       and usage.
     approval.




Violation of these standards will result in immediate disciplinary action, which may include termination.




                                              * These Standards do not include every principle that should govern employee conduct. All
                                                 employees should apply common sense, follow all company policies (including the
                                                 Employee Handbook, Operations Manual, and SEIA Business Code), and abide by the
                                                 highest personal ethical standards, in making decisions and interacting with customers. If
                                                 you have any questions, please contact Human Resources (HRsolar@vivintsolar.com) or
                                                 the Legal Department (solarlegal@vivintsolar.com). As we each personally uphold these
                                                 Standards, and train and require our employees to do the same, we will delight our
                                                 customers and lead the industry.                 Solar Mosaic_Cardona-Brown 000876
                                                                                              1
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  Course Title: Creating a False Account


  Page name: The policy:
  You may not create a false account of any kind. This includes creating an account under a
  fictitious name or the name of someone who has not expressly agreed to have an account
  created in their name. All customer agreements must be signed by the homeowner. The
  homeowner's spouse or domestic partner may also sign customer agreements, but only if the
  homeowner also signs. No one who is not a homeowner or homeowner's spouse may sign a
  customer agreement.




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  Page Name: Specific Points to Know.
  We cannot install solar panels on a house without the homeowner’s permission. As a result, the
  homeowner must always be listed on an account and sign all pertinent agreements.

  If the homeowner doesn’t have good enough credit to qualify for the desired product, you may
  not create the account under the name of someone with better credit unless that person is the
  homeowner’s spouse or domestic partner. Even then, the homeowner must still be on the
  account and sign the agreement.

  You also may not circumvent this standard by creating an account in the name of someone who
  is not the homeowner and then transferring the account to the homeowner after PTO. Because
  we promise our investors that the accounts they invest in are credit worthy accounts, any
  attempt to circumvent the credit requirements puts our company at serious risk.

  It is also improper to create an account under a fictitious name, or the name of someone who
  hasn’t give you permission, in order to increase your statistics and obtain commissions that you
  did not properly earn.




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  Page Title: Assessment

  Lance is working with the Potters who have have very poor credit. They want to install a system
  on their house, but neither the husband nor wife pass credit.

  Lance really wants to help the Potters because they seem like great people and really want
  solar. So, Lance asks his roommate, Barney, if Lance can use Barney’s name on the account in
  order to pass credit. Barney is hesitant, so Lance offers him $500. Barney agrees and Lance
  creates a new account with the Potter’s address and Barney as a homeowner.

  Barney passes credit and Lance is able to proceed with installation of the solar panels on the
  Potter’s home. The Potter’s are thrilled with the new solar panels.

  Which is most true about this situation :

     ●   Lance’s conduct is ethical because it creates a win-win situation for everyone involved:
         the Potters get solar panels, Barney is $500 richer, and Lance gets that warm feeling
         from helping someone in heed (not to mention a substantial system).
     ●   Lance’s conduct is unethical because Barney is not the homeowner and is not the
         spouse or domestic partner of the homeowner. Lance’s conduct puts the
         company at risk because the Potters do not have sufficient credit.
     ●   Lance’s conduct is unethical because the Potters did not know that Barney was included
         on the account. If Lance had told the Potters about his plan and they had agreed to
         include Barney on the account, Lance’s conduct would have been fine.
     ●   As long as the Potters never miss a payment, Lance’s conduct is fine.




                                                                       Solar Mosaic_Cardona-Brown 000879
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  Course Title: Notice of Cancellation


  Page name: The policy:
  We must verbally notify customers that they have the right to cancel the contract as required by
  state and federal law. In doing so, we may not state that the contract is "not binding" or anything
  to that effect; the contract is binding unless the customer exercises his or her right to cancel.




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  Page Name: Specific Points to Know
  Federal and state law requires that we give our customers a period of time to cancel their
  agreement after they sign it. These laws require us to verbally notify customers of their right to
  cancel and also provide them with written notice. It is vital that we always provide such notice
  because the customer’s right of cancellation does not begin to run until we provide the notice.

  It is insufficient, and also inaccurate, to tell a customer that the agreement they sign is not
  “enforceable” or “binding.” We must ensure that customers know they are entering into a legally
  binding contract. If the customer is worried about signing a 20 year agreement we can, and
  should, remind the customers that they can cancel the agreement for the amount of time
  identified in the notice of cancellation.




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  Page Title: Assessment

  Kelly has been meeting with Edward and seems very interested in obtaining more information
  about solar. Edward explains that the next step will be to arrange a site survey, but that Kelly will
  need to sign the PPA first. After reviewing the PPA, Kelly tells Edward that she doesn’t feel
  comfortable signing a 20-year agreement before she knows what the system will even look like
  on her roof. She keeps asking what happens if she doesn’t like how it looks or if it doesn’t
  produce enough power.

  Edward reassures Kelly that she doesn’t have anything to worry about because the agreement
  isn’t valid or enforceable until Vivint Solar actually begins installing the system. If she doesn’t
  want to move forward anytime before then, she doesn’t have to.

  Relieved, Kelly signs the contract.

  Which of the following is true about the interaction:

     ●   Edward’s conduct was ethical because telling her that the agreement isn’t enforceable is
         the same thing as telling her she has the right to cancel the contract.
     ●   Edward’s conduct wasn’t ethical because once the contract is signed it is binding;
         if Edward wanted to reassure Kelly, he should have explained to her that she
         could simply cancel the contract using the notice of cancellation if she did not
         want to move forward after the site survey.
     ●   Edward should have signed Kelly’s name on the PPA in order to get the site survey
         scheduled. If Kelly agreed to move forward after the site survey, he could have her sign
         a new PPA and nobody would be the wiser.




                                                                          Solar Mosaic_Cardona-Brown 000882
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  Course Title: Misrepresentations Regarding
  Relationship with Utility Companies:


  Page name: The policy:
  We may not say or do anything that may reasonably cause a customer to believe we are
  affiliated with a utility company. We do not work for or in partnership with any utility. Other than
  net metering and interconnection, there is no relationship between Vivint Solar and a utility
  company.




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  Page Name: Specific Points to Know
  As a sales representative, you may be tempted to tell a prospective customer that you “work
  with” the local utility company. After all, a customer is unlikely to slam the door in the face of the
  company that controls the power to their house. Although making a customer think you are
  affiliated with the utility company may buy you a few extra seconds at the door, we promise that
  it won’t be worth it in the long run.

  As an initial matter, what will the customer think when he/she discovers that you don’t actually
  work for the utility company? Who in their right mind would want to continue doing business with
  someone who began the relationship with a lie?

  Even if the customer never finds out, it is deceptive and wrong. We do not work or partner with
  any utility company and it is unethical to say or do anything that might cause a customer to
  believe you do. Doing so exposes both you and the company to liability.

  To avoid any potential confusion, you must begin every sales pitch you make by identifying
  yourself and the company you work with. You should also avoid wearing apparel or accessories
  or carry equipment that contains branding elements, including a logo, that suggests you work for
  a utility company. You will eventually need to explain to customers that the solar panels will be
  connected to the utility’s grid and how interconnection works. But in doing so, you must always
  make sure to be clear that you do not work for or with the utility company.




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  Page Title: Assessment

  Mark is selling around the neighborhood. He knocks on the Bell’s door and a young girl opens
  the door. Mark asks if her parents are home and she says yes. She asks him what he wants and
  Marks responds with “I just want to talk to your parents about their power.”

  The little girl leaves and her mom, Sandy, comes back to the door and says, “Hi, so you’re with
  the power company, is there a problem?”

  Mark responds with, “No problem, we are actually here to discuss a net metering program and
  we are just curious if we could see your utility bill so we can try to save you money.”

  Was this interaction ethical?

     ●   Mark’s conduct was ethical because he didn’t lie at any point, it is just to get in the door,
         and there is no harm for her to not know at the start.
     ●   Mark’s conduct was unethical. Although he didn’t technically lie, he knew that the
         customer thought he worked for the utility company and did nothing to correct the
         misunderstanding.
     ●   Mark’s conduct was ethical because never said he was with the power company; he can
         clear up any misunderstanding once he gets in the house.
     ●   Mark’s conduct was unethical because he talked to a child without the child’s parent
         present.




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  Course Title: Forgery


  Page name: The policy:
  We may not sign a customer agreement or check a signature box in a customer agreement on a
  customer’s behalf. Checking a signature box for a customer, or leading them to believe it means
  something it doesn’t, is the same as forging their signature. Similarly, we may not knowingly
  allow any person to sign or check a signature box in a customer agreement on behalf of another
  person.




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  Page Name: Specific Points to Know
  At this point you should know that you can’t sign someone else’s name on a contract. That’s
  forgery and it’s not only unethical, it’s illegal. However, you need to also remember that the term
  “forgery” is much broader than just signing someone else’s name. Our contracts have several
  boxes that customers must click to acknowledge specific provisions in the contract. Checking
  one of these boxes for a customer is the same as signing their name and, consequently, also
  prohibited. When asking a customer to sign an agreement of any kind, you should always hand
  the tablet to the customer and allow customers to check any boxes themselves. It might take a
  little more time, but you need to make sure they are the ones to hold and touch the tablet.

  It’s also important to remember that misrepresenting what a document says in order to get
  someone to sign it is just as unethical and illegal as forging their name. You cannot, for
  example, get a customer to sign a PPA by telling them it is just a document to get the process
  started.




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  Page Title: Assessment

  Brent has all but sold a PPA to Sandy and her family. Sandy is very busy and during her
  presentation she has three kids who are running around. Brent is about to give her the iPad and
  explain what the document entails, when one of her children throws up in the other room.

  She politely excuses herself and says that she will sign the contract once she cleans her kid up.
  Brent can see that she is very short on time, so he starts checking boxes so that all Sandy has
  to do when she gets back is just sign her name. At this point she knows everything, so he
  figures he isn’t trying to deceive her.

  Once she gets back he explains what the boxes were that he checked, now Sandy just needs to
  sign. She is grateful for the time he saved and signs the documents needed.

  Which of the following is most true about the interaction:

     ●   One finger is just as good as another finger. As long as Brent described everything and
         Sandy is fine with it, Brent didn’t do anything unethical.
     ●   Brent didn’t do anything wrong because Sandy voluntarily signed the agreement and the
         signature meant she understood and accepted the terms in the boxes; the signature is
         all that matters.
     ●   Brent violated company policy by checking the boxes for Sandy. He doesn’t have
         to write her signature to commit forgery. Checking an acknowledgement box is the
         same as signing someone’s name.
     ●   Brent forged the documents because Sandy was in the other room. If Sandy was in the
         same room and Brent checked the boxes while explaining it to Sandy, Brent would be
         okay.

  After Brent submits the signed contract, he receives an email that there is a small problem with
  the contract and that he needs the customer to sign a new agreement. Brent does not want to
  drive out to the customer’s house again and the revision in the agreement is so small that he is
  certain the customer won’t have any problem with it. In order to save time, Brent electronically
  copies the customer’s signature and pastes it into the new agreement.

  Which of the following is most true about the interaction:

     ●   Brent didn’t forge Sandy’s signature because he didn’t write her signature himself, he
         used her actual signature from the prior contract.
     ●   Brent committed forgery by pasting Sandy’s signature into an agreement without
         her authorization -- even if the agreement is nearly identical to the one she
         previously signed.



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     ●   It is okay for Brent to paste Sandy’s signature into the new agreement as long as he
         uses the time he saved to create another account and increase the Company’s
         profitability.




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  Course Title: Running Customer Credit Without
  Consent


  Page name: The policy
  Obtaining a consumer report can negatively impact a customer’s credit and, consequently,
  should only be done with a customer’s express authorization, appropriate for the circumstances
  (or other circumstances expressly approved by the Legal Department). We must never allow
  another person -even a spouse- to authorize a credit check on behalf of someone else.




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  Page Name: Specific Points to Know
  Obtaining a consumer report can negatively affect a customer’s credit score. Moreover, federal
  law prohibits us from obtaining a consumer report without their permission. In order to comply
  with the law, we must always obtain a customer’s permission before we run their credit. We
  typically obtain such permission by having the customer sign a PCCF or Credit Authorization
  form.

  However, in order for the Authorization to be effective, the customer must know what they are
  signing. As such, you must always verbally explain to the customer that by signing the form,
  they are granting us permission to run their credit. And you should not tell a customer who signs
  a PCCF or credit authorization form that we are only running a “soft” credit check -- if a
  customer signs a form, then we will obtain their credit report, which may affect their score
  (sometimes called a “hard” credit check).

  Keep in mind that if the customer does not pass credit, we are also required by law to notify
  them that we cannot proceed due to the credit check, and explain why. This means that a
  customer who fails a credit check will receive written notification from the company that their
  credit was run. In addition, many people use credit monitoring services that notify them of credit
  checks. If the customer was not aware that we were running their credit, the customer will likely
  be upset, whether they meet our requirements or not. Apart from creating legal problems for
  both you and the company, you may lose a sale.

  The application “Doors” provides the option to pre screen a potential customer’s credit. You are
  free to use this check to see if a customer is likely to qualify. If, however, the customer
  progresses and signs a PCCF or Credit Authorization form, a full credit check will be required.




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  Page Title: Assessment

  James has knocked every door on Union Ave. and has talked to everyone on the street except
  the house on the corner. He really wants to stop coming to this street, but the corner house
  would be perfect for a PPA. The back of the house is south-facing with enough room for a great
  system. He has information about the house from Doors, and knows that the homeowner is
  Lester Sims.

  Even though the Sims family never seems to be home, he wants to know if it will be worth his
  time to return. He decides to prescreen the Sims’ credit score in Doors and finds out they have
  a very good credit score.

  Which is most true about this scenario :

     ●   James violated Vivint Solar’s policy by prescreening Lester Sim’s credit through Doors
         without obtaining Lester’s approval.
     ●   Once the prescreen came back positive, James should run a full credit check to verify
         the results. Since it likely wouldn’t fail, Lester wouldn’t ever find out.
     ●   James did not violate company policy. James didn’t run a full credit check
         through NEO, so he didn’t need Lester’s approval.
     ●   James did not violate Company policy because the prescreen came back positive. If the
         credit had been poor it would have been a violation.

  James returns to the house the following week and meets a woman named Samantha. James
  asks if Lester is available and finds out that Lester no longer lives in the house. James ends up
  giving his sales pitch to Samantha and she tells James that she is the current homeowner and
  is interested in learning more.

  Although Samantha agreed to learn more, Samantha doesn’t seem overly interested and James
  does not want to scare her away by asking to run her credit. But he also doesn’t want to waste
  his time if she isn’t going to qualify. In order to get Samantha to sign the PCCF, James tells her
  that she needs to sign a document in order to proceed with the next steps. James pulls up the
  PCCF on his ipad and zooms into the signature line so that Samantha can’t see the rest of the
  document. James holds the ipad while Samantha signs her name. With the signature in hand,
  James runs Samantha’s credit.

  Which is most true about this scenario :

     ●   James should not have given the sales pitch to Samantha because she is not the
         homeowner listed on Doors.
     ●   It was okay for James to run Samantha’s credit because she signed the PCCF.



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     ●   James should have explained to Samantha that he needed to run her credit and
         given her the ipad to review and sign the PCCF.

  Unfortunately, Samantha does not pass credit because she missed several credit card
  payments while in college. James comes clean and tells Samantha that in order to proceed
  further, someone on the account will need to pass credit. Samantha tells James that her
  husband, Ben, is meticulous with his finances and will almost certainly have better credit than
  her. With Samantha’s permission, James creates a new account under the husband’s name
  and has Samantha sign the PCCF on her husband’s behalf. James then initiates a credit inquiry
  for Ben.

  Which is most true about this scenario :

     ●   James did not violate company policy because Samantha, Ben’s wife, gave permission
         to check Ben’s credit.
     ●   James violated company policy by allowing someone other than Ben to sign the
         PCCF on his behalf.
     ●   It would have been okay to let Samantha sign the PCCF for Ben if James was absolutely
         sure that Samantha had Ben’s permission.

  It turns out that Ben is a degenerate gambler and, unbeknownst to Samantha, has even worse
  credit than her. Desperate to save the sale, James asks Samantha if anyone else lives with her
  and learns that Samantha’s nephew, Eddie, is staying with them while he finishes college.
  Fortunately, Eddie is home and agrees to act as co-signer on the account. James creates an
  account in Eddie’s name and has Eddie sign a PCCF. Eddie passes credit and James proceeds
  with the account under Eddie and Samantha’s name. James promises Eddie that after the
  system is installed, he will have Eddie’s name removed from the account without any difficulty.

  Which is most true about this scenario :

     ●   It is okay for James to use Eddie’s credit to qualify the account as long as Eddie lives in
         the house and agrees to co-sign the account.
     ●   James should have avoided the entire mess by creating the account under Lester Sim’s
         name because he knew that Lester Sim’s had good credit.
     ●   It is not okay for James to use Eddie’s credit to qualify the account because he is
         not the homeowner or the homeowner’s spouse or domestic partner.




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  Course Title: Providing False Information


  Page name: The Policy:
  We may not provide false or inaccurate information concerning any customer in order to
  progress an account. This includes providing a false email address, false usage or utility
  information, or false payment information. In addition, we may not list an employee’s own
  checking account information or a prepaid card of any kind as a customer’s payment
  information.




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  Page Name: Specific Points to Know
  You may not, under any circumstances, provide false information about a customer or account.
  There are many different ways a sales representative can violate this standard, but one of the
  most common problems involves a sales representatives using false email addresses on a
  customer’s account.

  It is essential that we have an active and valid email address that belongs to each customer.
  This means an email address that the customer has set up without the assistance of a sales
  representative. An active, valid email address is important for multiple reasons. First, by signing
  our agreement, the customer is expressly agreeing that we can send information to them at that
  email address, including the agreement itself. If we do not have a valid email address, the
  customer may not receive the agreement or other important communications,.

  Second, federal and state law require us to provide customers with notice that they have the
  right to cancel the agreement within a certain period of time. The cancellation period begins to
  run when the customer receives a copy of the agreement and attached notices of the right to
  cancel. This means that if the customer does not receive a copy of the agreement because we
  send it to the wrong email address, the cancellation period does not begin to run and the
  customer may be able to cancel the agreement after we have spent considerable money
  installing solar panels on their house.

  Finally, our loan partners also rely on the email addresses we provide to communicate with our
  mutual customers. By providing an email address that you know to be inaccurate, you put
  yourself at risk, along with the company and its relationship with these important partners.

  If a potential customer does not have an email account, you may not set one up for the
  customer. You may encourage the customer to create an account for herself, and suggest that
  she ask a friend or family member to help, but the customer - not you - must do the work.

  There are countless other ways in which you may be tempted to provide false information about
  a customer, usually when the customer wants to proceed with solar but does not meet one of
  our requirements (i.e., insufficient utility information, no broadband internet connection, etc.). No
  matter how much the customer wants to proceed, or how much you think you need the sale, you
  should never try to circumvent these requirements by providing false information. The
  requirements are there for important reasons and sidestepping those requirements puts your job
  and the company at risk.




                                                                          Solar Mosaic_Cardona-Brown 000895
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  Page Title: Assessment

  John is an older gentleman. He really likes the idea of solar and wants to proceed with a PPA.
  When Julia asks John for his email, John explains that he does not have an email address and
  doesn’t really want one.

  How should Julia proceed?

     ●   Julia shouldn’t waste any more of her time with John; he needs to get with the times.
     ●   Julia should put down her own email; as long as she prints off any communications she
         gets for John’s account and gives them to John, there won’t be any problems.
     ●   Julia should quickly create an email for John and use that one.
     ●   Julia should explain to John the reason we require customers to have an email
         address, and inform him that we cannot proceed without one. If John wants to
         proceed, Julia may suggest that John ask for a family member’s help in setting up
         an email address.

  After Julia helps John set up an email account, she notifies John that she will also need copies
  of his utility bills. Unfortunately, John tells her that he generally throws them away. After
  searching his files, John He finds two utility bills. They are a few months apart, but very similar
  in range.

  John’s neighbor previously worked with Julia to obtain solar panels on his house and Julia
  believes the houses are similar in size. Julia didn’t want to lose a sale she had worked so hard
  to close and so she uses her friend’s computer to photoshop the neighbor’s utility bills, which
  she submitted for John.

  Which of the following is most true about the interaction:

     ●   It was okay for Julia to estimate John’s utility information because he honestly did not
         have utility information available.
     ●   It is okay for Julia to estimate John’s utility information as long as she is reasonably
         certain that the information is accurate.
     ●   It was unethical for Julia to submit information about a customer that she knew
         was not accurate.
     ●   Julia’s conduct was unethical because she did not have a software license to use
         photoshop.




                                                                          Solar Mosaic_Cardona-Brown 000896
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  Course Title: Contract Terms


  Page name: The Policy:
  We may not promise customers anything that contradicts the terms of their agreement, including
  any promise concerning: (a) energy production (except in a lease); (b) cost savings; (c) a
  customer’s ability to terminate the agreement after the system is installed; and/or (d) the cost to
  remove the system temporarily for property repairs. We may not enter into side deals with
  customers that are not memorialized in written agreements approved by the company. And
  nothing is free.




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  Page Name: Specific Points to Know
  The agreements that we require our customers to sign contain various disclaimers and
  warranties. You must familiarize yourself with the terms of the contract and avoid telling the
  customer anything that contradicts those terms. For example, our PPA expressly states that we
  do not guarantee production or savings. As a result, it is unethical and dishonest to promise a
  customer that they will save money if they proceed with a PPA. You may tell a customer that
  they can potentially save money or that many customers save money, but you must avoid
  statements that the customer could interpret as promised savings or a guarantee.

  Similarly, you should avoid telling customers that the solar panels are “free.” Customers might
  misinterpret statements like this to mean that they will not be required to ever pay anything and
  get upset when they receive their first bill. The proper phrase to use is that we install the panels
  at “no upfront cost.”

  Finally, if a customer has a question about a term of the agreement that you do not understand,
  DON’T GUESS. Review the training materials and if you cannot find the answer, ask your
  manager. Responding by telling the customer that they’ve raised a good question and that you
  will get back to them is better than getting it wrong.




                                                                         Solar Mosaic_Cardona-Brown 000898
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  Page Title: Assessment

  While knocking doors in a promising new area, Eric meets a sophisticated businessman named
  Harry. Harry is very interested in solar but is worried about the length of the agreement.
  Specifically, Harry knows that he will likely need to replace his roof in 15 years and asks Eric
  what he will happen when that occurs. Eric doesn’t want to lose the sale so he vaguely tells
  Harry that Vivint Solar will remove the system if he needs to do any repairs to the house. Eric
  doesn’t tell Harry about much it will cost to remove the system or that there are other limitations
  governing the removal of the system.

  Which is most true about this situation :

     ●   It was okay for Eric not to tell Harry about the cost to remove the system because that
         information is in the agreement and Harry will probably review the agreement carefully
         before signing.
     ●   It is unethical for Eric not to tell Harry about the limitations and costs of removing
         the system because Harry specifically asked about it. Withholding information
         from a customer is just a bad as deliberately misleading a customer.
     ●   Eric doesn’t need to worry about it because the issue won’t even come up for at least 15
         years and he will probably be long gone by then.




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   Course Title: Sharing Confidential Information


  Page name: The Policy:
  We may not share confidential information with anyone outside the company or allow anyone to
  do work on employee’s behalf that is not an employee of Vivint Solar. This includes allowing
  anyone to access Vivint Solar’s information technology systems using our log-in information.




                                                                    Solar Mosaic_Cardona-Brown 000900
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  Page Name: Specific Points to Know

  Every sales representative working for Vivint Solar is required to sign a Direct Seller Agreement
  before they begin working for Vivint Solar. If you haven’t read the Direct Seller Agreement, you
  should. By signing the Direct Seller Agreement, you agreed, among other things, that you will
  use reasonable and diligent efforts to protect Vivint Solar’s confidential information, including
  information about Vivint Solar’s customers.

  You also agreed that you will only use the confidential information to fulfill the duties of your
  employment. This means that you should not share information about Vivint Solar’s customers
  with people outside of the company or try to use such information for your own personal gain. If
  you decide to leave Vivint Solar, you must return any confidential information you have in your
  possession and may not use any such information for you or your new employer’s benefit.




                                                                        Solar Mosaic_Cardona-Brown 000901
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  Page Title: Assessment

  Peter is working with a client, Jack, who wants a specific type of system. After signing the
  contracts and going through the site survey he says the CAD isn’t what he wants. He asks for
  changes to add more panels because he wants some extra power for his garage that he’s going
  to turn into a movie theater.

  Peter sends the request back to CAD, but after several changes, nothing CAD does appeases
  Jack. Jack cancels the install.

  Peter contacts his friend, Gary, at a smaller solar company and offers to sell him the lead. Gary
  agrees and pays Peter $500 for information about Jack, including copies of the CAD designs
  that Jack had rejected.

  Despite Gary’s best efforts, Jack is not satisfied with Gary’s company either and declines their
  business.

  Which of the following is most true about this sale?

     ●   Peter’s conduct wasn’t ethical because he provided confidential information to a
         third party, even though nothing came of it.
     ●   Peter’s conduct was ethical because he was trying to help Jack out and because Jack
         didn’t end up purchasing a system from Gary.
     ●   Peter’s conduct wasn’t ethical because Peter didn’t obtain Jack’s permission to share his
         information. If Peter had obtained Jack’s permission, his conduct would have been fine.
     ●   Peter’s conduct was ethical because Peter is an independent contractor and doesn’t
         actually work for Vivint Solar. He can do this to earn money on the side.




                                                                        Solar Mosaic_Cardona-Brown 000902
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  Course Title: Misrepresentations Regarding
  Competition and Utilities


  Page name: The Policy:
  We may not make untrue or misleading statements about a competition or utility company. For
  example, we may not represent that a utility’s or competitor's rates will increase without data to
  support our claim and appropriate company approval.




                                                                         Solar Mosaic_Cardona-Brown 000903
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  Page Name: Specific Points to Know
  At Vivint Solar, we believe in competing on a level playing field. We believe the products and
  services we offer stand on their own merit. Consequently, there is no need to make false
  statements about our competitors.

  A simple rule of thumb is that if you are going to say anything about a competitor, the statement
  should be factual and supported by actual data. Don’t use rumor and hearsay. Even if a
  coworker has “inside information” about competing solar companies, you should avoid repeating
  that information to customers unless you have concrete facts that can be researched and
  backed up.

  This rule of thumb applies to statements about utility companies as well. You must refrain from
  making statements about utility rates, especially future utility rates, without data to support the
  claim.




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  Page Title: Assessment

  After listening to Ted’s sales pitch, Martha invites Ted into her home to learn more about solar.
  During the discussion, Martha expresses frustration about her utility company constantly raises
  its rates. His sales training kicks in and he immediately tells her about the savings she can
  generate by switching to solar.

  Martha tells Ted and she would like to own her own system and Ted begins explaining her
  options, including system sales and available financing. Martha is worried about the cost of
  taking out a large loan. To appease her concerns, Ted shows Martha a chart that he has
  prepared comparing her monthly payment to her future utility bills.

  Although Ted knows that Martha’s utility company has never raised its utility rates more than 5%
  in a given year, the figures that Ted uses in his savings chart assume that utility rates will
  escalate 10% each year. Amazed by the enormous savings, Martha agrees to proceed with the
  loan.

  Which of the following is the most true:

     ●   Ted’s behavior wasn’t unethical because he didn’t expressly tell Martha that her utility
         rates would increase.
     ●   Ted’s behavior wasn’t ethical because he knew that the utility rates have never risen by
         more than 5%; if he didn’t have that information, it would have been okay to assume a
         10% escalation rate.
     ●   Ted’s behavior wasn’t ethical because he did not have any basis to assume utility
         rates would increase 10% and he did not disclose the assumption to Martha. Ted’s
         conduct was also unethical because employees may not use their own marketing
         materials, including savings calculators. Ted should have used the approved
         price comparison tool.
     ●   Ted should have assumed an even higher escalation rate to make Martha’s savings look
         even bigger.




                                                                        Solar Mosaic_Cardona-Brown 000905
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  Course Title: Elderly Customers


  Page name: The Policy:
  We need to treat elderly customers with extra care to ensure they understand our products and
  services. This includes not taking advantage of an older customer’s inexperience with or lack of
  access to technology, or unfamiliarity with utility rates and usage.




                                                                       Solar Mosaic_Cardona-Brown 000906
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  Page Name: Specific Points to Know
  In 2010, a non-profit organization called Investor Protection Trust published a survey projecting
  that 1 in 5 senior citizens had been taken advantage of financially. The Federal Trade
  Commission recently stated that fraud complaints to its offices by individuals 60 and older rose
  at least 47 percent between 2012 and 2014.

  In an effort to stop this alarming trend, several states have enacted laws that make it illegal to
  cause a senior citizen to purchase goods or services through any form of coercion or deceit.

  We should never refuse to do business with, or otherwise discriminate against, someone
  because they are elderly. We must, however, be extra careful to ensure that they are capable of
  entering into an agreement and fully understand the terms of any agreement we present to
  them. Speak slowly and be patient in answering any questions they may have concerning our
  products and services. And be sure that they have an active and valid email address.

  It is also important to double-check their utility information. Some states have programs that
  offer senior citizens discounted utility rates. You should make sure they understand how that
  rate compares to the rates they will be paying us if they are considering a PPA or lease, or how
  the rate affects assumptions if they are purchasing a system, as you discuss potential savings
  with an elderly customer.




                                                                          Solar Mosaic_Cardona-Brown 000907
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  Page Title: Assessment

  Mildred is a sweet, seventy-six year old woman who is always interested in saving a buck. Her
  husband of 53 years pass away two months ago and so she is also very lonely. Not
  surprisingly, when Edward knocked on her door and told her she might be able to save money
  by going solar, she immediately invited him in and offered him snickerdoodles and diet
  lemonade, her late husband’s favorites.

  After Edward explained the power purchase agreement to Mildred in painstaking detail, she
  informed him that she was interested in learning more. She gave Edward her most recent utility
  bills and Edward immediately noticed she participates in California’s Alternative Rates for
  Energy Program (CARE) and, consequently, pays less for her energy than the current PPA rate.

  While Edward is reviewing Mildred’s utility bill, her son, Andrew, stops by to check on her. When
  Edward introduces himself, Andrew tells Edward that he doesn’t like the idea of Mildred signing
  anything without him reading it first. She seems to brush him off and he leaves after dropping off
  groceries that she needs.

  After Andrew leaves, Mildred tells Edward that says that she is a grown woman and doesn’t
  need Andrew’s permission to move forward.

  How should Edward proceed?

     ●   Edward should politely inform Mildred that she doesn’t qualify for solar. Her husband
         just died and she can’t possibly be in her right mind. Moreover, there is no way that she
         will be alive for a 20-year contract.
     ●   Edward should send the agreements to Andrew to look over before Edward proceeds
         any further with Mildred.
     ●   Edward should explain to Mildred that she actually pays less than what she would
         be required to pay under the PPA, but that she can still proceed with a PPA if
         saving money isn’t the only reason she is interested in solar.
     ●   Edward doesn’t need to point out the reduced energy rate that Mildred pays under the
         CARE Program. As long as Edward explains to Mildred the terms of the PPA, it is
         Mildred’s responsibility to determine whether it makes sense to proceed with the PPA.




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   Course Title: Language of Sales Presentation


  Page name: The Policy:
  We may not give a sales presentation in any language other than English.




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  Page Name: Specific Points to Know
  Presenting a customer with a copy of a contract in a language other than the language used in the
  sales presentation is illegal as an unfair and deceptive practice under federal laws. Numerous states
  have enacted statutes that provide additional protections to customers who are presented with
  contracts in a language other than the one used during a sales presentation.

  Because Vivint Solar’s contracts currently exist in English only, employees may never give a sales
  presentation in a language other than English . Employees may not attempt to circumvent this
  standard by translating the contracts themselves, or using any other contract that is not expressly
  authorized by Vivint Solar.

  This does not mean that you can never communicate with a customer in a language other than
  English. You can speak another language with a potential customer in order to introduce yourself
  and provide other introductory information. However, when it comes time to give the sales
  presentation, it must always be given in English. Failing to follow this policy can put you and the
  Company at serious risk and will result in disciplinary action, up to and including termination.




                                                                           Solar Mosaic_Cardona-Brown 000910
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  Page Title: Assessment

  Sam knocks on Hector’s door one afternoon while canvassing a new neighborhood. Hector
  does not speak English particularly well and tells Sam that, although he can read and write in
  English, he prefers to communicate in Spanish. Fortunately for Sam, Sam took three years of
  Spanish in high school. In addition, he just learned about a new app available on his iPhone that
  will help him translate any words he doesn’t know or understand.

  Using the app, Sam is able to explain how solar works in broken Spanish. Hector is interested
  and tells Sam he wants to move forward. Sam pulls up the Power Purchase Agreement on his
  iPad and hands it to Hector for him to sign. Hector reviews the agreement and does not appear
  to have any trouble reading it in English.

  Several weeks later, solar panels are installed on Hector’s house. Hector is thrilled with how the
  panels looks and invites Sam over for a celebratory dinner.

  Which of the following is most true about this sale?

     ●   Sam’s conduct violates Vivint Solar’s ethics standards because he gave the sales
         presentation in a different language than the contract provided to the customer.
     ●   Sam conduct violates Vivint Solar’s ethics standards because he is not fluent in Spanish.
         Sales representatives are allowed to give sales presentations in Spanish only if they are
         certified to do so.
     ●   Sam’s conduct does not violate any ethics standard because Hector told Sam he could
         read English. Hector read the agreement and didn’t have any questions, so he was
         clearly understood it.
     ●   Sam’s conduct does not violate any ethics standard because Hector was happy with the
         solar panels.

  Erica speaks Italian fluently and regularly eats at a small Italian restaurant near her home. Erica
  stops by the restaurant one evening after a long day of work and, while waiting for her meal,
  strikes up a conversation with the restaurant’s owner, Anthony. When Erica tells Anthony that
  she comes from a large Italian family, Anthony asks if she speaks Italian. Erica tells him that
  she does and the two immediately switch their conversation to Italian.

  After a few minutes of small talk, Anthony asks Erica about her uniform. In perfect Italian, Erica
  tells to Anthony that she works as a sales representative for a solar company and proceeds to
  explain the benefits of going solar with Vivint Solar. Anthony tells Erica that he is interested in
  learning more and invites Erica to come by his house later that weekend.




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  When Erica arrives, Anthony informs her that he invited several of his family members to learn
  about solar as well. Anthony tells his family members that Erica is Italian and speaks perfect
  Italian. After introducing herself in Italian, Erica informs Anthony and his family that Vivint Solar
  does not have any contracts in Italian and, as a result, she is required to give her sales
  presentation in English. Anthony is clearly disappointed, but states that he can translate for his
  family members who only speak Italian.

  Erica proceeds with the sales presentation in English and ends up creating accounts for several
  members of the family who wish to move forward.

  Which of the following is most true about Erica’s conduct?

     ●   Erica’s conduct violates Vivint Solar’s ethics standards because she spoke to potential
         customers about solar in a different language than the contract provided to the customer.
     ●   Erica’s conduct violates Vivint Solar’s ethics standards because she allowed Anthony to
         translate for her to his family.
     ●   Erica’s conduct does not violate any ethics standard because, even though she
         engaged in small talk with the potential customers in another language, she made
         sure to give the sales presentation in English.
     ●   Sam’s conduct does not violate any ethics standard because she speaks Italian so well.




                                                                           Solar Mosaic_Cardona-Brown 000912
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  (This will just be a list of questions to make sure they know all of these matter on separate quiz
  pages. It will be an individual course that will be at the end and not available in the library, only
  the program.)



  Creating False Account:

  Which of the following violates the Ethics Standards:

  Creating an account after knocking on a door and leaving without requiring the customer to sign
  a contract, but with a time to return.
  Allowing a spouse who isn’t on the house title to sign a customer agreement along with his/her
  spouse that owns the home in order to pass credit.
  Telling the customer that they cannot use their father to pass credit because he doesn’t own the
  house.
  Allowing a homeowner’s neighbor to co-sign a customer agreement.

  I understand that it is unethical to create a false account or progress an account with a person
  who is not a homeowner.

  Yes
  No



  Consent for Credit

  Which of the following is most ethical as it pertains to running credit:

  Making sure a prospective customer signs a Credit Authorization form after letting them
  know that that form grants us permission to run credit.
  Performing a full credit check in NEO without a homeowner’s permission.
  Allowing someone who does not own the house associated with an account to co-sign on that
  account so that it passess credit.
  Performing a full credit check on as many individuals as you can so that you don’t waste your
  time talking to people who won’t qualify.

  I understand that it is unethical to run a full credit check in NEO, or any other application,
  without explicit consent.

  Yes
  No



                                                                             Solar Mosaic_Cardona-Brown 000913
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  Contract Terms:
  Which of the following violates the Ethics Standards:

  Telling customers that we can’t promise how much they will save over the course of their
  contract.
  Telling customers that we can put their agreement under someone’s name if they do not
  pass credit and then transfer the agreement to them once we receive permission to
  operate the system.
  Telling customers that they have the right to cancel their agreement according to the terms set
  forth in the customer agreement.
  Telling customers that if they sell their house, they are allowed to transfer the agreement to the
  new homeowners.

  I understand that it is unethical to make promises contrary to the terms of the agreement about
  production, cost saving, a customer’s ability to late termination or removal of the system for
  property repair.

  Yes
  No



  Notice of Cancellation:
  Which of the following does not violate the Ethics Standards:

  Showing a customer where the notice of cancellation is located in the agreement and and
  letting them know that they can cancel the agreement according to its terms.
  Including an email address on an account that you know is not accurate.
  Telling a customer that once they sign the agreement, there is no way to cancel the agreement.
  Reassuring a customer that their contract is not binding until the power is turned on and we
  begin charging the customer.



  I understand that it is unethical to tell or infer to our that contracts aren’t binding upon signature
  or that a contract can be cancelled once installation begins.

  Yes
  No




                                                                            Solar Mosaic_Cardona-Brown 000914
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  Elderly Customers:
  Which of the following is most ethical as it pertains to working with elderly customers:

  Avoiding contact with anyone over the age of 60 because they might not know what they are
  doing.
  Taking extra time with an elderly customer to ensure that they know what they are
  agreeing to.
  Requiring elderly customers to meet with their kids before they sign an agreement to make sure
  that they all agree to the terms.
  Asking an elderly customer to sign a customer agreement without explaining to them what they
  are signing.



  I understand that it is unethical to take advantage of elderly customers.

  Yes
  No



  Forgery:
  Which of the following is most ethical:

  Explaining everything on a form while checking the boxes, but allowing the customer to sign the
  document for themselves.
  Handing the customer the tablet and having them check boxes as they read and you
  explain, then they sign.
  Handing the customer the tablet after checking the boxes so the customer can read what you
  checked, then have them sign.
  Explain everything on the form while checking the boxes, then ask for permission to start the
  process and sign for them.

  I understand that it is unethical to check boxes on a contract and that it is equal to signing a
  contract for a customer.

  Yes
  No




                                                                          Solar Mosaic_Cardona-Brown 000915
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  Misrepresent other companies:
  Which of the following does not violate the Ethics Standards:

  Telling a customer that their utility rates are likely to rise substantially over the next several
  years.
  Telling a customer about a rumor you recently heard that one of our competitors is financially
  struggling.
  Providing a customer with accurate data regarding increases in their utility rates over the
  past ten years.
  Telling a customer that our competitor uses inferior solar panels when you really don’t know
  what kind of panels they use.

  I understand that it is unethical to misrepresent other utility companies.

  Yes
  No



  Misrep Utility Companies:
  Which of the following violates the Ethics Standards:

  Asking a customer if they are familiar with the products and services that Vivint Solar offers.
  Explaining to a customer that you don’t work for the power company, but that the customer will
  likely continue to receive bills from the power company in the future.
  Wearing a pin from the local utility company on your backpack next to a name tag.
  Explaining to a customer that the solar panels will remain connected to the grid through
  interconnection.

  I understand that it is unethical to give the impression that you work for or with a power
  company.

  Yes
  No



  Providing False Information:
  Which of the following does not violate the Ethics Standards:




                                                                          Solar Mosaic_Cardona-Brown 000916
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  Using your own email address on an account to get the ball rolling since the customer doesn’t
  have an email account.
  Estimating a customer’s utility usage based on information the customer provides rather than
  submitting actual utility bills.
  Using a pre-paid credit card as the customer’s payment information.
  None of the above.

  I understand that it is unethical to provide false email addresses, utility information or payment
  information.

  Yes
  No



  Sharing Confidential Information:
  Which of the following violates the Ethics Standards:

  Providing a customer’s information to another solar company to see if you can get them a better
  deal.
  Providing a customer’s information to another solar company after their house fails site survey.
  Asking a customer who does not like Vivint Solar’s CAD if it is okay if you sell their information
  to another company to get a better design.
  All of the above.

  I understand that I am a Vivint Solar employee and it is unethical to share confidential
  information with anyone else including another solar company.

  Yes
  No




                                                                         Solar Mosaic_Cardona-Brown 000917
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From:                                       Steven Burt <steven.burt@vivintsolar.com>
Sent:                                       Tuesday, August 22, 2017 2:43 PM
To:                                         Andy McElroy
Subject:                                    Re: Mosaic Compliance Guide and training idea


Hi Andy – certain items in the Guide appear inconsistent with my understanding of our arrangement with Mosaic. In any
event, we are working with Mosaic to finalize an amendment to the program agreement. We should wait until that
amendment is finalized and circle back.

Steven Burt
385.715.6209




From: Andy McElroy <andy.mcelroy@joinmosaic.com>
Date: Wednesday, August 16, 2017 at 2:25 PM
To: Steven Burt <steven.burt@vivintsolar.com>
Subject: Re: Mosaic Compliance Guide and training idea

Hi Steven,

Any word on this? Looking to get the Compliance Guide in wide distribution.



Andy McElroy
Account Executive

P 510 356 2841
E andy.mcelroy@joinmosaic.com
1212 Broadway Oakland Suite 300, CA 94612


On Tue, Aug 8, 2017 at 12:00 PM, Andy McElroy <andy.mcelroy@joinmosaic.com> wrote:
 Hi Steven,

 I hope all is well. Did you ever get a chance to review and distribute the Compliance Guide we released in June? I know
 you are revamping training - could this be a part of updated training materials?

 On the topic of training, can you help me get Vivint Sales on board with a monthly training call I'd run? We discussed
 this a bit and you were amenable to the idea, but we both agreed getting Sales to agree to required time spent would
 be the challenge. Obviously I need your help, Jordan's help, and buy in from a lot of other players before I can toss out
 a Ring Central webinar invitation. Ideally this could start this month or next and run at the beginning of each month
 thereafter. Thoughts?




 Andy McElroy

                                                                    1
                                                                                            Solar Mosaic_Cardona-Brown 000918
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 Account Executive

 P 510 356 2841
 E andy.mcelroy@joinmosaic.com
 1212 Broadway Oakland Suite 300, CA 94612




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                                                                                   2
                                                                                       Solar Mosaic_Cardona-Brown 000919
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From:                                            Steven Burt <steven.burt@vivintsolar.com>
Sent:                                            Monday, October 30, 2017 8:19 PM
To:                                              Sara quinto-seibert
Cc:                                              Eric Watson; Ryan Gorman
Subject:                                         Re: Florida State Attorney General


Hi Sara - I’m traveling tomorrow morning- would mid-Afternoon work?

Steven Burt
Senior Regulatory Counsel
385.715.6209
1800 W. Ashton Blvd.
Lehi, Utah 84043

From: Sara quinto-seibert <sara.quinto-seibert@joinmosaic.com>
Sent: Monday, October 30, 2017 2:53:56 PM
To: Steven Burt
Cc: Eric Watson; Ryan Gorman
Subject: Re: Florida State Attorney General

Steve:

I don't recall seeing an email response from you to see if today works for a discussion regarding this
matter. Please let me know if you have time today or tomorrow.

Thank you,
Sara


Sara J. Quinto-Seibert
Assistant General Counsel

D: (510) 319-9598
C: (415) 235-4562
E: sara.quinto-seibert@joinmosaic.com

300 Lakeside Drive, 24th Floor, Oakland, CA 94612

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On Thu, Oct 26, 2017 at 5:24 PM, Sara quinto-seibert <sara.quinto-seibert@joinmosaic.com> wrote:
 Hi Steve:

 I am attaching the inquiry we received.

 I can jump on an initial call tomorrow anytime after 2pm PST. Otherwise, my calendar is flexible on Monday
 and I can join a call anytime after 11:30AM PST.
                                                                                      1
                                                                                                                       Solar Mosaic_Cardona-Brown 000920
     Case 3:22-cv-02072-FLW-LHG Document 1 Filed 04/11/22 Page 163 of 252 PageID: 163


Please let me know if you have a preference.

Thank you,
Sara


Sara J. Quinto-Seibert
Assistant General Counsel

D: (510) 319-9598
C: (415) 235-4562
E: sara.quinto-seibert@joinmosaic.com


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constitute an offer to sell securities or a solicitation of an offer to buy securities, an offer of credit, or tax or financial advice.




On Thu, Oct 26, 2017 at 4:39 PM, Steven Burt <steven.burt@vivintsolar.com> wrote:

 Also, if you received something in writing, will you send it over?



 Steven Burt

 385.715.6209

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               JNterRx9UfI00




 From: Steven Burt <steven.burt@vivintsolar.com>
 Date: Thursday, October 26, 2017 at 5:31 PM
 To: Sara quinto-seibert <sara.quinto-seibert@joinmosaic.com>
 Cc: Eric Watson <eric.watson@joinmosaic.com>, Ryan Gorman <ryan.gorman@joinmosaic.com>
 Subject: Re: Florida State Attorney General



 Hi Sara – Monday morning would probably work. I’ll be on East coast time as I’m traveling. I could also talk
 tomorrow.



 Steven Burt
                                                                                                                           2
                                                                                                                               Solar Mosaic_Cardona-Brown 000921
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    JNterRx9UfI00




From: Sara quinto-seibert <sara.quinto-seibert@joinmosaic.com>
Date: Thursday, October 26, 2017 at 4:15 PM
To: Steven Burt <steven.burt@vivintsolar.com>
Cc: Eric Watson <eric.watson@joinmosaic.com>, Ryan Gorman <ryan.gorman@joinmosaic.com>
Subject: Florida State Attorney General



Hi Steve:



We have received a Florida State Attorney General inquiry involving Vivint (specifically your
representative Briant Katilus). The customer involved is Emmanuel Alexis.



Would you be available to have a quick discussion regarding this matter on Monday, October 30, 2017? If
so, please let me know if there is a good time so we can coordinate.



Thank you so much.

Sara



Sara J. Quinto-Seibert
Assistant General Counsel




D: (510) 319-9598

C: (415) 235-4562

E: sara.quinto-seibert@joinmosaic.com




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                                                                                                                    Solar Mosaic_Cardona-Brown 000922
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From:                                                                                                             Steven Burt <steven.burt@vivintsolar.com>
Sent:                                                                                                             Thursday, October 26, 2017 4:31 PM
To:                                                                                                               Sara quinto-seibert
Cc:                                                                                                               Eric Watson; Ryan Gorman
Subject:                                                                                                          Re: Florida State Attorney General


Hi Sara – Monday morning would probably work. I’ll be on East coast time as I’m traveling. I could also talk tomorrow.

Steven Burt
385.715.6209
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      JNterRx9UfI00




From: Sara quinto-seibert <sara.quinto-seibert@joinmosaic.com>
Date: Thursday, October 26, 2017 at 4:15 PM
To: Steven Burt <steven.burt@vivintsolar.com>
Cc: Eric Watson <eric.watson@joinmosaic.com>, Ryan Gorman <ryan.gorman@joinmosaic.com>
Subject: Florida State Attorney General

Hi Steve:

We have received a Florida State Attorney General inquiry involving Vivint (specifically your
representative Briant Katilus). The customer involved is Emmanuel Alexis.

Would you be available to have a quick discussion regarding this matter on Monday, October 30, 2017? If so,
please let me know if there is a good time so we can coordinate.

Thank you so much.
Sara

Sara J. Quinto-Seibert
Assistant General Counsel

D: (510) 319-9598
C: (415) 235-4562
E: sara.quinto-seibert@joinmosaic.com


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                                                                                                                                          1
                                                                                                                                                              Solar Mosaic_Cardona-Brown 000923
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                Exhibit B
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                                                                           Page 1
   1

   2         IN THE UNITED STATES DISTRICT COURT

   3            FOR THE DISTRICT OF NEW JERSEY

   4

   5 JAMES REILLY,              :

   6          Plaintiff,        : No. 18-cv-12356-NLH-JS

   7   -v-                      :

   8 VIVINT SOLAR,              : Videotaped Deposition of:
                                  TANNER BAUMGARTEN
   9          Defendant.        :

  10

  11
                  Place:        BALLARD SPAHR STILLMAN &
  12                            FRIEDMAN
                                201 South Main Street
  13                            Suite 800
                                Salt Lake City, Utah 84111
  14
                  Date:         April 10, 2019
  15                            1:05 p.m.

  16              Reporter:     Vickie Larsen, CSR/RMR

  17

  18

  19

  20

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                                         Baumgarten
                                  April 10, 2019
                                                                  Page 2                                                        Page 4
      1                    A P P E A R A N C E S                            1                 to TransUnion
      2                                                                     2   Exhibit 5     Vivint letter to           34
          For the Plaintiff:
                                                                            3                 Christine, undated
      3
                     Andrew M. Milz                                         4   Exhibit 6     Vivint Solar complaint     36

      4              FLITTER MILZ, P.C.                                     5                 dated 1-22-2016 (Bates
                     450 North Narberth Avenue, Suite 101
                                                                            6                 No. Droney-Vivint
      5              Narberth, PA 19072
                                                                            7                 0026-28)
                     610.668.0018
      6              Amilz@consumerslaw.com                                 8   Exhibit 7     Vivint Solar Prospective   40
      7   For the Defendant:                                                9                 Customer Consent Form
      8              Jenny N. Perkins
                                                                           10                 dated 1-21-2016 (Bates
                     BALLARD SPAHR LLP
      9              1735 Market Street, 51st Floor                        11                 No. Droney-Vivint 0002)

                     Philadelphia, PA 19103                                12   Exhibit 8     Vivint Solar Residential   42
     10              215.665.8500
                                                                           13                 Solar Power Purchase
                     Perkinsj@ballardspahr.com
                                                                           14                 Agreement dated
     11
     12   Also Present:                                                    15                 1-21-2016 (Bates No.
     13              Tyler Larsen, videographer                            16                 Droney-Vivint 0003-25)
     14
                                                                           17   Exhibit 9     Solar 2014 Annual          45
     15
                                                                           18                 Performance Review for
     16                        -oOo-
     17                                                                    19                 Tanner P. Baumgarten
     18                                                                    20                 (Bates No.
     19
                                                                           21                 VS001831-1833)
     20
     21                                                                    22

     22                                                                    23                         -oOo-
     23
                                                                           24
     24
                                                                           25
     25



                                                                  Page 3                                                         Page 5
      1                                                                     1    April 10, 2019                               1:05 p.m.
      2                        I N D E X                                    2                P R O C E E D I N G S
      3                                                                     3
      4   TANNER BAUMGARTEN                           Page                  4                       THE VIDEOGRAPHER: This is the
      5   MR. MILZ                                            6             5               videotaped deposition of Tanner
      6   MS. PERKINS                                        62             6               Baumgarten, taken in the matter of
      7                                                                     7               Christine and Timothy Droney v. Vivint
      8                                                                     8               Solar, in the U.S. District Court for
      9                            -oOo-                                    9               the District of New Jersey, Case
     10                                                                    10               No. 18-cv-00849-RBK-KMW.
     11                                                                    11                      This deposition is being held
     12                    E X H I B I T S                                 12               at Ballard Spahr on April 10, 2019.
     13                                                                    13               My name is Tyler Larsen, the certified
     14   No.             Description                 Page                 14               legal videographer from U.S. Legal
     15   Exhibit 1       Vivint letter dated                21            15               Support. The court reporter is Vickie
     16                  January 22, 2016 to                               16               Larsen, also from U.S. Legal Support.
     17                  Experian                                          17                       We are going on the record at
     18   Exhibit 2       Vivint letter dated                22            18               1:05.
     19                  January 22, 2016, to                              19                       Counselors, please state your
     20                  Equifax                                           20               appearances for the record, and then
     21   Exhibit 3       Vivint letter dated                22            21               the witness will be sworn.
     22                  January 22, 2016, to                              22                      MR. MILZ: Andy Milz for the
     23                  TransUnion                                        23               Plaintiffs Christine and Timothy
     24   Exhibit 4       Vivint Solar letter                27            24               Droney.
     25                  dated February 5, 2016                            25                       MS. PERKINS: Jenny Perkins for


                                                         U.S. LEGAL SUPPORT
                                                           (877) 479-2484
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                                         Baumgarten
                                  April 10, 2019
                                                   Page 6                                               Page 8
      1          Defendant Vivint Solar.                    1    ground rules.
      2                                                     2                 It's an ask and answer session;
      3                TANNER BAUMGARTEN,                   3    I'll ask the questions, you provide the
      4   called as a witness, having been duly sworn,      4    answers.
      5     was examined and testified as follows:          5                   Do you understand that?
      6                                                     6         A.        Yep.
      7                        EXAMINATION                  7         Q.        I'll ask you to wait until I
      8   BY MR. MILZ:                                      8    finish asking my question before you provide
      9         Q.     Good afternoon, sir. Can you          9   your answer.
     10   state and spell your full, entire, complete       10                  Do you understand that?
     11   name for the court reporter, please.              11        A.        Yes.
     12         A.     Yep. Tanner Pierce Baumgarten;       12        Q.        Okay. That way the court
     13   T-A-N-N-E-R, P-I-E-R-C-E,                         13   reporter and the videographer can keep up
     14   B-A-U-M-G-A-R-T-E-N.                              14   with us and make sure we have a nice, clean
     15         Q.     And could you give your address      15   record.
     16   for the court reporter, please.                   16        A.        Okay.
     17         A.     Yeah, current address is 1011        17         Q.     I'll ask you to articulate a
     18   North 50 West, Orem, Utah 84057.                  18   verbal response. A nod of the head or a
     19                  THE VIDEOGRAPHER: I apologize,     19   shake of the head isn't something that would
     20          Mr. Baumgarten, can you -- that little     20   work, because she can't take that down, of
     21          microphone to your right, if you could     21   course.
     22          clip that onto your shirt. Perfect.        22                  Do you understand?
     23          Q.     BY MR. MILZ: And, sir, what is      23        A.        Roger.
     24   your phone number?                                24        Q.        Okay. Do you understand you're
     25          A.      It's 801.318.2458.                 25   under oath?

                                                Page 7                                                    Page 9
      1         Q.     Okay. And do you have an email       1         A.        Yes.
      2   address that you use --                           2         Q.        And what does that mean to you?
      3          A.      Yes.                               3          A.     It means that I have to tell
      4          Q.      -- in case we need to contact      4    the truth in this situation, and everything
      5   you?                                              5    that I say is going to be used in this
      6         A.    Tannerpierce7 -- Number 7 -- at       6    hearing if it's...
      7   icloud.com.                                       7          Q.     And if you don't tell the
      8          Q.      Thank you.                         8    truth, you understand there's consequences?
      9                My name is Andy Milz, I'm here        9        A.        Yes.
     10   in a case from New Jersey related to              10        Q.        Truth or consequences.
     11   consumers by the name of Timothy and              11        A.        Yes.
     12   Christine Droney who are suing Vivint Solar       12        Q.        A game.
     13   because they allege that Vivint Solar             13                  Sir, I'll ask you questions,
     14   obtained their consumer credit report without     14   and I'll -- if -- if you find that my
     15   their consent.                                    15   question is unclear or vague, feel free to
     16          A.      Okay.                              16   have me ask it again in a more clear way.
     17         Q.     And your name's on some              17                  Do you understand that?
     18   documents, which makes you a material witness     18        A.        Yes.
     19   in this case.                                     19        Q.        I'll assume that you understand
     20                  Do you understand that?            20   my question, unless you tell me otherwise.
     21          A.      Uh-huh.                            21                Do you understand that?
     22         Q.     Okay. Have you ever been             22        A.        Yes.
     23   deposed before?                                   23        Q.        Okay. Is there any reason why
     24          A.      No.                                24   you might not be able to testify truthfully
     25          Q.      Okay. Let me give you a few        25   and to the best of your knowledge today?


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                                                 Page 10                                              Page 12
      1        A.      No.                                 1    of different types of complaints. So...
      2        Q.      Okay. Are you on any                2          Q.     And how long were you in that
      3   medications that would affect your memory?       3    position as an inbound call rep in the
      4         A.     No.                                 4    customer service department?
      5        Q.      Okay. Have you consumed any         5            A.   I don't recall exactly. It
      6   alcohol or drugs within the past 24 hours?       6    wasn't very long. Maybe six months.
      7         A.     No.                                 7          Q.     During that six-month period,
      8        Q.      Okay. So can you tell us the        8    do you recall folks calling in and
      9   period of time you worked at Vivint Solar?        9   complaining about having their credit report
     10         A.     Yes. I believe I started there      10   pulled without their consent?
     11   in July of 2013, and then I stopped working      11         A.     Yes, that was a common
     12   there in I believe either the end of January     12   complaint there.
     13   or beginning of February of 2016, I think.       13           Q.   Do you know why that is?
     14         Q.     And what was your position at       14         A.     So, I mean, generally speaking,
     15   Vivint Solar?                                    15   we did have consent in some way, but it
     16                                                    16   was -- it was up to the -- the sales
     17                                                    17   representatives in the field to obtain that
     18                                                    18   consent and to run it.
     19                                                    19                And so, I mean, there were a
     20                                                    20   lot of rogue agents that worked as sales
     21                                                    21   representatives for Vivint Solar that were
     22         Q.     What did you start at -- what       22   running credit that shouldn't have that
     23   position did you start at?                       23   doesn't have consent. So...
     24        A.      I was just an inbound call          24           Q.   And how do you know there were
     25   representative when I first started there.       25   a lot of rogue agents that were pulling

                                                Page 11                                               Page 13
      1   And then I, after that, worked for the           1    consumer credit?
      2   retention department. I was the team lead        2          A.     When I worked for retention, I
      3   for their retention department, and then         3    dealt a lot with customers that had issues
      4   after that moved up to resolution management.    4    directly with their sales representatives,
      5        Q.      So you started as inbound call      5    and I knew some of them personally and I -- I
      6   rep in the customer service department?          6    would trust that they would do something like
      7         A.     Yes.                                7    that, run credit without consent.
      8        Q.      And what kind of calls would        8                 So a lot of credit was run and
      9   you field?                                        9   then consent was obtained afterwards, things
     10         A.     So that was just any incoming       10   like that.
     11   calls. That was customers that needed to be      11         Q.     And did you recognize the names
     12   routed to other departments, or customers        12   over the phone? You knew them personally
     13   that were interested and getting a solar         13   as --
     14   system, and things like that. So just your       14         A.     Just as work associates, I
     15   basic when you call their main number, it        15   knew -- I had -- you know, a lot of the same
     16   would go to inbound call reps.                   16   names would come up. I can't remember any of
     17         Q.     At times, would that be             17   them specifically now, it's been so long
     18   customers calling with complaints?               18   but...
     19        A.      Yes. If they called in with a       19           Q.   And would you get complaints
     20   complaint to there then they would be            20   just from Utah or from around -- from around
     21   transferred to the retention department,         21   the country?
     22   usually.                                         22         A.     So when I was working there, we
     23         Q.     Okay. Do you recall what those      23   actually weren't installing in Utah yet. So
     24   type of complaints were, generally?              24   it was mostly East Coast and California
     25        A.      There was a very large volume       25   accounts that I was working with.
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                                         Baumgarten
                                  April 10, 2019
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      1        Q.     Okay.                               1         house -- outside counsel --
      2        A.     Some Hawaii accounts.               2                MR. MILZ: Let me -- let me
      3         Q.     Okay. And these agents that        3         just stop you there, Jenny. I think
      4   you would know personally, did you have         4         this is completely unnecessary. I
      5   face-to-face interactions with them --          5         mean, the gentleman worked in customer
      6        A.     No, just over the phone.            6         service.
      7        Q.     You spoke with them on the          7                So any -- I don't know -- even
      8   phone?                                          8         if there were interactions with
      9         A.     Yeah, because these were agents     9        counsel, I don't think they'd be
     10   that were working -- you know, sales            10        subject to the privilege. So I don't
     11   representatives that were working on site in    11        see any point in this instruction at
     12   those different states outside of Utah.         12        all, other than to -- to cloud this
     13        Q.     And would your interactions         13        testimony somehow.
     14   with them be them explaining their side of      14               MS. PERKINS: I'm not trying to
     15   the story?                                      15        cloud testimony.
     16        A.     Sometimes.                          16               MR. MILZ: Well, then why don't
     17         Q.     Okay. Can you tell me a little     17        you wait until the particular question
     18   more about how you would get to know these      18        comes up.
     19   sales representatives to lead you to the        19               MS. PERKINS: The gentleman
     20   conclusion that there were rogue agents out     20        just -- the gentleman just mentioned
     21   there pulling credit reports?                   21        that he worked with legal, and I'm
     22         A.     I -- I don't -- like I said, I     22        just putting it on the table so that
     23   don't recall specifics, because it's been so    23        he has a fair basis to know what
     24   long. But I do remember getting some emails     24        privilege is.
     25   asking me, you know, what -- what can we do     25               THE WITNESS: Okay. I

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      1   in this situation to I guess make it so that    1         understand that.
      2   they're not as liable. Because when I was on    2                Can I -- can I rephrase that?
      3   resolution management, I did work directly      3         I was more of a catalyst between
      4   with the legal department there.                4         customer service and legal. I didn't
      5               I'm sure that's changed. It         5         work for legal, if that's more clear.
      6   was a new department. They needed another       6          Q.     BY MR. MILZ: And by a catalyst
      7   place to send really escalated customers, and   7    between customer service and legal --
      8   so I kind of assembled a team of, like, three   8         A.     It was just I was somebody who
      9   or four people at that time that were good       9   was able to get in touch with legal if I
     10   with dealing with those sorts of customers,     10   needed to, instead of having to go through a
     11   and then we dealt directly with the legal       11   different channel.
     12   department. So...                               12                So I -- I could communicate
     13               MS. PERKINS: Could we just          13   with them directly without having to go
     14        give the attorney-client privilege         14   through a manager or something like that.
     15        instruction just so that he knows?         15         Q.     Were you ever involved in any
     16        I'm happy to do it.                        16   litigation involving Vivint Solar?
     17               MR. MILZ: I mean, I think if        17         A.     No litigation. A lot of PR,
     18        it comes up. No, I mean, I don't           18   public relations. So...
     19        think it's necessary until, you know,      19        Q.     How about decision-making
     20        that question would come up.               20   related to, you know, whether the consumer
     21               MS. PERKINS: Okay. Well, I'm        21   should be allowed out of the contract or not,
     22        just going to put it on the record.        22   anything like that?
     23               So there's -- to the extent any     23         A.     Only as a messenger. So they
     24        information that you learned was           24   would tell me, you know, if a customer wanted
     25        through Vivint Solar in-house or out       25   out of a contract, this is the situation


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      2                                                    2
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      4                                                    4
      5                                                    5
      6         Q.     So your entire time worked at       6
      7   Vivint Solar, would you characterize it as a     7
      8   customer service role?                           8
      9        A.     Yes, absolutely.                      9
     10        Q.     So I want to get back to -- to       10
     11   my question. What type of interaction did        11
     12   you have with these sales agents that led you    12
     13   to the understanding that there were a lot of    13
     14   rogue agents at Vivint Solar pulling credit      14
     15   reports without consent?                         15
     16        A.     I don't know. There's just --        16
     17   I mean, I don't know if it was just more of a    17
     18   vibe or, you know, there was correspondence      18
     19   that I received that just was suspicious. It     19
     20   wasn't anything very direct.                     20
     21                And like I said, it's been so       21
     22   long that I can't remember the specifics.        22
     23   But I mean, there's -- there are so many         23
     24   sales representatives that work for Vivint       24
     25   Solar it -- you can't expect all of them to      25

                                               Page 19                       Page 21
      1   be honest people, you know. They're working      1
      2   on commission.                                   2
      3         Q.     Do you know why they would pull     3
      4   credit without a consumer's consent?             4
      5        A.     Because in order for the             5
      6   customer to move forward in the process and      6
      7   for them to know whether or not they can         7
      8   actually qualify for the solar system, we        8
      9   need to know what their credit score is.          9
     10                There's a minimum credit score      10
     11   that they have to qualify to be able to move     11
     12   forward. And so it's in their best interest      12
     13   fiscally as a sales rep to know whether or       13
     14   not this customer is worth their time.           14
     15                                                    15
     16                                                    16
     17                                                    17
     18                                                    18
     19                                                    19
     20                                                    20
     21                                                    21
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     25                                                    25
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                                                                                                      Page 24
      1                                                     1    different?
      2                                                     2          A.     No.
      3                                                     3          Q.     Okay. Have you ever heard a
      4                                                     4    consumer complain that they said that the --
      5                                                     5    they thought that the salesman was from a --
      6                                                     6    an electric company?
      7                                                     7          A.     No.
      8                                                     8         Q.      Do you ever hear of a consumer
      9                                                      9   complaining that their signature was forged
     10                                                     10   on a document?
     11                                                     11        A.      No.
     12                                                     12        Q.      You mentioned that there was
     13                                                     13   a -- this was a common complaint about credit
     14                                                     14   being pulled without consent. By "common,"
     15                                                     15   could you articulate, you know, what
     16                                                     16   percentage of -- of the complaints you
     17                                                     17   received had to do with credit report pulls?
     18                                                     18         A.     I mean, the volume of
     19                                                     19   complaints, like I said before, was so large
     20                                                     20   and broad as far as the different types of
     21                                                     21   complaints, it would be hard to quantify what
     22                                                     22   percentage exactly was credit.
     23                                                     23                But I -- if I had to put a
     24                                                     24   number on it, I'd say less than 5 percent. I
     25                                                     25   mean, it wasn't the most common.

                                                  Page 23                                              Page 25
      1                                                     1          Q.     Okay. Did you ever deal with
      2                                                     2    any Better Business Bureau complaints?
      3                                                     3         A.      Yes.
      4                                                     4
      5                                                     5
      6                                                     6
      7                                                     7
      8                                                     8
      9                                                      9
     10                                                     10
     11                                                     11
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     17                                                     17
     18                                                     18
     19                                                     19
     20                                                     20
     21                                                     21
     22                                                     22
     23        Q.     Are you aware of consumers            23
     24   complaining that they were told their             24
     25   signature was needed for something completely     25
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      1        A.     No.                                 1    addressee, and send it out?
      2        Q.     -- about removal or following       2          A.     Yes.
      3   up with it, or anything like that?              3          Q.     Okay. How many customer
      4         A.     Not directly.                      4    service representatives were there in Vivint
      5        Q.     How about indirectly?               5    Solar doing what you did at the time that
      6         A.     This was the only method that      6    these were sent out?
      7   we -- that I personally communicated with       7          A.     In resolution management, I
      8   them, and so I was under the impression that    8    believe there were four of us.
      9   this was the proper way to have the credit       9           Q.   Okay. And you say --
     10   inquiry removed.                                10           A.   So there were -- there were
     11         Q.     I'll represent to you that         11   three that spoke with the customers directly,
     12   my -- and I think I have the documents          12   and then we had kind of a secretarial
     13   here -- that my client Christine Droney         13   position to help manage a lot of our
     14   called the Linwood, New Jersey Police           14   paperwork.
     15   Department to complain about a Vivint Solar     15         Q.     Did these letters go out over
     16   sales representative fraudulently obtaining     16   somebody else's name while you were there?
     17   her credit report. Do you remember anything     17         A.     It's possible. I know that a
     18   about that?                                     18   lot of the supervisors that were working,
     19        A.     I don't.                            19   because this could have been handled if it
     20         Q.     Okay. In speaking with             20   was just a credit thing, it could have been
     21   consumers in the customer service department,   21   handled before it got to resolution
     22   do you recall any consumer ever mentioning      22   management. I think in a lot of the cases it
     23   that they got the police involved?              23   did.
     24        A.     Not to my knowledge.                24                So supervisors were able to
     25        Q.     Okay. And how long has it been      25   send that that were, you know, just over the

                                                Page 27                                              Page 29
      1   since you've been in that role?                 1    main inbound call. And then this -- we would
      2         A.     It's been over three years. I      2    send these out if it was -- if there was a
      3   believe this must have been one of the last     3    larger issue that we were dealing with and
      4   cases that I dealt with given the date,         4    they also wanted us to remove the inquiry as
      5   because I -- I -- like I said, I left either    5    well.
      6   at the end of January or beginning of           6                 Does that make sense?
      7   February of 2016.                               7            Q.   I think.
      8        Q.     I'm going to hand you another       8                 Can you explain further? What
      9   one here. This one's Baumgarten 4.               9   do you mean by a larger issue?
     10   (Exhibit 4 was marked for identification.)      10         A.     So if I was dealing with, you
     11         Q.     BY MR. MILZ: And that's one        11   know, say there was something wrong with the
     12   from a couple days later in the case of a       12   way that the solar system was installed and
     13   gentleman from California named Vasudev         13   it got to us and the customer also wanted us
     14   Pulipati.                                       14   to remove the inquiry as kind of a side note,
     15               You see that?                       15   then our department would take care of that.
     16        A.     Oh, yes, I do.                      16                But, generally, if this was
     17         Q.     Okay. And I'll represent that      17   their only issue, it would just go to a
     18   Mr. Pulipati also alleges that Vivint Solar     18   lower-end supervisor.
     19   pulled his credit report without his consent.   19           Q.   Did you ever hear a consumer
     20                Would you agree this is the        20   complaint that they never got a copy of their
     21   same form of letter that was sent in the case   21   Power Purchase Agreement?
     22   of the Droneys?                                 22         A.     Not that I can recall right
     23         A.     Yes.                               23   now, but I'm sure that that has happened.
     24        Q.     Okay. All you did was change        24           Q.   Do you ever recall a consumer
     25   the name, change the date, change the           25   complaining that the email address on


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      1   documents was inaccurate?                       1          Q.     Do you know if customer service
      2         A.     Not that I can recall, no. Do      2    sent out these form letters?
      3   you mean just like the email that they were     3         A.     Their -- their supervisors,
      4   given to -- to contact Vivint Solar --          4    yeah. So not just any agent could, but the
      5        Q.     No.                                 5    supervisors that were working over customer
      6        A.     -- via email or --                  6    service did have the authority to send these
      7        Q.     We understand Vivint Solar is a     7    if they needed to.
      8   paperless company?                              8         Q.     Who was your supervisor at
      9        A.     Yes.                                 9   resolution management?
     10        Q.     Okay. And when a consumer           10         A.     Her name was Lisa.
     11   would be placed into a contract, a copy of      11        Q.     Xochimitl?
     12   that contract is supposed to get emailed to     12        A.     Yes. So she was my direct
     13   the consumer.                                   13   manager. So...
     14               Do you understand that?             14               MR. MILZ: And we'll spell that
     15        A.     Yes.                                15        one later.
     16        Q.     Okay. If the email address is       16        Q.     And was she your management --
     17   inaccurate, you know, would you understand      17   manager the entire time you were in
     18   that to mean that could result in the           18   resolutions management?
     19   consumer never getting a copy of that           19        A.     Yes, in resolution management,
     20   contract?                                       20   and as well as when I was the team lead over
     21         A.    Yeah, you mean if the -- if the     21   the retention department.
     22   consumer's email was inaccurate?                22         Q.     Okay. What did you do in the
     23         Q.     Correct.                           23   retention department?
     24        A.     Yes, yes.                           24        A.     So I was their team lead, and
     25        Q.     Are you aware of that happening     25   so I was kind of the second in command over

                                                Page 31                                              Page 33
      1   at Vivint Solar?                                1    the leadership over that department.
      2         A.     Not that I can recall, no.         2          Q.     And what did your job duties
      3         Q.     Have you ever heard of sales       3    entail there?
      4   agents fudging a consumer's email address to    4          A.     A lot of it was just making
      5   hide a contract?                                5    sure that my reps were on the phone, you
      6         A.     Not that I can recall.             6    know, making sure that they weren't taking
      7   And -- and with the -- with that end of         7    long breaks.
      8   things, the sales representative was entirely   8                It was more so just being
      9   responsible for making sure that the customer    9   responsible for the team itself.
     10   received that paperwork, and so that wasn't     10         Q.     Like a management role?
     11   something that was sent from corporate to the   11        A.     Yeah.
     12   customer. That would be directly from the       12        Q.     Okay. What does a retention
     13   sales representative.                           13   department do?
     14         Q.     So just to circle around on        14         A.     So their job is to, if a
     15   what you were saying. If the complaint          15   customer wants to cancel, to try to retain
     16   was -- made its way to resolution management,   16   them. So, you know.
     17   that would indicate to you that this is an      17         Q.     Were you taking calls from
     18   angry consumer and it's escalated to that       18   customers, then?
     19   point; correct?                                 19        A.     If -- if they needed to speak
     20        A.     Yes, yes.                           20   with somebody higher up, yes, I would -- I
     21        Q.     And you would assume that other     21   would kind of act supervisor, you know, calls
     22   complaints that did not reach that level of     22   and things like that. So...
     23   anger with the consumer were handled by         23         Q.     So if it got escalated beyond
     24   customer service?                               24   the representative in that retention
     25        A.     Yes.                                25   department --


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      1                                                    1
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      3                                                    3
      4                                                    4
      5                                                    5
      6         Q.     Do you recall consumers looking     6
      7   to get out of their contracts by saying I        7
      8   never saw a copy of the contract?                8
      9         A.     Not that I can recall directly,      9
     10   but I'm sure that that has happened.             10
     11         Q.     What reasons would consumers        11
     12   give to get out of contracts, if you can         12
     13   remember?                                        13
     14         A.     I can't. It's been such a long      14
     15   time, I can't remember specifics.                15
     16        Q.     Okay.                                16
     17         A.     I could guess, but I don't want     17
     18   to, you know, say something that's not           18
     19   factual.                                         19
     20         Q.     I just want to finish up with       20
     21   these letters here.                              21
     22   (Exhibit 5 was marked for identification.)       22
     23         Q.     BY MR. MILZ: I'm handing you        23   (Exhibit 6 was marked for identification.)
     24   Baumgarten 5. And I'll -- this is -- do you      24        Q.     BY MR. MILZ: I'm handing you
     25   recognize this letter?                           25   Baumgarten 6.

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      1        A.     Yes.                                 1         A.     Okay.
      2        Q.     And what is the purpose of this      2         Q.     I want you to have a look at
      3   letter?                                          3    that. Read through this, please.
      4         A.    So this one would be if we were      4         A.     This last page, is this the --
      5   going to send one to the credit bureaus, we      5    what am I looking at here on this last one?
      6   would also send one to the customer letting      6         Q.     Oh.
      7   them know that we did formally request that      7         A.     Is this just a screenshot or
      8   inquiry to be removed.                           8    something of the customer account?
      9         Q.     Would you send this to the           9         Q.     Oh, something must have got
     10   consumer every time you sent the letters to      10   stuck to that. Let me see that.
     11   the credit bureaus?                              11               Yeah, it doesn't belong on
     12         A.     Generally, yes.                     12   there. Let me just pull that off.
     13        Q.     Would you speak with the             13               So this should just be
     14   consumers on the phone before sending these      14   Droney-Vivint 26 through 28.
     15   letters?                                         15                So did you look through that?
     16        A.     Yes, most of the time.               16        A.     I did, yes.
     17                                                    17         Q.    Okay. Have you seen that
     18                                                    18   before?
     19                                                    19        A.     It looks like a series of email
     20                                                    20   exchanges between Lisa and the Droneys.
     21                                                    21         Q.     Just because Lisa's email
     22                                                    22   address is on there, does that necessarily
     23                                                    23   mean it was her communicating with them or --
     24                                                    24        A.     Yes.
     25                                                    25        Q.     It does? Okay.
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      1           A.   Yes.                               1    with the electric company, but there were
      2           Q.   And Lisa would communicate         2    customers that stated that their sales
      3   through the Better Business Bureau portal;      3    representative said that they were partnered
      4   correct?                                        4    with the electric company, which was not a
      5           A.   Yeah, so she would -- she would    5    factual statement.
      6   contact our liaison there, whomever it was      6            Q.   Did you hear that commonly?
      7   that she was speaking with at the Better        7            A.   Yes. That was one that I often
      8   Business Bureau and then work things out with   8    had to clarify with customers.
      9   them.                                            9         Q.     What number are we at there? I
     10           Q.   Do you recall whether you          10   think --
     11   worked on this Better Business Bureau           11           A.   6.
     12   complaint?                                      12           Q.   6 or 7?
     13           A.   I mean, there's a good chance      13           A.   Yeah, I've got 6.
     14   that I did. Like I said, there were only        14           Q.   You have 6?
     15   three of us, and I handled a lot of the         15           A.   Yeah.
     16   Better Business Bureau complaints. And if       16           Q.   Okay.
     17   there's this correspondence with the Droneys,   17   (Exhibit 7 was marked for identification.)
     18   then it probably was my account. So...          18         Q.     BY MR. MILZ: All right. I'm
     19           Q.   Does anything said here refresh    19   handing you what's marked Exhibit 7.
     20   your recollection about any interactions you    20                Do you recognize that document?
     21   might have had with the Droneys?                21           A.   I don't, but I'm assuming that
     22         A.     It doesn't, and I -- I'm trying    22   this is what the reps had on their little
     23   to remember the -- her mentioning that she      23   devices. Is that what this is?
     24   filed a report with the police, but I just      24           Q.   I -- what's your understanding
     25   can't recall.                                   25   of what the reps have on their devices?

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      1                It's -- like I said, I had such    1          A.     I just know that they had,
      2   a large volume of customers that I dealt with   2    like -- I don't know if it was like a little
      3   every single day that had fairly large          3    iPad or something that they would use that
      4   issues, relatively speaking.                    4    the customers could sign the Power Purchase
      5           Q.   Do you ever recall consumers       5    Agreement and everything, but I'm assuming
      6   complaining that the salesmen said that the     6    that this is a screenshot from that, because
      7   panels were free?                               7    it doesn't look familiar to me.
      8           A.   Yes. More so that the              8            Q.   Would you ever -- you've never
      9   installation was free and that, you know,        9   seen a document like this Prospective
     10   the -- the customers would pay per the Power    10   Customer Consent Form?
     11   Purchase Agreement.                             11         A.     No. I mean, I was very
     12                And so -- and when I was           12   familiar with the Power Purchase Agreement.
     13   working there, they had just began doing the    13   I'm not sure what this is, though.
     14   lease -- the leases, the lease contracts, and   14         Q.     You stated earlier that Vivint
     15   so there weren't too many customers that got    15   would have some form of authorization on file
     16   escalated to me that were involved with the     16   that the consumer allowed their consumer
     17   lease contracts, it was mostly just the Power   17   credit report to be pulled.
     18   Purchase Agreements.                            18                Do you remember testifying to
     19                In which case, yes, the            19   that?
     20   installation of the solar system did not cost   20           A.   Yes. So this is that form?
     21   them anything out-of-pocket.                    21           Q.   Well, I don't know. What did
     22         Q.     Do you recall consumers            22   you mean by that when you said we had
     23   complaining that the sales representative       23   something?
     24   pretended he was with the electric company?     24           A.   I just knew that there was a
     25           A.   Not necessarily pretended to be    25   consent form that existed, but I never saw


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      1   it. That was something that the sales           1    consumer not to get the contract?
      2   representatives dealt with exclusively.         2          A.     I would expect so.
      3   So...                                           3          Q.     I want you to turn to the last
      4           Q.     Okay. You've never seen a form   4    page, Droney-Vivint 19.
      5   like this before?                               5            A.   19?
      6           A.     No.                              6            Q.   19.
      7           Q.     I'm going to hand you            7            A.   Okay.
      8   Baumgarten 8.                                   8            Q.   I'll represent to you that
      9   (Exhibit 8 was marked for identification.)       9   Ms. Droney says she never saw or signed this
     10         Q.     BY MR. MILZ: Did you ever see      10   Power Purchase Agreement. Do you know how
     11   that before?                                    11   her signature could have appeared on this?
     12                  MS. PERKINS: Thank you.          12         A.     I don't.
     13                  THE WITNESS: Yes. Minus the      13           Q.   Are you aware of consumers
     14           first page, but I've seen the rest of   14   stating that they only saw a signature box on
     15           it.                                     15   an iPad?
     16           Q.     BY MR. MILZ: What do you mean    16           A.   No, I'm not aware of that.
     17   by "minus the first page"?                      17         Q.     Are you aware of a consumer
     18         A.     Just this -- this first page       18   saying that the sales agent filled out all
     19   that has the -- show it to the camera -- the    19   the information on a document?
     20   zero upfront cost --                            20         A.     No. And just to clarify, I
     21         Q.     You can hold it up.                21   only -- I only know what it looks like on --
     22         A.     -- twenty years. I don't           22   on our end at the -- the cust- -- at
     23   recognize this specifically, but the rest of    23   corporate. So when we get a copy of it from
     24   it from the Residential Solar Power Purchase    24   the sales representative, it's just a scanned
     25   Agreement onward, yes, I do.                    25   copy of this.

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      1         Q.     Looking at the first page,         1          Q.     And when I say are you aware, I
      2   there's a blank where it says "email." Do       2    mean do you recall from your time there? Do
      3   you know if the consumer can get a copy of      3    you remember?
      4   this if -- if there's no email address listed   4          A.     No.
      5   there?                                          5            Q.   So is it possible that somebody
      6         A.     Yes. So the -- the sales           6    might have complained about that, you don't
      7   representatives would send us the Power         7    remember?
      8   Purchase Agreement, and then we would file      8            A.   Yes.
      9   that in their account. And if they needed a      9         Q.     Okay.
     10   copy of it, then we could send it to them via   10   (Exhibit 9 was marked for identification.)
     11   email, if they contacted corporate.             11         Q.     BY MR. MILZ: Handing you
     12         Q.     What if the consumer never knew    12   Baumgarten 9. Did you ever see this before?
     13   that the Power Purchase Agreement existed?      13           A.   It looks like an evaluation
     14         A.     If they didn't know it existed,    14   form.
     15   then they wouldn't know to request a copy of    15           Q.   And so 2014, that was after a
     16   it from us.                                     16   year at the company, about?
     17         Q.     Okay. Is it your understanding     17           A.   Yes.
     18   that when a Power Purchase Agreement is         18           Q.   Do you remember what department
     19   executed, the consumer gets a copy of it by     19   you were in at this point in time?
     20   email immediately?                              20         A.     This would be solar solutions,
     21         A.     As far as I'm aware, yes,          21   which is retention.
     22   that's how it should go.                        22         Q.    I want you to turn to the
     23         Q.     And if Vivint doesn't have an      23   second page. And you will agree with me it
     24   email address for them or has an incorrect      24   says, "I think that there is a large
     25   email address for them, would you expect the    25   disconnect between almost all corporate


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      1   departments which has created a strange and     1          A.     Yes. I know Dan was the lead
      2   tedious dynamic between all level of            2    counsel at the time, but I never spoke with
      3   employees."                                     3    him directly. Jim was always easier to get
      4                 Do you see that?                  4    ahold of.
      5        A.       Yes.                              5           Q.   And what specifically did you
      6         Q.     "The result is a lot of            6    tell Jim about consumers complaining about
      7   stepping on toes, ineffective communication,    7    credit pulls?
      8   lack of knowledge, department unfamiliarity,    8           A.   I would usually just contact
      9   et cetera, all of which directly affect my       9   him if the -- the customer was threatening
     10   role as someone who acts as a bridge between    10   litigation of some sort, just so that he was
     11   so many departments and levels of               11   aware, and I would just forward him the
     12   management."                                    12   information that was pertinent to that
     13                 You see that?                     13   particular situation.
     14        A.       Yes.                              14                But if -- if it wasn't
     15        Q.       What did you mean by that?        15   something that had the possibility of going
     16        A.       At the time there was a lot       16   to litigation, I usually didn't involve him.
     17   of -- I mean, Vivint Solar was a fairly young   17         Q.     Related to credit pulls, did
     18   company when I was working there, and so they   18   you have to call him on more than one
     19   were still growing really fast, so much so to   19   occasion and -- and raise that issue with
     20   the point that they were becoming kind of top   20   him?
     21   heavy and there were a lot of disconnects       21          A.   For the credit pulls, no, I
     22   between each department that worked within      22   don't remember going to him, at least not
     23   corporate.                                      23   often. There might have been one or two, but
     24                 Didn't seem like each of the      24   that wasn't a huge deal. Usually we were
     25   defendants were on the same page, you know,     25   able to resolve it just by sending these

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      1   if that makes sense.                            1    letters.
      2         Q.     Okay. Did you at any time ever     2          Q.    You ever hear of the Fair
      3   raise with your manager, or anyone above her,   3    Credit Reporting Act?
      4   concerns about sales representatives            4          A.     Yes.
      5   obtaining credit reports without consent?       5           Q.   What's your understanding of
      6         A.     I'm sure I did, but I don't        6    the Fair Credit Reporting Act?
      7   remember specifically --                        7          A.     As far as I'm aware, that if
      8        Q.       Do you know --                    8    credit is pulled on a consumer, then the
      9        A.       -- which sales representatives.    9   consumer must be fully aware of that.
     10        Q.       Do you know if anybody above      10         Q.     And were you trained on that at
     11   your manager was alerted to this complaint?     11   Vivint at all?
     12         A.     Above Lisa? I'm not sure. If       12         A.     No. That's just knowledge that
     13   it was a legal issue, that I'm sure that the    13   I am aware of outside of working for Vivint
     14   legal department was aware of it.               14   Solar.
     15         Q.     Do you remember speaking with      15               But that's also not to state
     16   anybody at legal about this type of complaint   16   that the sales representatives were not
     17   from consumers?                                 17   familiar with that.
     18         A.     Yes. Not specifically the          18         Q.     Just bear with me here a
     19   Droneys, but, yes.                              19   moment.
     20         Q.      Who did you speak with at         20          A.   You're fine.
     21   legal?                                          21          Q.   Did you ever hear the name
     22         A.    I usually talked directly to        22   Jeremy O'Dell?
     23   Jim L. I can't remember his full last name.     23         A.     Yes, that sounds familiar. I
     24        Q.       L -- "L" as in the first          24   believe he was one of the sales
     25   initial of his last name?                       25   representatives.


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      1         Q.     Okay. Do you recall hearing        1    seconds, see if we can't finish up.
      2   consumer complaints about him on more than      2                 Are you aware of Vivint Solar
      3   one occasion?                                   3    at all keeping track of salesmen for whom
      4         A.     Not that I can recall.             4    consumers had made complaints?
      5          Q.    How about the name Phillip PJ      5         A.     Not that I'm aware of, no.
      6   Chamberlain?                                    6          Q.     Did you folks in your
      7         A.     Also sounds familiar, but I        7    departments in resolution management, inbound
      8   don't recall any specific complaints against    8    customer service, did you keep track of those
      9   him.                                             9   sales agents that the callers would complain
     10          Q.    What would cause a salesman's      10   about?
     11   name to sound familiar to you?                  11        A.     No.
     12         A.     So when I worked in -- just as     12        Q.     So how about Matt Lestarge, are
     13   an inbound customer service representative,     13   you familiar with his name?
     14   we were in charge of doing the pre-survey is    14         A.    That one doesn't sound as
     15   what they called it, which is where you         15   familiar.
     16   contact -- or the -- the sales representative   16        Q.     Jordan Beck?
     17   actually calls in with the customer on the      17        A.     Yes, that one sounds familiar.
     18   phone, and then we at corporate will ask them   18        Q.     Okay. And do you recall
     19   a series of questions.                          19   anything about Jordan Beck?
     20                Basically just, you know,          20        A.     No.
     21   making sure that the customer understands the   21        Q.     Ricardo Martins?
     22   Power Purchase Agreement, confirming with       22        A.     No.
     23   them whether or not they've signed the Power    23        Q.     Tyler Williams?
     24   Purchase Agreement, et cetera.                  24        A.     Yes.
     25                And so because of that, I did      25        Q.     What do you recall about Tyler

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      1   speak with a lot of different sales             1    Williams?
      2   representatives, and those two names do sound   2          A.    I think Tyler was one of the
      3   familiar.                                       3    regional managers, as far as I remember. I'm
      4         Q.     Do you recollect a coworker by     4    not sure which area he was over, but his name
      5   the name of Juan Lopez?                         5    does sound familiar.
      6          A.    No.                                6          Q.     And do you recall any specific
      7          Q.    How about Leslie Brisuela?         7    complaints about him?
      8          A.    No.                                8         A.     Not specifically, no.
      9         Q.     Are you familiar with the name      9        Q.     Melissa Lawson?
     10   Forest Flesch?                                  10        A.     No.
     11          A.    Yes.                               11        Q.     Vic Marion?
     12          Q.    And how are you familiar with      12        A.     Huh-uh.
     13   that name?                                      13        Q.     Kimo Smith?
     14         A.     I believe he was one of the        14        A.     No.
     15   sales representatives as well.                  15        Q.     Kevin Bliss?
     16          Q.    Okay. Do you recognize -- any      16        A.     That one sounds familiar.
     17   of those three names I just mentioned, Jeremy   17        Q.     Eric Grijalva?
     18   O'Dell, Phillip Chamberlain, Forest Flesch,     18        A.     Eric. No, I don't think so.
     19   do you recognize them as being an individual    19        Q.     Joel Perez?
     20   for whom you received multiple complaints?      20        A.     Yes.
     21         A.     For -- I think for Forest, I --    21        Q.     Do you remember anything
     22   I think I remember receiving a couple against   22   specific?
     23   him. And then not specifically for Jeremy or    23         A.    No.
     24   the other one, Chamberlain.                     24        Q.     Just -- just to be clear, if
     25          Q.    Just bear with me here two         25   you recognized these people's names, would it


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      1   be because a complaint had been escalated to      1    situations that -- that put me in a position
      2   your department?                                  2    where I felt like I needed to resign.
      3         A.     No. I'm just recognizing their       3           Q.   And what made you feel that
      4   name just based solely off of familiarity         4    way?
      5   with the names itself.                            5           A.   I mean, Vivint Solar is a large
      6         Q.     Okay. Any of those names I           6    Blackstone-owned corporation. There's a lot
      7   mentioned, do you recall any of them coming       7    of shadiness that goes on. And I'm not
      8   through as complaints?                            8    saying it's because of Vivint Solar as a
      9         A.     It's possible. It's possible.         9   whole. I'm not saying it's their intention.
     10   Like I said, I mean, it's -- it's Vivint          10               I think that their intention is
     11   Solar's a very large company with a lot of        11   good. I think it is to go green. But
     12   customers, and a lot of customers complain.       12   there's a lot of moving pieces within the
     13   And so you can imagine that a lot of those        13   company, there's a lot of different
     14   complaints were about the sales                   14   departments, a lot of different departments
     15   representatives themselves, I can't recall        15   that kind of operate independently of the
     16   anything specific, though.                        16   company, so to speak, and because of that
     17                                                     17   you're going to have shadiness, you're going
     18                                                     18   to have corruption.
     19                                                     19               It's just -- it's inevitable.
     20                                                     20   And so I just didn't like the corporate life
     21                                                     21   and I wanted to get out of it.
     22                                                     22
     23                                                     23
     24                                                     24
     25                                                     25

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     11                                                     11
     12                                                     12
     13        Q.     Did you personally feel at any        13
     14   point that, you know, I should tell somebody      14
     15   about this, you know, we're getting a lot of      15
     16   these certain kind of complaints?                 16
     17         A.     Well, I'll be honest, I quit         17
     18   because I was tired of dealing with customer      18
     19   complaints that did seem very valid and, you      19
     20   know, I felt like I was in a position to be       20
     21   deceptive myself by trying to resolve             21
     22   something or sweep it under the rug, so to        22
     23   speak, when it was a valid complaint.             23
     24               And not specifically with these       24
     25   situations here, but there were other             25
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      1   department wasn't -- by the time that I left    1    that's capitalism. So...
      2   it was still a very young department. I bet     2          Q.     You recalled hearing most of
      3   it doesn't even exist anymore.                  3    the inbound calls coming from California and
      4                It was more so me and a few        4    the East Coast; correct?
      5   other people were really good at resolving      5            A.   Yes.
      6   escalated situations, and we approached Lisa    6            Q.   Okay.
      7   and said, hey, we'd like to just create a       7            A.   When I was working there, yes.
      8   team of just the three or four of us and be     8    I think that at the tail end of my
      9   kind of your firewall for these escalated        9   employment, we opened up sales in Utah and a
     10   customers, and so they agreed to let us do      10   couple of other states.
     11   it.                                             11                But when I first started
     12         Q.    Do you know Lisa as someone         12   working there it was mostly just East Coast
     13   with a shoddy memory?                           13   states. California was our largest market.
     14         A.     No, but she's -- I mean, she's     14   Hawaii was a very large market, but there was
     15   done so much for Vivint Solar and been in so    15   an issue with the -- with the local utility
     16   many different roles there and dealt with so    16   monopoly out there that was making it hard
     17   many different customers and employees that     17   for us to continue installing, so that slowed
     18   I'm sure that her knowledge is so much more     18   down.
     19   spread out than mine about situations. So...    19           Q.   Do you remember New Jersey
     20         Q.    How was she as a manager?           20   being a state where there were a significant
     21         A.    She was a good manager, but she     21   amount of complaints?
     22   did -- I think she was a little overeager in    22         A.     No more than other states. It
     23   trying to move her way up in the company, and   23   wasn't something that I noticed as there
     24   so I think she did take more onto her plate     24   being a specific problem with New Jersey
     25   than she should have. And I think a lot of      25   accounts, no.

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      1   that ended up getting delegated back down to    1          Q.     Well, California's four times
      2   resolution management.                          2    more populous --
      3                So that was one of the things      3            A.   Yes.
      4   that kind of backfired about us creating that   4            Q.   -- than New Jersey, so I would
      5   department, was that it just became a place     5    imagine. Okay.
      6   for her to re-delegate her                      6                 But do you -- do you recall
      7   responsibilities -- not to speak ill against    7    complaints coming in from New Jersey?
      8   her -- but she did bite off more than she       8            A.   Yes.
      9   could chew, I think.                             9           Q.   How about Florida?
     10         Q.     When you mentioned this            10           A.   We weren't doing Florida at the
     11   disconnect between almost all corporate         11   time.
     12   departments, did part of that involve folks     12           Q.   No.
     13   not being receptive to the kind of complaints   13                Are you familiar in any way
     14   and concerns that you were hearing from         14   with training or instruction given to sales
     15   consumers?                                      15   agents?
     16         A.    In a sense, yeah.                   16           A.   No, that was completely outside
     17         Q.     Do you feel as if management       17   of my department. All that was handled
     18   took consumer complaints seriously?             18   locally and the individual local branches
     19         A.    I guess it just depended on the     19   where the sales reps were dispatched from, I
     20   size of the complaint. But, again, with the     20   believe.
     21   company like that, the complaints are more so   21         Q.     Are you aware of any sales
     22   taken as, you know, how can we protect the      22   agents complaining to the company about shady
     23   company from this information being exposed?    23   sales tactics?
     24   How can we -- you know, it was never in the     24           A.   Not that I'm aware of, no.
     25   customer's best interest, but that's just --    25           Q.   Are you aware of ever getting


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      1   any calls from government agencies, police       1    sure if it was you that I spoke to on the
      2   departments, AG's offices, anything like that    2    phone just to clarify what the subpoena was
      3   related to complaints?                           3    for.
      4         A.     No, not specifically. I mean,       4                   MR. MILZ: Yes, you spoke to
      5   I think the most that we got -- I think I        5           me.
      6   remember, like, one fire department              6                  THE WITNESS: Yeah, I just -- I
      7   contacting us. I think that was due to an        7           called him to let him know that I
      8   electrical issue. But, yeah, no police, no       8           probably wasn't going to be very much
      9   law enforcement, as far as I remember. Not        9          help because of how long it's been
     10   saying it's not possible, I just can't           10          since I worked there, but that was it.
     11   remember at this time.                           11          And then just confirmed the time and
     12                MR. MILZ: I don't have any          12          place.
     13           further questions for the witness.       13          Q.      BY MS. PERKINS: And is that
     14                  MS. PERKINS: All right.           14   the only contact you've had with Mr. Milz --
     15                  MR. MILZ: Do you have any         15         A.     Yes.
     16           questions?                               16          Q.      -- since today?
     17                  MS. PERKINS: I just have a        17          A.      Yes.
     18           few.                                     18          Q.      Did you speak to anybody else
     19                                                    19   in his office?
     20                        EXAMINATION                 20         A.     No. Somebody that I think runs
     21   BY MS. PERKINS:                                  21   the desk in the Pennsylvania office just for
     22         Q.     Mr. Baumgarten, where are you       22   the location change.
     23   currently employed?                              23         Q.     For his office?
     24           A.     So I work for Provo Canyon        24                  MR. MILZ: No, for this depo.
     25   Behavioral Hospital. I'm a psychiatric           25                  MS. PERKINS: For this

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      1   technician and I'm in school to be a             1           deposition, oh, okay.
      2   registered nurse.                                2                  All right. I have no further
      3         Q.     Okay. And what are your duties      3           questions. Thank you so much.
      4   in your current position?                        4                  MR. MILZ: Yes, thank you for
      5           A.     Just -- I'm a caregiver, I care   5           coming out, Mr. Baumgarten.
      6   for psychiatrically ill patients, so             6                  THE VIDEOGRAPHER: We are going
      7   inpatient.                                       7           off the record. The time is 2:03.
      8           Q.     And have you been in that         8                 (Off the video record.)
      9   employ since leaving Vivint Solar?                9                 THE REPORTER: Jenny, do you
     10         A.     Shortly thereafter. I took a        10          need copies of these?
     11   little time off to get some medical things       11                  MS. PERKINS: Yes.
     12   taken care of. I had a few surgeries, and        12                  THE REPORTER: Okay. How do
     13   then after I was able to work I started          13          you need -- do you need electronic?
     14   working there.                                   14                 MS. PERKINS: Electronic would
     15         Q.     Apart from this position at --      15          be great.
     16   I'm sorry -- did you say is it a hospital        16                  MR. MILZ: Yes, and I'll take
     17   or...                                            17         mine as a TXT document, too.
     18           A.     Yes.                              18    (The deposition was concluded at 2:03 p.m.)
     19           Q.     Have you had any other sources    19          (Mr. Baumgarten waived signature.)
     20   of income or any jobs since leaving Vivint       20                         -oOo-
     21   Solar?                                           21
     22           A.     No.                               22
     23           Q.     Have you ever, prior to today,    23
     24   did you -- have you spoken to Mr. Milz?          24
     25           A.     No. I -- well, was -- I'm not     25


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      1                  Reporter's Certificate

      2   State of Utah          )

          County of Salt Lake )

      3

      4         I, Vickie Larsen, Certified Shorthand

      5   Reporter and Registered Merit Reporter, in

      6   the State of Utah, do hereby certify:

      7         THAT the foregoing proceedings were

      8   taken before me at the time and place set

      9   forth herein; that the witness was duly sworn

     10   to tell the truth, the whole truth, and

     11   nothing but the truth; and that the

     12   proceedings were taken down by me in

     13   shorthand and thereafter transcribed into

     14   typewriting under my direction and

     15   supervision;

     16         THAT the foregoing pages contain a true

     17   and correct transcription of my said

     18   shorthand notes so taken.

     19         IN WITNESS WHEREOF, I have subscribed

     20   my name this 22nd day of April, 2019.

     21

     22

     23                          Vickie Larsen, CSR/RMR

     24

     25




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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

  IN RE VIVINT SOLAR, INC. SECURITIES      Master File No. 1:19-cv-05777-FB-JO
  LITIGATION


                                           JURY TRIAL DEMANDED


                  CONSOLIDATED CLASS ACTION COMPLAINT
              FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
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         Court-appointed Lead Plaintiffs Billy Wallace (“Wallace”) and Kyu S. Jang (“Jang,” and

  together with Wallace, “Lead Plaintiffs”), bring this action on behalf of themselves and a class

  consisting of all persons or entities that purchased or otherwise acquired the securities of Vivint

  Solar, Inc. (“Vivint” or the “Company”) between March 5, 2019 and September 26, 2019, inclusive

  (the “Class Period”), subject to certain exclusions as described in ¶ 151 below (the “Class”). The

  claims asserted herein arise under Sections 10(b) and 20(a) of the Securities Exchange Act of 1934

  (the “Exchange Act”) and U.S. Securities and Exchange Commission (the “SEC”) Rule 10b-5

  promulgated thereunder, and are brought against: Vivint; Vivint’s Chief Executive Officer

  (“CEO”), David Bywater (“Bywater”); and the Company’s Chief Financial Officer (“CFO”), Dana

  Russell (“Russell”) (collectively, “Defendants”).

         Lead Plaintiffs’ information and belief is based upon the investigation conducted by and

  through Lead Plaintiffs’ counsel, which included, among other things, a review and analysis of:

  (i) Vivint’s public filings with the SEC; (ii) press releases, news articles, and other public

  statements issued by or concerning Vivint and the Individual Defendants (defined below); (iii)

  transcripts of investor calls with Vivint senior management; (iv) analysts’ reports and advisories

  about the Company; (v) interviews with former employees of the Company; and (vi) other publicly

  available information. Counsel’s investigation into the factual allegations contained herein is

  continuing, and many of the facts supporting those allegations are known only to Defendants and

  are exclusively within their custody or control. Lead Plaintiffs believe that substantial evidentiary

  support will exist for the allegations set forth herein after a reasonable opportunity for discovery.

  I.     INTRODUCTION

        1.       Vivint is a residential solar energy provider that designs, installs, and maintains

  solar energy systems. The majority of the Company’s solar energy systems are sold to customers




                                                    1
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  using twenty year power purchase agreements (“PPAs”) wherein Vivint retains ownership of the

  installed solar energy system in order to receive various local, state, and federal incentives and the

  customer pays little to no money upfront. The customer then pays the Company for the solar

  energy system electricity production with annual price escalators built into most of Vivint’s

  contracts. Vivint claims that the average estimated nominal contract is approximately $29,600.

           2.        The Company primarily sells residential customers the solar energy systems and

  energy contracts through direct-to-home sales, i.e., door-to-door sales. Unbeknownst to investors,

  Defendants encouraged a corporate culture of sales at all costs – including deceptive, fraudulent,

  and unethical sales practices – going as far as to move top-selling sales representatives to new

  locations when they were caught using such practices instead of firing them.

           3.        These deceptive, fraudulent, and unethical sales practices were rampant at Vivint

  with “at least one half” of the sales staff practicing them, and tellingly in the same manner across

  the country. Vivint sales representatives would, inter alia, prey on the elderly, disabled, and non-

  English speaking, forge customers signatures on the contracts, perform unauthorized credit checks,

  purposefully prevent customers from reading and understanding the contracts, impersonate local

  energy providers, and promise large energy cost savings that would never appear while failing to

  inform customers of the contract price escalators.

           4.        These tactics resulted in a large number of lawsuits, both individual actions and

  class actions. In addition, the prevalence of Vivint’s deceptive sales tactics led to numerous

  regulatory investigations. And yet, Defendants only disclosed to investors that the Company was

  involved in a handful of cases, and at most three 1 deceptive sales practices cases during the Class

  Period. While only disclosing three actions in the Company’s annual report for 2018, issued on


  1
      Unless otherwise noted, all emphasis is added.



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  the first day of the Class Period, in reality, Vivint was named in a minimum of seventeen deceptive

  sales practices actions in 2018 alone (and likely many more), and was being investigated by at

  least three state attorneys general.

         5.      As a result of the widespread fraudulent sales practices and undisclosed actions and

  investigations, Vivint issued materially false and/or misleading public statements and failed to

  disclose material facts regarding the Company’s legal battles and resulting effects on Vivint,

  including, but not limited to, overstatements of reported sales and megawatts installed as the

  Company would be forced to exit the contracts in some instances and/or reimburse customers,

  misstatements of reported customer credit scores, understatements of legal expenses, increased

  regulatory scrutiny, and as a result of the foregoing, earnings misstatements. Notably, on January

  6, 2020, Vivint entered into a settlement with the Office of the Attorney General of the State of

  New York (“NYAG”), agreeing to pay almost $2 million in penalties, costs, and restitution, in

  addition to implementing costly remedial and protective measures such as issuing customer

  refunds and permitting contract cancellations and providing the NYAG with a detailed

  “Compliance Report” every year for the next five years.

         6.      Investors were kept in the dark regarding Vivint’s culture of deceptive sales

  practices and resulting harm until September 27, 2019, when Marcus Aurelius Value (“Marcus

  Aurelius”) issued a report titled “VSLR: Fiddler on the Roof” revealing the prevalent fraud and

  “28 undisclosed lawsuits” (the “Marcus Aurelius Report”).          The Marcus Aurelius Report

  summarized the allegations of the lawsuits, including documents from a number of the “28

  undisclosed lawsuits” showing “malfeasance at Vivint” and labelling it a “classic story of perverse

  incentives” and asking, “[w]e wonder if Vivint’s investors could simply walk away if they were

  to determine the solar contracts are polluted by fraud.”




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        7.       On this news, Vivint’s share price dropped by over 2%, and over the next two days

  by a total of 4.6%, from a closing price per share of $6.69 on September 26, 2019, to a closing

  price per share of $6.38 on October 1, 2019.

        8.       Not only is it inconceivable that Vivint’s CEO and CFO did not know about state

  attorneys general investigations and a plethora of individual and class action lawsuits, as the

  Marcus Aurelius Report questions: “We struggle to understand how Vivint employees across the

  country could resort to virtually identical corrupt practices, during multiple years, without senior

  management either directing or, at minimum, being aware of such activities?” And indeed, former

  Vivint employees have confirmed that the Individual Defendants knew, or were reckless in not

  knowing, that “at least half” of the Company’s sales staff engaged in deceptive and unethical sales

  practices and yet “[f]arcically, Vivint’s financials appear to anticipate nearly zero customer

  defaults, with the company having set aside only a mere $6.9 million in provisions against $2.1

  Billion in gross contractual value.”

        9.       The Individual Defendants were motivated to hide these practices and allegations

  with the Company missing revenues and earnings per share (“EPS”) estimates in six of the seven

  quarters before the corrective disclosure, carrying more than $1.2 billion in total debt as of

  December 31, 2018, and sustaining viability through massive financings.             The Individual

  Defendants also reaped over $2 million in stock sales during the Class Period.

  II.    JURISDICTION AND VENUE

         10.     The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

  the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and SEC Rule 10b-5 promulgated thereunder

  (17 C.F.R. § 240.10b-5).

         11.     This Court has jurisdiction over the subject matter of this action pursuant to

  28 U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C. § 78aa).


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          12.     Venue is proper in this District under Section 27 of the Exchange Act (15 U.S.C.

  § 78aa) and 28 U.S.C. § 1391(b). Many of the acts and omissions that constitute the alleged

  violations of law, including the dissemination to the public of untrue statements of material facts,

  occurred in substantial part in this District.

          13.     In connection with the acts, conduct, and other wrongs alleged herein, Defendants,

  directly or indirectly, used the means and instrumentalities of interstate commerce, including, but

  not limited to, the United States mail, interstate telephone communications, and the facilities of a

  national securities exchange.

  III.    THE PARTIES

          A.      Lead Plaintiffs

          14.     Lead Plaintiff Wallace acquired Vivint securities at artificially inflated prices

  during the Class Period as set forth in the certification previously filed with the Court (ECF No.

  15-1) and incorporated by reference herein, and suffered damages as a result of the violations of

  the federal securities laws alleged herein.

          15.     Lead Plaintiff Jang acquired Vivint securities at artificially inflated prices during

  the Class Period as set forth in the certification previously filed with the Court (ECF No. 15-1) and

  incorporated by reference herein, and suffered damages as a result of the violations of the federal

  securities laws alleged herein.

          B.      Defendants

          16.     Defendant Vivint is incorporated under the laws of the state of Delaware and

  headquartered in Lehi, Utah. The Company trades on the New York Stock Exchange (“NYSE”)

  under the ticker symbol “VSLR.”

          17.     Defendant Bywater has served as CEO of Vivint since December 2016 and as a

  director since 2017. From May 2016 to December 2016, he served as the Company’s interim


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  president and CEO. Bywater served as the Company’s Chief Operating Officer from July 2013

  until May 2016.

         18.     Defendant Russell has served as Vivint’s CFO and executive vice president since

  November 2013.

         19.     Bywater and Russell are sometimes referred to herein as the “Individual

  Defendants.”

         20.     The Individual Defendants, because of their positions within the Company,

  possessed the power and authority to control the contents of Vivint’s SEC filings, press releases,

  and other market communications. The Individual Defendants were provided with copies of the

  Company’s SEC filings and press releases alleged herein to be false and/or misleading prior to or

  shortly after their issuance and had the ability and opportunity to prevent their issuance or to cause

  them to be corrected. Because of their positions with the Company, and their access to material

  information available to them but not to the public, the Individual Defendants knew that the

  adverse facts specified herein had not been disclosed to and were being concealed from the public,

  and that the positive representations being made were then materially false and/or misleading. The

  Individual Defendants are liable for the false statements and omissions pleaded herein.

  IV.    BACKGROUND AND NATURE OF THE FRAUD

         A.      The Company and Its Business

         21.     Vivint was incorporated in 2011 and its shares began publicly trading on the NYSE

  in 2014. The Company offers distributed solar energy, electricity generated by solar energy

  systems installed at residential customers’ locations. Through investment funds, the Company

  owns a substantial majority of the solar energy systems it installs pursuant to long-term contracts

  with its customers. Vivint also wholly owns a number of solar energy systems outside of those

  owned by the investment funds. The solar energy systems are also sold outright to some customers.


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         22.     More specifically, to offer customers little to no upfront costs on the installation of

  the solar energy systems, Vivint must “partner with various investors to form investment funds

  that monetize the recurring customer payments under [the Company’s] long-term customer

  contracts, as well ITCs [investment tax credits], accelerated tax depreciation and other incentives

  associated with residential solar energy systems” that Vivint receives as it retains ownership of the

  solar energy systems under the majority of its customer contracts. As stated by the Company,

  “[o]ur business model requires substantial outside financing arrangements to grow the business

  and facilitate the deployment of additional solar energy systems.” As of December 31, 2018,

  Vivint’s total outstanding debt was $1.2 billion.

         23.     Vivint is also a licensed contractor in the markets it serves, installing each of the

  solar energy systems. The Company monitors the performance of its solar energy systems and

  provides ongoing maintenance services.

         24.     The Company manages its inventory through local warehouses, maintaining a fleet

  of over 900 trucks and other vehicles for installation and continuing operations. As of December

  31, 2019, the Company had 2,998 employees, not including direct sellers. Vivint’s business has a

  large concentration in California, with 36% of its installed megawatts located there as of December

  31, 2019.

         25.     Vivint’s products are primarily purchased by customers through long-term

  contracts with little to no money paid upfront. Indeed, the Company markets the solar energy

  system design, installation, and maintenance as “free” despite that customers then are locked into

  the long-term contract for the purchase of the power produced by the solar energy system, even

  requiring customers to purchase the solar energy system if they move and the new homeowner

  does not wish to assume the contract. As mentioned above, retaining ownership of the solar energy




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  systems allows Vivint and other fund investors to benefit from various local, state, and federal

  incentives, and the Company obtains financing based on the cash flows from the contracts and the

  incentives.

          26.     Vivint primarily uses PPAs with its customers. Under the PPA, the customer is

  charged a fee per kilowatt hour based on the electricity production of the solar energy system and

  billed monthly. During the Class Period, most of Vivint’s PPAs had a term of 20 years and were

  subject to an annual price escalator of 2.9%. Vivint utilizes UCC-1 Financing Statements along

  with the PPAs. For 2019, 67% of Vivint’s installed solar energy systems were purchased using

  PPAs.

          27.     The Company also uses legal-form leases, or “Solar Leases.” Under these Solar

  Leases, the customer is charged a fixed monthly payment to lease the solar energy system, which

  is based on a calculation that accounts for expected solar energy generation. Like the PPAs, the

  Solar Lease term is typically 20 years with a 2.9% annual price escalator, although some markets

  have Solar Leases with no price escalator. For 2019, 16% of Vivint’s installed solar energy

  systems were purchased under Solar Leases.

          28.     Vivint also sells its solar energy systems outright to customers for cash or through

  third-party financing (“System Sales”). Prices on System Sales are determined as a function of

  the market rate and the size of the solar energy system. A customer can then also contract for

  certain additional products. For 2019, 17% of the Company’s installed solar energy systems were

  System Sales.

          29.     Vivint primarily sells its product through a direct-to-home sales model. In addition,

  the Company sells to customers using an inside sales team, through various sales dealers, and

  through homebuilder and retail distribution channels.




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         30.     Prior to, and with the Company’s fourth quarter 2018 report on the first day of the

  Class Period, Vivint had missed revenues estimates for five consecutive quarters, with revenues

  declining from $80.8 million for the second quarter of 2018, to $77.8 million and $63.5 million

  for the third and fourth quarters of 2018, respectively, and total debt increasing from $956 million

  as of December 31, 2017 to over $1.2 billion as of December 31, 2018.

         B.      Vivint’s Rampant Sales Misconduct

         31.     As stated above, Vivint heavily relies on its sales force, primarily selling its

  products through direct-to-home sales. According to confidential witness (“CW”) 1, a District

  Sales Manager at Vivint from April 2017 to August 2018 in Maryland and Virginia, “100%” of

  the sales staff income is based on sales with no guaranteed salary. The sales staff receive

  commissions per kilowatt sold and “back-end bonus[es]” at the end of each quarter based on their

  total sales numbers, ranging from $10,000 to $40,000 per quarter.

         32.     CW1 stated that sales staff could qualify for the Company’s management program

  by completing 21 deals per quarter for at least two consecutive quarters, but “you’ve got to bust

  your hump to do 21 [deals] in a quarter.” Overall, according to CW1, Vivint’s philosophy is all

  about increasing the total number of sales, and the Company’s three “tenants of leadership” are

  “recruit, train, and personal production.”

         33.     According to CW1, “There’s always corruption when there’s incentives based on

  money.” And, with the commission and incentive-based pay, deceptive sales tactics were rampant

  at Vivint. CW1 explained that Vivint employees used a number of fraudulent and unethical sales

  tactics. “A lot of [sales staff] would zoom in on the signature so [customers] couldn’t read the

  documents they were signing, and they would say, ‘Hey, press this button.’” Sales staff also




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  presented deals to customers as “a county paid for sort thing. Hey we’re going to put solar on your

  roof – it’s not going to cost you anything. We’re partners with the utility company.”

          34.     According to CW1, the most common fraudulent sales practice was deceiving

  customers about the offset they would purportedly receive from installing a solar energy system.

  CW1 explained that a sales representative would tell a customer that they could save 20% with an

  installation, when in reality, the solar energy system would only cover 80% of the customer’s total

  energy needs and the customer would be receiving two bills – Vivint’s and one from another

  energy provider for the remaining 20% of energy usage.

          35.     CW1 stated that “dozens” of sales staff engaged in fraudulent or unethical sales

  practices, estimating that about one-third of the sales staff in CW1’s region used a fraudulent or

  unethical sales practices at least once, and that it often came up in office conversations. The

  “corruption” and unethical practices is the “one of the reasons [CW1] left the company.

  . . . [CW1] didn’t like the idea that there were people that had to be doing things that weren’t

  necessarily above board, and those people being celebrated for those results.”

          36.     Numerous other CWs confirmed CW1’s descriptions of Vivint’s deceptive and

  fraudulent sales practices. For example, according to CW2, who worked for Vivint at various

  periods of time between April 2013 and May 2019 as Sales Manager, District Sales Manager, and

  Director of Sales 2 at various locations, including New Jersey and Hawaii, sales staff would sign

  documents for customers by clicking a button on a tablet for the signature, forging signatures, or

  “assisting” older customers in signing. CW2 stated that sales representatives would also rotate

  tablets so customers could not view the entire document they were signing or showed them the



  2
    CW2 joined Vivint in April 2013 as Sales Manager. From April 2015 to August 2016, CW2 served in the role of
  District Sales Manager. CW2 rejoined Vivint in May 2017 as Director of Sales for Vivint Smart Home until May
  2019 and was involved in a new program focused on solar.



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  document on a smartphone so they could not see the entire document. CW2 estimated that “at

  least half” of the sales staff engaged in fraudulent or unethical sales practices.

         37.     CW2 also described “bribes” from sales representatives to customers, giving the

  customers money or gift cards to earn their business. CW2 recounted hearing about a sales

  representative paying $13,000 to have a customer’s roof fixed so the solar energy system could be

  installed in order to receive a commission on the sale of $15,000.

         38.     These deceptive and fraudulent sales practices were “the Vivint culture” according

  to CW2, and senior management “just kind of look[ed] the other way.” Although some sales staff

  did get fired when subject to complaints about unethical practices, according to CW2, if the sales

  representative was a top-performer, Vivint would “try to protect” the sales representative,

  “mov[ing] guys out of states because they got in too much trouble [in one location]” and “mov[ing]

  them to a different market.” CW2 said this occurred a “couple of different times” and recalled a

  top-performing sales representative who was “kicked out of Florida and one other state” and

  shifted to another market by the Company due to complaints about forgery and credit checks.

         39.     CW2 was copied on emails regarding customer complaints and stated that if serious

  allegations were made, such as forgery, Vivint senior management was copied on the emails,

  including regional vice presidents, vice presidents overseeing sales on the West and East Coasts,

  and Chief Sales Officer Chance Allred (“Allred”) and Chief Revenue Officer Paul Dickson who

  both reported directly to defendant Bywater. CW2 stated that “those [emails] are absolutely

  getting sent over to David [Bywater],” recalling “several dozen” with serious allegations such as

  forgery.

         40.     CW3, a Senior Program Manager, Employee Experience from January 2015 to

  February 2020 based at Vivint’s headquarters office in Lehi, Utah and who worked on putting




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  together employee incentives and communications regarding safety and policy changes, stated that

  during weekly Sales Correlation meetings, the sales staff talked openly about various strategies

  they used to close deals, such as paying customers out of their own pockets for home structural

  upgrades needed to install the solar energy system and giving customers cash as “referral money”

  to initiate contacts with their friends. CW3 often heard rumors of sales staff accused of deceptive

  sales practices, but “stayed away from that.”

         41.     There are also numerous posts by current and former employees on job site boards

  confirming the Company’s deceptive sales practices. For example, on June 29, 2017, a former

  North East Regional Operations Manager posted on indeed.com that “if you don’t agree with

  management you will be laid off. Sales stronghold of operations in the NE is a crime. Sales ethics

  garbage cheating customers into systems.” A former sales representative from Nevada stated on

  April 19, 2018 on indeed.com, that “[t]hey call themselves ‘professionals’ yet teach; deceptive

  verbiage; ignore ‘No Soliciting’ signs, and Vivint has poor customer service ratings and response.”

         42.     A former “Solar service Tech” from California stated on June 9, 2020, on

  indeed.com that “[t]he company is not telling the truth to the customer to rope them into 20 year

  contracts[.] The sales people will tell customers they need a blank check for I.D. verification

  purposes then turn around and use the check to initiate auto bill pay where they start billing without

  even starting the system. It’s about numbers for these shysters. If you love getting yelled at on a

  daily basis by upset customers or have your heart broken by elderly folks who been straight-up

  taken advantage of by sales people then this company is for you. The devil has gotten into the

  solar business and the name of the company is Vivint Solar.”

         43.     Numerous postings on GlassDoor also echo the CWs’ statements. For example, on

  September 6, 2017, a former employee posted, “They teach you to get 20 year contracts signed




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  without explaining it to the customer.” On August 13, 2018, a former employee stated: “All this

  company cares about is money and that’s about it. Company has a new pay scale that incentivized

  sales reps to take advantage of customers and overcharge them so they can make more money.”

             44.      On October 14, 2018, a former Sales Manager stated, “You’ll essentially be asked

  to prey on the elderly and take advantage of the naïve.” A former Solar Consultant from New

  Jersey commented on May 4, 2019 that there is “[n]othing ethical about [Vivint].”

             45.      On December 6, 2019, a former Sales Manager posted, “Commission only and

  extremely shady sales style. Management only cares about profit hence ridiculous turnover and

  bad press.” And, on April 27, 2020, a former Sales Representative in Rhode Island stated on

  GlassDoor, “company is built on false promises and deception. – most DMS are world class liars

  and force you to practice unethical and illegal sales tactics such as prying [sic] on the elderly.”

             46.      An internal training video has also been discovered where a Vivint sales

  representative, Jed Wintle (“Wintle”), teaches unethical and deceptive sales practices.               A

  November 28, 2019 article by The Capital Forum published on prospect.org titled “Vivint Solar

  Internal Training Video Promotes Practices Alleged as Deceptive,” discusses the video and

  contains a link to the nearly hour and a half video on youtube.com. 3 In the undated video, 4 “Wintle

  emphasizes the ‘bags of cash’ associated with solar tax credits, making the pitch ‘stupid simple,’

  and that it’s a ‘no cost program’ with ‘a flat rate that’s fixed forever and it’ll never go up again’ –

  methods that a separate Vivint Solar ethics video warns can be deceptive and misleading.”

             47.      Wintle further states, in relevant part:

             [E]very time we install a loan account, in the immediate, it’s a lot more valuable
             than a [PPA] or a lease . . . the company realized a little while back that it would


  3
      https://prospect.org/power/vivint-solar-internal-training-video-promotes-practices-alle/.
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      https://www.youtube.com/watch?v=IQl28CHpgWo&feature=youtu.be (posted Nov. 20, 2019).



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            round us out and hopefully our stock price would go up and investors would love
            us and the Street would love us if we started doing a bunch of loan . . .

                                              *       *       *

            Who knows why the loan’s important to the company first of all? Cashflow,
            Straight cash only. So, the PPA, the lease accounts, they provide for ongoing
            revenue of the company. And that is one way that Wall Street . . . values our
            company. The other way they do is cash now. Right?

            48.    Vivint has confirmed Wintle’s sentiments in public filings, stating for example in

  its annual report on Form 10-K for the year ended December 31, 2018, filed with the SEC on

  March 5, 2019 (the “2018 Form 10-K”), that “[w]e believe System Sales are advantageous to us

  as they provide immediate access to cash.”

            49.    Wintle also describes the “four pillars” that “will literally [get customers to] just

  sign anything” – no cost, flat rate, tax credits, and equity/ownership. He advises the sales

  representatives to cut out “all these little details and crap. . . . Customers don’t need to know

  everything you think they need to know.”

            50.    Wintle further explains:

            Once you [start] getting better [at the four pillars approach] and [the customers] got
            what the program is conceptually, then they would go with like any fine print. They
            wouldn’t even look at the fine print, right? So, the first 50 [loan accounts] I closed,
            two-hour . . . closes . . . The next 50 I had people, and still do, don’t even ask what
            the total loan amount is. Don’t even ask. And it sounds stupid. I don’t know if
            people in Utah are just stupid. Interest rate – don’t ask. Warranty specifics – don’t
            ask. ‘What happens if my roof leaks?’ Stopped getting all those questions.
            Because if they understand [the four pillars], I know that sounds weird, but trust me
            that’s what happened.

            51.    Wintle also suggests that the sales representatives “walk away from” any customer

  that “is asking really specific” questions such as “how much more will my house be worth in 10

  years.”

            52.    Wintle states that customers are “not reading the documents. They’re not reading

  anything,” and adds:


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            I could slide in anything I want. I could. I could slide anything I want. You just
            bought a freaking used car and it’s not warranted anymore. I just slid it in. You
            signed it. You bought it. Because they’re sold so well theoretically . . . that they
            will literally just sign anything. And when you’re doing docs, then you’re talking
            about is your son in the military? Sign this one. Have you guys, oh man, that’s
            sweet. What year is your truck? Sign this one. And you guys are done. That’s
            how they get closed if you’ve done it correctly up to that point.

            53.    Wintle also advises the sales representatives to tell customers, “I don’t need to run

  your credit”; that the loan rates are “locked-in, “fixed,” and “flat”; and, that the purported tax

  benefits are “free money” and “bags of cash.”

            54.    The Individual Defendants were clearly aware of these deceptive sales practices.

  CW4, who worked for the Company in various positions between 2012 and 2018, 5 confirmed the

  Individual Defendants’ knowledge of the rampant fraudulent sales practices at Vivint. CW4 stated

  that senior management held weekly telephone conference calls with all of the Company’s sales

  managers where deceptive sales practices, including forgery, where discussed. Allred was on the

  telephone calls, and Bywater was occasionally on the calls as well. CW4 also recalled occasional

  emails from Bywater to Vivint’s entire sales team urging them to “pick it up” when sales numbers

  were down. Although no longer with the Company in 2019, CW4 learned from then-current Vivint

  employees that “dozens” of sales staff were fired in late 2019, primarily for forgery. Tellingly,

  these “firings” happened after the truth of Vivint’s culture of deceptive sales practices and failure

  to inform shareholders of the multitude of related lawsuits was exposed by the Marcus Aurelius

  Report.




  5
     CW4 joined Vivint in February 2012 as a Sales Representative before advancing to positions as Sales Manager
  (August 2012 to January 2014), District Manager (January 2014 to July 2015), Divisional Sales Manager (July 2015
  to March 2016), and Regional District Manager (April 2016 to January 2018). CW4 worked out of offices in New
  Jersey and San Diego, California and reported to Regional Sales VP Nicholas Hansen, who reported to Chief of Sales,
  Allred, who report to defendant Bywater.



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          55.      CW3 stated that Chief Human Resource Officer Jeremy Sabin, who reported

  directly to defendant Bywater, led the investigations when a sales representative was accused of

  forgery or some other deceptive sales practice.

          56.      CW5 was a Fleet Performance Specialist, a Fleet Performance Team Lead, and then

  a Customer Service Supervisor from September 2016 6 until being promoted to Executive

  Resolutions (“ER”) Specialist in September 2018, shifting to Default Manager -Risk Management

  in April 2019, and leaving the Company in December 2019. Based out of Vivint’s Lehi, Utah

  headquarters, as ER Specialist, CW5 managed customer complaints escalated beyond the

  Company’s Customer Service department and all forgery complaints. According to CW5, Vivint’s

  ER team was created because the Customer Service department had “too much on their plate.”

          57.      CW5 reported to Senior Manager of ER, Tyler Anderson (“Anderson”), who

  communicated regularly with senior management, including defendant Bywater. CW5 stated that

  the ER team logged the complaints in a Google Spreadsheet which included labels for complaints

  sent directly to Bywater’s email address and those sent to Bywater via the “CEO Promise Page”

  on Vivint’s website. The spreadsheet included where the complaint came from, with those made

  through the Better Business Bureau and Attorneys’ General offices prioritized, the type of

  complaint, a description, the name of the Vivint sales representative involved, the sales

  representative’s location, and the installation date. CW5 stated that forgery complaints were “quite

  common” and that Bywater had access to the spreadsheet, being listed as one of the Google users

  with access.




  6
    CW5 joined Vivint in September 2016 as a Fleet Performance Specialist and within three months was promoted to
  Fleet Performance Team Lead and later became a Customer Service Supervisor. CW5 was promoted to ER Specialist
  in September 2018 and in April 2019 shifted to a new position as Default Manager – Risk Management until December
  2019.



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            58.   This customer complaint Google Spreadsheet was also mentioned the Marcus

  Aurelius Report. The Marcus Aurelius Report contains excerpts of a transcript from Reilly v.

  Vivint Solar, No. 18-cv-12356-NLH-JS (D.N.J. Aug. 2, 2018), where it was stated that Vivint’s

  “HR person, Maureen Brown, testified in Littlejohn that [instances of forgery, false accounts,

  unauthorized credit checks are] in a Google Excel spreadsheet.”

            59.   CW5 also described weekly meetings with Bywater and other senior management

  where Anderson provided updates on the escalated complaints. The meetings occurred at the

  Company’s headquarters, typically in the early morning before most employees arrived at the

  office.

            60.   CW5 stated that the team did not produce formal reports about their forgery

  investigations, and instead emailed summaries of the investigation and findings to Anderson who

  would then send the emails to Bywater and/or reference them in weekly meetings.

            C.    The Repeated Deceptive Sales Practices Lead to a
                  Multitude of Undisclosed Lawsuits and Investigations

            61.   Unsurprisingly, the Company-wide culture stressing sales at all costs and turning a

  blind-eye to fraudulent practices and the repeated country-wide occurrences of deceptive and

  unethical sales practices resulted in a slew of lawsuits by customers and investigations by state

  officials. And yet, Defendants failed to inform investors of the growing number of lawsuits and

  investigations, mentioning for example, only three sales practices lawsuits in the 2018 Form 10-

  K. In reality, during 2018 alone, there were at least sevemteen actions filed against Vivint by

  customers alleging fraudulent or deceptive sales practices, three state attorney general

  investigations, and likely many more.




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  The New Mexico Attorney General Lawsuit

             62.      On March 8, 2018, the New Mexico Attorney General Hector Balderas (“New

  Mexico AG”) filed a lawsuit captioned, State of New Mexico v. Vivint Solar Developer, LLC 7, et

  al., Case No. D-202-CV-201801936 (N.M. 2d Jud. Dist. Ct.). Vivint was forced to report this

  lawsuit because the plaintiff issued a press release. The New Mexico AG stated, among other

  things, that Vivint and its related companies were “engaging in unfair and unconscionable business

  practices including clouding titles to consumers’ homes, fraud, and racketeering,” through “high

  pressure and illegal door-to-door sales; making false, misleading and fraudulent statements.”

             63.      The New Mexico AG complaint alleges, inter alia, that Vivint “has skillfully

  crafted, baited and set a ‘free’ trap. Vivint’s ‘free’ trap, in truth, is not free at all; rather, it hooks

  consumers into paying more for energy, entangles consumers’ property rights, and ensnares

  consumers with a twenty-year contract.” The complaint states that “multiple ploys” are used “to

  lure consumers into [Vivint’s] ‘free’ trap” such as:

             high pressure and illegal door-to-door sales; making false, misleading and
             fraudulent statements; willfully omitting material facts; falsely assuring that
             consumers will save 10%-30%, 20%-40%, or even more, on their utility bills
             compared to their prior utility rates when, in fact, they will likely pay more; failing
             to properly inform consumers of their right to cancel the PPA; failing to provide
             consumers with a copy of the PPA; and attempting to contractually force consumers
             to waive rights guaranteed by New Mexico law. Once caught in its “free” PPA
             trap, Vivint further ensures that consumers will remain obligated for the full 20-
             year term by filing erroneous UCC financing statements on their homes.

                                                     *        *    *

             Beyond the above misrepresentations, Vivint engages in a host of business practices
             that violate New Mexico law, including failing to provide consumers with a paper
             copy of their PPA contracts, instead utilizing electronic devices that do not provide
             consumers with an adequate opportunity to review the lengthy, complex and
             detailed contracts. Vivint also fails to provide consumers with two separate paper
             copies of the notice of their right to cancel the PPA contract. Here, again, Vivint


  7
      Vivint Solar Developer, LLC is Vivint related entity.


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          utilizes electronic devices that do not provide consumers with an adequate
          opportunity to review the notice of consumers’ right to cancel the contract.

          64.      The New Mexico AG complaint further alleges that that the Individual Defendants

  and other Vivint senior management direct, control, approve, ratify, and actively participate in the

  Company’s fraud, citing to public statements by Bywater and Russell regarding the Company’s

  sales force and PPAs.

          65.      More specifically, as the New Mexico AG alleges, during a May 9, 2017 earnings

  conference call, defendant Bywater stated “we have invested heavily in the management,

  oversight, compensation incentives, and processes . . . .” Bywater further stated that the “integrated

  process allows us to carefully control the customers’ experience from the beginning to the end”

  and that management had “been able to standardize best practices across all the markets we service,

  while maintaining the capability to meet the unique needs of each local market.” Bywater also

  stated that Vivint’s organic growth was improving as sales managers “become more productive

  and proficient in selling . . . .”

          66.      As for the PPAs, during the same call, Bywater noted that “we’ve also migrated to,

  more and more of our sales force, in markets that have higher PPA pricing,” adding “we love

  PPAs,” and stating that “as long as you continue to sell PPAs in the right markets, they’re both a

  good thing.” Bywater essentially admitted that PPAs have a special appeal because of the price

  escalator built into them when he admitted that Vivint had “done a nice price increase in those

  markets” where Vivint focused on PPA sales.

          67.      Defendant Russell also discussed Vivint’s markets and PPAs during the same

  earnings conference call, stating that Vivint “doubled down in our key markets” and that “[t]he

  key markets that we’re in, we’ve actually seen some price increases and price increases in several




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  utilities that we felt were marginal. And we’ve been able to hold volumes in those price, in those

  markets, as we’ve raised some prices.”

         68.     A few months earlier, during a March 16, 2017 conference call, defendant Russell

  had similarly highlighted the Company’s PPAs, stating, “[d]uring the second half of the year our

  average PPA rates increased by approximately 7%. This was a combination of emphasizing

  markets with more favorable rates as well as price increases in select markets . . . .”

         69.     The New Mexico AG litigation is ongoing as of the filing of this Complaint.

  Individual Consumer Lawsuits

         70.     Between October 2015 and December 2018, a minimum of nineteen individual

  consumer actions for deceptive sales practices were filed against Vivint, with sixteen of those

  filed in 2018 alone. An additional minimum of seven individual consumer actions for deceptive

  practices were filed in 2019. Vivint did not disclose these lawsuits. It was not until Marcus

  Aurelius reported on the large number of lawsuits that investors became aware of the wide-spread

  misconduct by Vivint sales staff and resulting legal actions taken against the Company. See also

  Section VI. and Appendix A.

         71.     As reported by Marcus Aurelius, these individual consumer lawsuits (collectively,

  the “Consumer Actions”) include “[v]arious victims . . . including elderly, handicapped, and non-

  English speaking families” and allege:

         “Vivint, as a pattern and practice, regularly forges signatures” on customer
         contracts in states including California (which accounts for approximately 34% of
         Vivint’s business). Lawsuits identify senior sales employees currently at the
         company as being involved in the alleged fraud and “It is a corporate policy and
         culture at Vivint Solar to look the other way and dismiss these numerous complaints
         and to overtly or tacitly encourage their sales agents to hide important sales details
         from consumers, forge and falsify authorization documents . . . . Vivint promotes
         its employees for this conduct.” One of the attorneys suing Vivint told a judge
         earlier this year that, according to his investigation, the percentage of Vivint
         representatives “doing these fraudulent acts”, such as “forging contracts, opening



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         bogus accounts, using bogus email addresses to hide this from the unsuspecting
         consumer”, is “high”. (Emphasis in original).

         72.     The Consumer Actions allege a variety of fraudulent, deceptive, and unethical sales

  practices. One such practice is forgery. For example, in Reilly v. Vivint Solar, No. 18-cv-12356-

  NLH-JS (D.N.J. Aug. 2, 2018), it was alleged, among other things, that “Vivint Solar, as a pattern

  and practice, regularly forges signatures on consumer contracts.”

         73.     In Ritter v. Vivint Solar Developer, LLC, et al., No. 37-2018-00039688-CL-FR-

  CTL (Cal. Super. Ct., Cty. of San Diego, Aug. 9, 2018), Susann Ritter (“Ritter”), an 87 year-old

  woman, alleged that Vivint forged her husband’s signature on a contract purportedly signed on

  January 1, 2018. Ritter’s husband had passed away more than two years prior to his purported

  signing of the contract, on August 28, 2015. The contract was signed by Tyler Williams

  (“Williams”), whom, according to Marcus Aurelius was “a high-profile Vivint Regional VP of

  Sales, who appeared in a podcast” and “was featured in a company sponsored TV spot, and is

  identified as leading sales training sessions in a different podcast.” (Emphasis in original). Ritter’s

  complaint alleged as causes of action fraud and deceit, trespass, and elder abuse. Unfortunately

  for Ritter, her property also suffered damage because Vivint employees had begun installing the

  solar panels and then removed what they had started on, “leaving the roof unsightly and vulnerable

  to adverse weather.”

         74.     In Fisher v. Vivint Solar, Inc., et al., No. 37-2018-00039688-CL-FR-CTL (Cal.

  Super. Ct., Cty. of San Diego, Aug. 6, 2018), it was alleged that the same Vivint sales

  representative, Williams, forged 86 year-old Florence Fisher’s (“Fisher”) signature and “added

  Ms. Fisher’s daughter’s name to the 20 Year Agreement and forged the daughter’s signature

  without the daughter’s knowledge or consent.”




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         75.     In Alvarado, et al. v. Vivint Solar, Inc., et al., No. RG18914129 (Cal Super. Ct.,

  Cty. of Alameda, July 25, 2018), it was alleged that a Spanish-speaking elderly woman’s

  daughter’s signature was forged on a home she neither lived in nor owned. Another high-ranking

  Vivint sales representative, Forrest Flesch, a Director of Sales, signed on behalf of Vivint.

         76.     In total, as illustrated in Appendix A, seventeen of the Consumer Actions allege

  forgery.

         77.     The Consumer Actions also allege impersonations of local electric company

  employees with the Vivint sales representative claiming that the customer would receive free solar

  panels. For example, in Hewapathirana v. Vivint Solar, Inc. et al., No. RG18915535 (Cal. Super.

  Ct, Cty. of Alameda, Apr. 3, 2018), the plaintiff stated that Vivint’s “agent misrepresented and

  told me he is from SDG&E and SDG&E is installing solar panels for free.” Vivint employee

  Williams was the signatory for Vivint on the contract.

         78.     Similarly, in Pulipati v. Vivint Solar, Inc. et al., No. R18891702 (Cal. Super Ct.,

  Cty. of Alameda, Feb. 2, 2018), a Vivint District Sales Manager, Matt LeStarge, allegedly told the

  plaintiff that he “was doing a survey for Plaintiff’s utility provider, Pacific Gas and Electric

  (“PG&E”), for PG&E SmartMeter customers for a ‘potential payback of $50-$100 a month by

  PG&E’” and that “he was there to schedule an appointment for the ‘survey.’” And, in Cormier v.

  Vivint Solar, Inc. et al., 37-2019-00012511-CU-BT-CTL (Cal. Super. Ct., Cty. of San Diego, Mar.

  6, 2019), a Vivint agent purportedly told a 79 year-old deaf couple renting a home from the

  plaintiffs that “the local utility company, San Diego Gas & Electric (“SDGE”), now required the

  installation of solar panels on all homes.”

         79.     The impersonation of local utility companies even led to a lawsuit against Vivint

  by the utility company itself. In 2018, Southern California Edison obtained a permanent injunction




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  against Vivint, stating, among other things, that Vivint has “gone so far as to use counterfeit Edison

  logos and trademarks on their clothing and other materials to falsely imply a connection to Edison”

  and that the company “has received numerous complaints from customers who have been confused

  and, in some cases, intimated and frightened by [Vivint’s] aggressive and misleading sales tactics.”

         80.     The Marcus Aurelius Report stated that complaints against Vivint have included

  “five other utilities in addition to Edison,” including PG&E, Baltimore Gas & Electric, SDG&E,

  and Atlantic City Energy.

         81.     The Consumer Actions also allege, inter alia, unauthorized credit checks,

  exploitation of vulnerable populations, and the opening of “bogus” accounts. In Davenport v.

  Vivint Solar Developer, LLC, No. 2017-CP-38-01689 (South Carolina Court of Common Pleas,

  First Jud. Cir., Dec. 31, 2017) a 94 year-old South Carolina woman with Alzheimer’s disease was

  allegedly preyed on by Vivint and coerced into signing a 20-year contract although she “would be

  recognized as incompetent to enter into any significant business transaction.”

         82.     In August v. Vivint Solar, Inc., et al., No. 37-2018-00042289-CU-BT-CTL (Cal.

  Super. Ct., Cty. of San Diego, Aug. 22, 2018), it was alleged that due to the fact that a customer

  “did not have the credit to qualify for a 20 Year” PPA, the Vivint agent “put the contract in the

  name of Freeman’s 77-year-old neighbor, Plaintiff Ivelisse August instead.” But, neither Vivint

  nor its agent got “permission from August or even tell August that VIVINT was signing up her

  neighbor, with whom she had not spoken in years, for a contract in her name. VIVINT and [the

  agent] simply pulled August’s credit, forged her signature, and did not even bother sending her a

  copy of the forged contract.”

         83.     An action filed in the U.S. District Court for the District of New Jersey, Droney v.

  Vivint Solar, Case No. 1:18-cv-00849 (D.N.J. Jan. 20, 2018), alleged violations of the Fair Credit




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  Reporting Act, stating that not only did a Vivint sales representative claim to be with Atlantic City

  Energy, Vivint pulled both Ms. and Mr. Droney’s credit reports without authorization. In fact, Mr.

  Droney was not even home when the Vivint employee was there. See also Appendix A.

          84.     In the wake of the multitude of these Consumer Actions and other online complaints

  and media reports, nonprofit watchdog, Campaign for Accountability (“CfA”) “called for

  Nevada’s Attorney General [to] investigate Vivint” in October 2018. In fact, after a “year-long

  investigation,” CfA issued a report on December 7, 2017, stating that Vivint and another company

  were the solar “industry’s leading bad actors” and that:

          Unscrupulous actors have exploited vulnerable populations, preying on the elderly
          and those on fixed-incomes. Companies have misled consumers about the true
          costs of installing solar panels, provided shoddy craftsmanship, and left
          homeowners with higher utility costs, all while forcing them to sign unconscionable
          contracts that leave little possibility of recourse.

          85.     Other state Attorneys General seem to have heard CfA’s call for action, embroiling

  Vivint in further litigation.

  Additional Class Actions and Actions and Investigations by State Attorneys General

          86.     One of the few reported cases by Vivint was a putative class action filed in the U.S.

  District Court for the District of Columbia, Rogers v. Vivint Solar, Inc., et al., Case No. 1:18-cv-

  01567-TNM (D.D.C. July 1, 2018). The action alleged violations of the Telephone Consumer

  Protection Act by using “robo calls” to promote Vivint without prior consent. The court granted

  final approval of a settlement in the action with Vivint agreeing to pay $975,000 on June 2, 2020.

          87.     On October 24, 2019, New Jersey Attorney General Gurbir S. Grewal (“New Jersey

  AG”) and the New Jersey Division of Consumer Affairs announced that Vivint Solar Developer,

  LLC, a Vivint entity, had agreed to pay $122,000 “and significantly change its business practices

  to resolve allegations that it engaged in deceptive sales practices, failed to deliver promised energy

  savings, and otherwise violated consumer protection laws in its sales of home solar energy panels


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  in the state.” It was also agreed that Vivint Solar Developer, LLC would “uninstall and remove”

  more than a dozen solar energy systems and “resolve additional consumer complaints” through

  arbitration “if the consumer chooses that option.” As reported by Marcus Aurelias, the New Jersey

  investigation had been ongoing since at least July 2018, and yet it was never included in any of

  Vivint’s public statements to investors.

         88.     Similarly, the Office of the NYAG reached a $1.95 million settlement with Vivint

  on or around January 6, 2020. The NYAG investigation found, among other things, that Vivint

  sales representatives represented themselves as working for the local utility company, engaged in

  high pressure sales tactics to induce customers into signing contracts without an opportunity to

  review or understand the contract, overstated potential savings, and that some customers had

  alleged forgery of their signatures. A large part of the NYAG findings are redacted and Vivint did

  not admit or deny the findings. Again, as reported by Marcus Aurelias, the NYAG investigation

  had been ongoing since at least July 2018, and yet it was never included in any of Vivint’s public

  statements to investors.

         89.     On December 3, 2019, another putative class action was filed against Vivint in the

  United States District Court for the Northern District of California, Dekker, et al. v. Vivint Solar,

  Inc., et al., Case No. 3:19-cv-07918-WHA (N.D. Cal. Dec. 3, 2019), alleging that “Vivint Solar’s

  supervisors, officers, or managers train sales representatives to not scroll through every page of

  the PPA at the time of execution” and “to cursorily and deceptively describe arbitration as ‘faster

  and cheaper’ than the courts when prompting consumers to initial the arbitration provision.” The

  complaint further alleges that “[f]rom the highest levels of the company, sales managers are

  directed and incentivized to deliver pitches that go far beyond what is stated on the website and

  the Operations Manual” and lists as deceptive sales practices misrepresentations and/or omissions




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  regarding rate increases, charges if a customers’ home is sold, the filing of UCC statements, and

  purported credits and rebates.

         90.       The Marcus Aurelius Report also stated that the Attorney General of Hawaii has

  been investigating Vivint since at least July of 2018, and yet again, there has been no disclosure

  by Defendants.

  V.     MATERIALLY FALSE AND/OR MISLEADING
         STATEMENTS AND OMISSIONS DURING THE CLASS PERIOD

         91.       On March 5, 2019, the first day of the Class Period, Vivint issued a press release,

  attached as Exhibit 99.1 to a Form 8-K filed with the SEC, titled “Vivint Solar Reports Fourth

  Quarter and Full Year 2018 Results,” announcing the Company’s financial results for the quarter

  and year ended December 31, 2018 (the “March 2019 Press Release”). The March 2019 Press

  Release stated in relevant part:

         Fourth Quarter 2018 Operating Highlights

         Key operating and development highlights include:

               •   MW Booked of approximately 63 MWs for the quarter.
               •   MW Installed of approximately 54 MWs for the quarter. Total cumulative
                   MWs installed were approximately 1,061 MWs.
               •   Installations were 7,730 for the quarter. Cumulative installations were
                   154,598.
               •   Estimated Gross Retained Value increased by approximately $62 million
                   during the quarter to approximately $2.0 billion. Estimated Gross Retained
                   Value per Watt at quarter end was $2.06.
               •   Cost per Watt was $3.12, a decrease from $3.21 in the third quarter of 2018
                   and an increase from $2.95 in the fourth quarter of 2017.

                                         *        *        *

         For the first quarter of 2019, Vivint Solar expects:

               •   MW Installed: 43 - 45 MWs
               •   Cost per Watt: $3.45 - $3.52

         For the full year 2019, Vivint Solar expects 15% growth for MWs Installed.



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         Glossary of Definitions

         “Installations” represents the number of solar energy systems installed on
         customers’ premises.

         “MWs or megawatts” represents the DC nameplate megawatt production capacity.

         “MW Booked” represents the aggregate megawatt nameplate capacity of solar
         energy systems that were permitted during the period net of cancellations in the
         period.

         “MW Installed” represents the aggregate megawatt nameplate capacity of solar
         energy systems for which panels, inverters, and mounting and racking hardware
         have been installed on customer premises in the period.

         92.     The March 2019 Press Release also included excerpts of Vivint’s financial

  statements, stating that sales and marketing expenses totaled $18 million, general and

  administrative expenses totaled $21.8 million, and net losses of $86.8 million for the three months

  ended December 31, 2018. For the year ended December 31, 2018, sales and marketing expenses

  totaled $58.9 million, general and administrative expenses totaled $93.7 million, and net losses

  were $279.6 million

         93.     The same day, the Company filed its 2018 Form 10-K with the SEC, signed by

  defendants Bywater and Russell, affirming the information provided in the March 2019 Press

  Release. Bywater and Russell also signed certifications pursuant to the Sarbanes-Oxley Act of

  2002 (“SOX”) attesting to the accuracy of the financial reporting; the disclosure of any material

  changes to the Company’s internal control over financial reporting; stating that the annual report

  did “not contain any untrue statement of material fact or omit to state a material fact necessary to

  make the statements made, in light of the circumstances under which such statements were made,

  not misleading;” and, that “[a]ny fraud, whether or not material, that involves management or other




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  employees who have a significant role in the [Company’s] internal control over financial

  reporting” was disclosed.

          94.     Under “Risk Factors” in the 2018 Form 10-K, the Company stated that restrictions

  on direct-selling could adversely impact Vivint’s financial condition, as well as negative

  perceptions of its sales force, stating, in relevant part:

          The majority of our business is conducted using one channel, direct-selling.

          Historically, our primary sales channel has been a direct sales model. We also sell
          to customers through our inside sales team but continue to find greatest success
          using our direct sales channel. In addition, we have entered into sales dealer
          agreements with Vivint and others. We may sell through additional distribution
          channels in the future, including homebuilders and retailers. We compete against
          companies with experience selling solar energy systems to customers through a
          number of distribution channels, including homebuilders, home improvement
          stores, large construction, electrical and roofing companies, the internet and other
          third parties and companies that access customers through relationships with third
          parties in addition to other direct-selling companies. Our less diversified
          distribution channels may place us at a disadvantage with consumers who prefer to
          purchase products through these other distribution channels. If customers
          demonstrate a preference for other distribution channels, we may need to reduce
          our direct-selling efforts. We are also vulnerable to changes in laws related to
          direct sales and marketing that could impose additional limitations on
          unsolicited residential sales calls and may impose additional restrictions such
          as adjustments to our marketing materials and direct-selling processes, and
          new training for personnel. If additional laws affecting direct sales and
          marketing are passed in the markets in which we operate, it would take time
          to train our sales force to comply with such laws, and we may be exposed to
          fines or other penalties for violations of such laws. If we fail to compete
          effectively through our direct-selling efforts or are not successful in developing
          other sales channels, our financial condition, results of operations and growth
          prospects could be adversely affected.

          We are highly dependent on our ability to attract, train and retain an effective
          sales force.

          The success of our direct-selling channel efforts depends upon the recruitment,
          retention and motivation of a large number of sales personnel to compensate for a
          high turnover rate among sales personnel, which is a common characteristic of a
          direct-selling business. In order to grow our business, we need to recruit, train and
          retain sales personnel on a continuing basis. Sales personnel are attracted to direct-
          selling by competitive earnings opportunities, and direct-sellers typically compete
          for sales personnel by providing a more competitive earnings opportunity than that


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        offered by the competition. We believe competitors devote substantial effort to
        determining the effectiveness of such incentives so that they can invest in incentives
        that are the most cost effective or produce the best return on investment. We have
        historically compensated our sales personnel on a commission basis, based on the
        size of the solar energy systems they sell and recently have begun compensating
        based on system size, contract rate and the expected number of hours the rooftop
        will be exposed to full sunlight. Some sales personnel may prefer a compensation
        structure that also includes a salary and equity incentive component. There is
        significant competition for sales talent in our industry, and from time to time we
        may need to adjust our compensation model to include such components. These
        adjustments have caused our customer acquisition costs to increase and could
        otherwise adversely impact our operating results and financial performance.

        In addition to our sales compensation model, our ability to recruit, train and retain
        effective sales personnel could be harmed by additional factors, including:

               • any adverse publicity regarding us, our solar energy systems, our
               distribution channel or our industry;

               • lack of interest in, or the technical failure of, our solar energy systems;

               • lack of a compelling product or income opportunity that generates interest
               for potential new sales personnel, or perception that other product or income
               opportunities are more attractive;

               • any negative public perception of our sales personnel and direct-
               selling businesses in general;

               • any regulatory actions or charges against us or others in our industry;

               • general economic and business conditions; and

               • potential saturation or maturity levels in a given market which could
               negatively impact our ability to attract and retain sales personnel in such
               market.

        We are subject to significant competition for the recruitment of sales personnel
        from other direct-selling companies and from other companies that sell solar energy
        systems in particular. Regional and district managers of our sales personnel are
        instrumental in recruiting, retaining and motivating our sales personnel. When
        managers have elected to leave us and join other companies, the sales personnel
        they supervise have often left with them. We may experience increased attrition in
        our sales personnel in the future, which may impact our results of operations and
        growth. The impact of such attrition could be particularly acute in those
        jurisdictions, such as California, where contractual non-competition agreements for
        service providers are not enforceable or are subject to significant limitations.




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        It is therefore continually necessary to innovate and enhance our direct-selling
        and service model as well as to recruit and retain new sales personnel. If we
        are unable to do so, our business could be adversely affected.

                                         *       *      *

        Damage to our brand and reputation, or change or loss of use of our brand, could
        harm our business and results of operations.

        We depend significantly on our reputation for high-quality products, best-in-
        class customer service and the brand name “Vivint Solar” to attract new
        customers and grow our business. If we fail to continue to deliver our solar
        energy systems within the planned timelines, if our offerings do not perform as
        anticipated or if we damage any of our customers’ properties or delay or cancel
        projects, our brand and reputation could be significantly impaired. Future technical
        improvements may allow us to offer lower prices or offer new technology to new
        customers; however, technical limitations in our current solar energy systems may
        prevent us from offering such lower prices or new technology to our existing
        customers. The inability of our current customers to benefit from technological
        improvements could cause our existing customers to lower the value they perceive
        our existing products offer and impair our brand and reputation.

        We have focused particular attention on growing our direct sales force, leading
        us in some instances to take on candidates who we later determined did not
        meet our standards. In addition, given our direct sales business model and the
        sheer number of interactions our sales and other personnel have with
        customers and potential customers, it is inevitable that some customers’ and
        potential customers’ interactions with our company will be perceived as less
        than satisfactory. This has led to instances of customer complaints, some of
        which have affected our digital footprint on rating websites and social media
        platforms. If we cannot manage our hiring and training processes to avoid or
        minimize these issues to the extent possible, our reputation may be harmed
        and our ability to attract new customers would suffer.

                                         *       *      *

        A failure to comply with laws and regulations relating to our interactions with
        current or prospective residential customers could result in negative publicity,
        claims, investigations and litigation, and adversely affect our financial
        performance.

        Our business focuses on contracts and transactions with residential customers.
        We must comply with numerous federal, state and local laws and regulations
        that govern matters relating to our interactions with consumers, including
        those pertaining to privacy and data security, consumer financial and credit
        transactions, home improvement contracts, warranties, door-to-door
        solicitation as well as specific regulations pertaining to sales and installations


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        of solar energy systems. These laws and regulations are dynamic and subject
        to potentially differing interpretations, and various federal, state and local
        legislative and regulatory bodies may initiate investigations, expand current
        laws or regulations, or enact new laws and regulations, regarding these matters.
        Changes in these laws or regulations or their interpretation could dramatically affect
        how we do business, acquire customers, and manage and use information we collect
        from and about current and prospective customers and the costs associated
        therewith.

        Several states in which we operate, including Arizona, California, Florida,
        Maryland, Nevada, New Mexico, New York and Utah, have enacted laws and
        regulations that provide enhanced rights and require increased disclosures to
        customers. Most of these laws and regulations are specific to the solar industry and
        have required changes to our contracts and processes. Some of the laws have been
        enacted along with other changes to state law that further impact the residential
        solar industry. Other laws and regulations, such as the ones that relate to
        licensing of sales representatives, are applicable to a wide array of industries,
        and failure to comply with such regulations could result in citations, fines,
        license suspensions, revocations and other penalties. Further, to the extent
        that states undertake enforcement actions against us or other states enact
        further laws or regulations applicable to our industry, we may be required to
        expend additional resources in order to modify our business practices to meet
        these regulatory requirements.

        We strive to comply with all applicable laws and regulations relating to our
        interactions with residential customers. It is possible, however, that these
        requirements may be interpreted and applied in a manner that is inconsistent from
        one jurisdiction to another and may conflict with other rules or our practices. For
        example, in March 2018, the New Mexico Attorney General’s office filed an action
        against us and certain of our officers alleging violation of state consumer protection
        statutes. If federal, state or other local regulators or agencies were to initiate
        an investigation against us or enact regulations relating to the marketing of
        our products to residential consumers, responding to such investigation or
        complying with such regulations could divert management’s attention to our
        business, require us to modify our operations and incur significant additional
        expenses, which could have an adverse effect on our business, financial
        condition and results of operations or could reduce the number of our
        potential customers.

        We cannot ensure that our sales force will comply with our standard practices and
        policies, as well as applicable laws and regulations, including sales licensure
        requirements. Any such non-compliance, or the perception of noncompliance,
        potentially could expose us to claims, proceedings, litigation, investigations,
        and/or enforcement actions by private parties and regulatory authorities, as
        well as substantial fines and negative publicity, each of which may materially
        and adversely affect our business. We have incurred, and will continue to incur,



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         significant expenses to comply with the laws, regulations and industry standards
         that apply to us.

         95.     The 2018 Form 10-K “Risk Factors” also included the following:

         We are exposed to the credit risk of our customers.

         Our customers most commonly purchase energy or lease solar energy systems from
         us pursuant to one of two types of long-term contracts: a PPA or a Solar Lease. The
         terms of PPAs and Solar Leases are typically for 20 years and require the customer
         to make monthly payments to us. Accordingly, we are subject to the credit risk of
         our customers. As of December 31, 2018, the average FICO score of our
         customers was approximately 760. However, as we grow our business, the risk
         of customer defaults could increase. Our reserve for this exposure is estimated
         to be $5.2 million as of December 31, 2018, and our future exposure may
         exceed the amount of such reserves. While we do not currently extend credit to
         customers interested in System Sales, many of those customers are interested in
         financing the purchase of a solar energy system. While these customers may seek
         third-party financing through their own lender or a lender with whom we have a
         relationship, if they do not have sufficient credit to qualify for a loan, they may be
         unable to purchase a solar energy system. This could reduce our potential customer
         pool and limit our Systems Sales.

         96.     The 2018 Form 10-K financial statements also included a note about legal

  proceedings, which included a total of seven actions, with only three of them relating sales

  misconduct, stating, in relevant part:

         In March 2018, the New Mexico Attorney General’s office filed an action against
         the Company and several of its officers alleging violation of state consumer
         protection statutes and other claims. The Company disputes the allegations in the
         lawsuit and intends to defend itself in the action. The Company is unable to
         estimate a range of loss, if any, were there to be an adverse final decision. If an
         unfavorable outcome were to occur in this case, it is possible that the impact could
         be material to the Company’s results of operations in the period(s) in which any
         such outcome becomes probable and estimable.

         In June 2018, four of the Company’s customers, on behalf of themselves and a
         purported class, named the Company in a putative class action alleging violations
         of the Consumers Legal Remedies Act and California Business and Professions
         Code Section 17200 and requesting relief pursuant to Section 1689 of the California
         Civil Code. The complaint sought (1) rescission of their PPAs along with
         restitution to the plaintiffs individually and (2) declaratory and injunctive relief.
         The Company disputes the allegations in the complaint and intends to vigorously
         defend itself. On November 14, 2018, the Company entered into a settlement
         agreement with the four customers whereby the customers agreed to dismiss the


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         putative class action in exchange for rescission of their contracts, removal of the
         systems that the Company installed on their properties, immaterial compensation
         payments to each customer and an immaterial payment for attorneys’ fees and costs.

         In July 2018, an individual filed a putative class action lawsuit in the U.S. District
         Court for the District of Columbia, purportedly on behalf of himself and other
         persons who received certain telephone calls. The lawsuit alleges that the Company
         violated the Telephone Consumer Protection Act and some of its implementing
         regulations. The complaint seeks statutory penalties for each alleged violation. The
         Company disputes the allegations in the complaint, has retained counsel and intends
         to vigorously defend itself in the litigation. The Company is unable to estimate the
         amount or range of potential loss, if any, at this time.

                                           *       *       *

         In addition to the matters discussed above, in the normal course of business, the
         Company has from time to time been named as a party to various legal claims,
         actions and complaints. While the outcome of these matters cannot be predicted
         with certainty, the Company does not currently believe that the outcome of any of
         these claims will have a material adverse effect, individually or in the aggregate,
         on its consolidated financial position, results of operations or cash flows.

         The Company accrues for losses that are probable and can be reasonably estimated.
         The Company evaluates the adequacy of its legal reserves based on its assessment
         of many factors, including interpretations of the law and assumptions about the
         future outcome of each case based on available information.

         97.       Defendants also held an earnings conference call on March 5, 2019 during which

  the Individual Defendants reiterated the financial results for the quarter and year ended December

  31, 2018. Defendant Bywater attributed growth in 2018, in part, to sales activities, stating, in

  relevant part:

         I am also particularly pleased that our growth in 2018 essentially occurred in
         markets with the most advantageous system economics. This was a result of
         concerted management focus and actions on concentrating our sales activities
         in our most favorable markets. The sales momentum we are experiencing will
         require continued focus in management to assure we remain a clear leader in
         the most advantageous markets. We are also excited about the prospects of
         creating other customer acquisition models and access new and existing markets in
         more profitable ways in 2019 and beyond.

         As important as growth is, it is important to operate with the right unit
         economics, performance the quality. It is easy to grow for growth sake without
         regard of profit or long term sustainability or customer satisfaction. That kind


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         of growth violates our core principles and values and a tradeoff we are not
         willing to make.

         Over the past year, we have done much to improve our profitability. As you might
         remember at the beginning of 2018, we introduced our dynamic pricing program
         which provides increased sales incentives to our sales force for finding systems
         with the best attributes. Although it increases our customer acquisition cost,
         the improvement in system attributes more than offsets the increase in costs.

         98.       When questioned about future growth for the Company, defendant Bywater stated:

         I’ll add one thing to that, Philip. I’ll echo what Dana said. Also it’s really, really
         important that our thesis is we grow and also do well on new economics. We all
         experienced 2015 and 2016 where the market grew a bunch of companies in the
         bankruptcy and they were not growing with anything around a positive unit
         economic. You’re talking about for Vivint Solar, that’s a primary core belief
         that we have, which is we’re going to grow and we believe we’ll grow above
         market and we’re going to do it the right way with quality and with consumer
         protection and we’re going to do it around taking care of our shareholders
         with unit margins that are great. We’re going to create NPV per watt that’s
         industry-leading or on-par with our peers.

         99.       On May 9, 2019, the Company issued a press release, attached as Exhibit 99.1 to a

  Form 8-K filed with the SEC, titled “Vivint Solar Reports First Quarter 2019 Results,” announcing

  Vivint’s financial results for the quarter ended March 31, 2019 (the “May 2019 Press Release”).

  The May 2019 Press Release stated, in relevant part:

         First Quarter 2019 Operating Highlights

         Key operating and development highlights include:

               •   MW Installed of approximately 46 MWs for the quarter. Total cumulative
                   MWs installed were approximately 1,107 MWs.
               •   Installations were 6,514 for the quarter. Cumulative installations were
                   161,112.
               •   Estimated Gross Retained Value increased by approximately $54 million
                   during the quarter and is approximately $2.1 billion. Estimated Gross
                   Retained Value per Watt at quarter end was $2.04.
               •   Cost per Watt was $3.46, an increase from $3.18 in the fourth quarter of
                   2018 and an increase from $3.22 in the first quarter of 2018.
               •   Margin created was $45 million, a 29% increase from the first quarter of
                   2018. Unlevered NPV per Watt was $0.99.

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         For the second quarter of 2019, Vivint Solar expects:

             •   MW Installed: 52 - 55 MWs
             •   Cost per Watt: $3.32 - $3.40

         100.    The May 2019 Press Release also included excerpts of Vivint’s financial

  statements, stating, among other things that sales and marketing expenses totaled $29.6 million,

  general and administrative expenses totaled $23 million, and net losses of $89.2 million as of

  March 31, 2019.

         101.    Vivint also filed its quarterly report for the period ending March 31, 2019 on Form

  10-Q with the SEC on May 9, 2019 (the “1Q19 10-Q”), affirming the information provided in the

  May 2019 Press Release. The 1Q19 10-Q was signed by defendants Bywater and Russell and

  contained their signed certifications pursuant to SOX. The statements therein were the same

  statements as set forth in ¶ 93 herein.

         102.    The 1Q19 10-Q included the same, or substantially the same, language under “Risk

  Factors” regarding the impacts of restrictions on direct-selling, as well as negative perceptions of

  Vivint’s sales force as stated in ¶ 94 above.

         103.    The 1Q19 10-Q “Risk Factors” also included the following:

         We are exposed to the credit risk of our customers.

         Our customers most commonly purchase energy or lease solar energy systems from
         us pursuant to one of two types of long-term contracts: a PPA or a Solar Lease. The
         terms of PPAs and Solar Leases are typically for 20 years and require the customer
         to make monthly payments to us. Accordingly, we are subject to the credit risk
         of our customers. As of March 31, 2019, the average FICO score of our
         customers was approximately 760. However, as we grow our business, the risk
         of customer defaults could increase. Our reserve for this exposure is estimated
         to be $6.0 million as of March 31, 2019, and our future exposure may exceed
         the amount of such reserves. While we do not currently extend credit to
         customers interested in System Sales, many of those customers are interested in
         financing the purchase of a solar energy system. While these customers may seek
         third-party financing through their own lender or a lender with whom we have a
         relationship, if they do not have sufficient credit to qualify for a loan, they may be



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         unable to purchase a solar energy system. This could reduce our potential customer
         pool and limit our System Sales.

         104.    The 1Q19 10-Q included a note about legal proceedings, listing six actions, only

  two of which pertained to sales misconduct, and the general language regarding legal proceedings

  as stated in ¶ 96 above.

         105.    An earnings conference call was also held on May 9, 2019. During the call, the

  Individual Defendants reiterated the financial information, in part, as provided in the May 2019

  Press Release. Additionally, defendant Bywater stated:

         Our direct sales organization has been the foundation of our business since the
         inception of the company in 2011. We continue to adapt and change in this area as
         well. We have adjusted programs and compensation to compete with others who
         are vying for the same personnel. This competition has created a situation where
         over the past several years we have seen an inflation in customer acquisition costs
         where more of the economics are passed on to salespeople and the returns of some
         markets have decreased.

         This trend continues and competition for direct sales personnel continues to be
         fierce. As a result, cost for direct sales teams continue to increase. Therefore we
         will continue to see some increase in our overall customer acquisition costs separate
         from the portion of that cost driven by compensation structure related to our
         dynamic pricing model. We do believe that other routes with lower costs are
         emerging and will continue to expand due to customer awareness of residential
         solar, the current economic environment and the pending decrease in the tax credits.

         Direct sales will continue to be a meaningful part of our business and we will
         meet market conditions where returns are acceptable. While educating
         consumers, investment in new routes and creating the technology required to
         capture customer demand we believe ecommerce, digital marketing and
         enhanced inbound interest will accelerate and we are investing in building
         capabilities and expect a ramp-up in these areas. Similarly experience we have
         seen with retail homebuilders and inside sales.

         We are committed to creating more efficient direct routes to customers that
         improve our ability to increase returns and provide sort of more customers in
         new markets. As we are making these investments we have done a good job,
         maintaining or increasing our project value with higher system attributes and
         better margins. We hope to continue this trend while making significant
         investments both in maintaining our current programs and investing in new
         more efficient routes to market. We will keep you updated as we progress and
         give you outlooks on our key metrics.


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         106.    Bywater later added:

         I think, I’ll start with – you’ve heard me Brian, over time really talk about being
         customer-centric and we are just really focusing on bringing the right product
         to the right customer through the right channel at the right price point. And
         we’ve really worked on that. If you compare where we were even a year ago
         versus two years ago I really – it’s hard for me to express how pleased I am
         with how quickly these channels have been developing just the innate desire of
         the market to have options and they’re really pleased that we’re getting into
         these spaces. So I’ve been really pleased with that. I love how it’s developing
         and I love how we’re working to make sure that we’re just doing what’s right
         for the customer. We have not quantified it.

         For competitive reasons, I won’t quantify it. But we do believe – you’ve got our
         overall growth so you got some clarity there on what we mean. I’m hoping
         that and I’m very confident that these are pretty deep wells and that they’ll
         provide us with great growth prospects and also growth optimization over
         time. And I think the value of having multiple channels is not the right thing for
         the consumer, but allows us to optimize over time as well and find the right blend.

         So you didn’t misread my optimism and my enthusiasm about them. And there’s
         still other channels that we’re working on right now that I think are equally exciting
         and equally valuable to our consumers and to our shareholders. And that will allow
         us to get into new markets that we’re not in today with different cosmos.

         So, I couldn’t be more optimistic about our future and the way we’re approaching
         the future, with models that work today and that models will -- that will work
         tomorrow. And that constant evolution and optimization is part of our culture
         that we have and we’re very open to embracing one of the best answers for our
         consumer and for the models that work at the appropriate times in this industry.

         107.    On August 8, 2019, the Company issued a press release, attached as Exhibit 99.1

  to a Form 8-K filed with the SEC, titled “Vivint Solar Reports Second Quarter 2019 Results,”

  announcing Vivint’s financial results for the quarter ended June 30, 2019 (the “August 2019 Press

  Release”). The August 2019 Press Release stated, in relevant part:

         Second Quarter 2019 Operating Highlights

         Key operating and development highlights include:

             •   MW Installed of approximately 56 MWs for the quarter. Total cumulative
                 MWs installed were approximately 1,163 MWs.
             •   Installations were 8,163 for the quarter. Cumulative installations were
                 169,275.


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             •   Estimated Gross Retained Value increased by approximately $68 million
                 during the quarter to approximately $2.1 billion. Estimated Gross Retained
                 Value per Watt at quarter end was $2.02.
             •   Cost per Watt was $3.56, an increase from $3.46 in the first quarter of 2019
                 and an increase from $3.23 in the second quarter of 2018.
             •   Margin created was $49 million, a 21% increase from the second quarter of
                 2018. Unlevered NPV per Watt was $0.88.

                                            *      *       *

         For the third quarter of 2019, Vivint Solar expects:

             •   MW Installed: 62 - 65 MWs
             •   Cost per Watt: $3.36 - $3.44

         108.    The August 2019 Press Release also included excerpts of Vivint’s financial

  statements, stating, among other things that sales and marketing expenses totaled $66.7 million,

  general and administrative expenses totaled $54.3 million, and net losses of $176.9 million for the

  six months ended June 30, 2019.

         109.    Vivint also filed its quarterly report for period ending June 30, 2019 on Form 10-Q

  with the SEC on August 8, 2019 (the “2Q19 10-Q”), affirming the information provided in the

  August 2019 Press Release. The 2Q19 10-Q was signed by defendants Bywater and Russell and

  contained their signed certifications pursuant to SOX. The statements therein were the same

  statements as set forth in ¶ 93 herein.

         110.    The 2Q19 10-Q included the same, or substantially the same, language under “Risk

  Factors” regarding the impacts of restrictions on direct-selling, as well as negative perceptions of

  Vivint’s sales force as stated in ¶ 94 above.

         111.    The 2Q19 10-Q “Risk Factors” also included the following:

         We are exposed to the credit risk of our customers.

         Our customers most commonly purchase energy or lease solar energy systems from
         us pursuant to one of two types of long-term contracts: a PPA or a Solar Lease. The
         terms of PPAs and Solar Leases are typically for 20 years and require the customer
         to make monthly payments to us. Accordingly, we are subject to the credit risk


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         of our customers. As of June 30, 2019, the average FICO score of our
         customers was approximately 755. However, as we grow our business, the risk
         of customer defaults could increase. Our reserve for this exposure is estimated
         to be $6.9 million as of June 30, 2019, and our future exposure may exceed the
         amount of such reserves. While we do not currently extend credit to customers
         interested in System Sales, many of those customers are interested in financing the
         purchase of a solar energy system. While these customers may seek third-party
         financing through their own lender or a lender with whom we have a relationship,
         if they do not have sufficient credit to qualify for a loan, they may be unable to
         purchase a solar energy system. This could reduce our potential customer pool and
         limit our System Sales.

         112.    The 2Q19 10-Q included a note about legal proceedings, listing six actions, only

  two of which pertained to sales misconduct, and the general language regarding legal proceedings

  as stated in ¶ 96 above.

         113.    Further, the 2Q19 10-Q stated the following about general and administrative

  expenses:

         General and administrative expenses include personnel costs, such as salaries,
         bonuses and stock-based compensation related to our general and administrative
         personnel; professional fees related to legal, human resources, accounting and
         structured finance services; travel; and allocated facilities and information
         technology costs. In the second half of 2019, we expect general and
         administrative expenses to decrease in absolute dollars compared to the first
         half of 2019.

         114.    Defendants held an earnings conference call on August 8, 2019 as well. During the

  earnings conference call, the Individual Defendants reiterated the financial information provided

  in the August 2019 Press Release and 2Q19 10-Q. Defendant Bywater commented on the direct

  sales model, stating, in relevant part:

         Competition for our direct sales organization has created inflation over the
         past several years in customer acquisition costs. This trend continues and
         competition for direct sales personnel continues to be intense. As a result, costs
         for direct sales teams have increased. Therefore, we have seen and may continue
         to see some increase in our overall customer acquisition costs, separate from the
         portion of that cost driven by compensation structure related to our dynamic pricing
         model. We do believe that other routes with lower costs are emerging and will
         continue to expand due to customer awareness of residential solar.



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         115.    When asked about general and administrative expenses, defendant Russell stated:

         We won’t have any significant ramp-ups in G&A expense. There will be some as
         we develop more programs as we have more volume, there will be some, but it
         certainly won’t scale proportionate to volume increases or things like that. So, we
         feel pretty good about the expense structure. I think we have talked about making
         some investments in ecommerce and in other elements that we think are valuable
         for us that are investments in the future. And those are the kind of things that we
         will be proactive about and make investments in, because we think it will contribute
         and help deliver volume in a more affordable way in the future, but we don’t see
         any kind of significant ramp up in our G&A or back office expenses.

         116.    The above statements were materially false and/or misleading and/or failed to

  disclose that: (i) the Company repeatedly engaged in deceptive, fraudulent, and unethical sales

  practices, such as forgery and unauthorized credit checks; (ii) that as a result, the Company’s

  reported sales and megawatts installed were overstated; (iii) that as a result, the Company’s general

  and administrative expenses were understated; (iv) that as a result, the Company’s average

  customer credit score was misstated; (v) that the sales practices were likely, and did, lead to

  regulatory scrutiny; (vi) that the sales practices were likely to, and did, lead to a multitude of

  individual and class action lawsuits; (vii) that as a result, the Company would be forced to, inter

  alia, accept contract cancellations and institute costly remedial and proactive measures; (viii) that

  as a result, the Company’s earnings would be materially and adversely impacted; and (ix) that, as

  a result of the foregoing, Defendants’ positive statements about the Company’s business,

  operations, and prospects were materially misleading and/or lacked a reasonable basis.

  VI.    THE TRUTH EMERGES

         117.    On September 27, 2019, the Marcus Aurelius Report was issued, describing a

  “largely concealed [] growing pattern of undisclosed lawsuits alleging [Vivint] has engaged in a

  nationwide fraud involving forged customer contracts.” The Marcus Aurelius Report went on to

  describe various allegations made in lawsuits against Vivint, attaching a list of “28 undisclosed

  lawsuits.”


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         118.    As more fully described in Section IV.C. above and in Appendix A, as Marcus

  Aurelius reported, the lawsuits, among other things:

             •   specifically allege Vivint forged customer contracts or otherwise engaged
                 in fraud or deception . . . . Not only do lawsuits argue that Vivint “regularly
                 forges signatures” on bogus solar contracts but that, despite being “routinely
                 placed on notice about its sales agents committing forgery, fraud, and
                 impermissible credit pulls”, Vivint continues to prey on consumers and
                 even “promotes its employees for this conduct”;

             •   repeatedly accuse Vivint of forging signatures of homeowners, including
                 elderly, disabled, and non-english speaking families onto contracts the
                 potential customers never reviewed or agreed to;

             •   [and in] [a]n instance of “blatant forgery” [in one lawsuit] Vivint was so
                 careless it inserted the wrong initials of the homeowner into the sham
                 contract; and,

             •   accuse Vivint of inserting forged signatures of complete strangers,
                 neighbors, renters, and relatives onto sham contracts.

         119.    The Marcus Aurelius Report also noted that “[c]ourt documents filed in [one]

  case . . . reveal that Vivint was aware of ‘six other instances of fraud alleged to have been

  committed’ by [a] rep from 2016-2017. Yet the rep appears to have remained employed at Vivint

  until 2019. In our view, this gives credibility to allegations that Vivint tacitly condones or

  encourages this behavior.”

         120.    In discussing the reasoning behind the failure to disclose these lawsuits, Marcus

  Aurelius stated:

         Vivint must constantly generate large amounts of new solar contracts each quarter
         to sustain itself. The fundamental problem, in our opinion, is that a pattern of
         undisclosed lawsuits allege that the company’s contracts are a product of fraud and
         outright forgery. We see a distinct risk that these alleged misdeeds have been
         deployed to mask weakness in the underlying business, especially considering that
         Vivint has missed revenue estimates in four of the last five quarters. Since 2016,
         “at least 11 former residential solar market leaders have been shuttered, entered into
         bankruptcy, or have been acquired for pennies on the dollar of capital raised”,
         according to Bloomberg, which also found that industry-wide “the share of [solar]
         systems that were financed using a PPA or lease has declined from over 60% in 1Q
         2016 to under 40% today. More customers are choosing to buy their systems


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         outright from local installers”. Vivint’s own 10-K admits that “we believe the solar
         industry is becoming increasingly commoditized”, which is particularly unsettling
         considering that Vivint has already burned more than $230 million in cash from
         operations since 2016, and now carries more than $1.3 Billion in total debt.

         Farcically, Vivint’s financials appear to anticipate nearly zero customer defaults,
         with the company having set aside only a mere $6.9 million in provisions against
         $2.1 Billion in gross contractual value. Vivint retains large stakes in the investment
         funds it sells solar contracts to, which is why Vivint consolidates these funds into
         its financial statements. We therefore believe that any incremental increase in
         contractual defaults, including from any forged, invalidated, and unenforceable
         contracts, would lead directly to losses that would be magnified by the leverage
         created by Vivint’s debt load.

         We also see a significant risk coming from Vivint’s dependence on financing from
         a limited number of institutional tax credit investors who participate in Vivint’s
         funds and securitizations. If the solar tax credits paid by the government to Vivint
         and its investors are tied to bogus contracts, is this money at risk? Furthermore,
         how long would these institutions stick around if they determine that the contracts
         are polluted by fraud? We note that the company’s 10-K also warns that “for
         example, if we experience higher customer defaults rates than we are currently
         experiencing in our existing investment funds, it could be more difficult or costly
         to attract future financing”.

         121.   On this news, Vivint’s share price fell $0.14 per share, or over 2%, to close at $6.55

  per share on September 27, 2019, on unusually high trading volume. Over the next two trading

  days, the Company’s share price continued to drop, closing at $6.38 per share on October 1, 2019,

  a 4.6% decrease from the closing share price on September 26, 2019.

  VII.   POST CLASS PERIOD REVELATIONS

         122.   As stated above at Section IV.C., on October 24, 2019 it was announced that Vivint

  had agreed to pay $122,000 and institute certain protective and remedial sales measures pursuant

  to an investigation by the New Jersey AG. On January 6, 2020, it was announced that Vivint

  would pay $1.95 million and institute certain protective and remedial sales measures pursuant to

  an investigation by the NYAG.

         123.   On March 10, 2020, Vivint issued its financial results for the quarter and year ended

  December 31, 2019. The Company’s annual report filed with the SEC on Form 10-K (the “2019


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  Form 10-K”) showed an increase of general and administrative expenses from $93.7 million as of

  December 31, 2018 to $117.8 million as of December 31, 2019. The 2019 Form 10-K explained

  that “the $24.1 million increase was primarily due to an $11.7 million increase in legal settlement

  costs, a $4.9 million increase in compensation and benefits, including stock-based compensation,

  a $3.9 million increase in professional fees and a $2.7 million increase in insurance costs.”

  Compared to December 31, 2018, net losses increased by almost 1.5x, from $279.6 million as of

  December 31, 2018 to $423.3 million as of December 31, 2019.

          124.    On this news, the Company’s share price decreased by almost 14%, from a closing

  price per share of $9.59 on March 10, 2020, to a closing price per share of $8.25 on March 11,

  2020.

  VIII. ADDITIONAL SCIENTER ALLEGATIONS

          125.    As alleged herein, each of the Individual Defendants acted with scienter in that they

  knowingly or recklessly disregarded that the information disseminated to the public contained

  materially false and/or misleading information and omitted material information. Throughout the

  Class Period, the Individual Defendants acted intentionally or in such a deliberately reckless

  manner as to constitute a fraud upon Lead Plaintiffs and the Class. Such actions caused the price

  of Vivint securities to be artificially inflated.

          126.    In their respective roles as CEO and CFO of Vivint, the Individual Defendants were

  able to, and did, control the information disseminated to the investing public in the Company’s

  various SEC filings, press releases, and other public statements during the Class Period. As a

  result, each had the opportunity to falsify the information provided to the public regarding Vivint’s

  business and performance.




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         127.       First, each of the Individual Defendants themselves repeatedly made detailed

  statements based on purported personal knowledge as to Vivint’s direct sales model, sales

  practices, and financial position. See, e.g., ¶¶ 93-98, 105, 115.

         128.       Second, Vivint’s corporate culture supports scienter. As described by CW4,

  defendant Bywater would send emails to the Company’s entire sales team urging representatives

  to “pick it up” when sales numbers were down. According to CW5, an entire new team had to be

  created because the Customer Service department had “too much on their plate.” CW2 stated:

  “It’s Vivint’s culture. They just kind of look the other way. If you were a serial killer and just got

  out of prison today but you could install several hundred accounts, they would give you a job.”

  CW2 also stated that instead of firing top performing sales representatives known to be using

  fraudulent sales tactics, the Company simply moved them to a different location – “They’ve moved

  guys out of states because they got in too much trouble [in one location], so they moved them to a

  different market.” See also Section IV.C.

         129.       Third, as admitted by the Company in numerous public documents, the direct sales

  model was the primary manner in which Vivint sold its primary product, the solar energy systems.

         130.       Fourth, as noted by the Marcus Aurelius Report, the “uniformity in tactics,” indeed

  “virtually identical corrupt practices” “across the county” could not have been continued for

  “multiple years” without the Individual Defendants “either directing” the conduct or being aware

  of the conduct.

         131.       Fifth, besides the fact that it would be inconceivable for a Company’s CEO and

  CFO to not have knowledge of multiple government investigations such as the investigations by

  the New Jersey AG and NYAG, in addition to a multitude of other individual and class actions,

  CWs have confirmed that the Individual Defendants participated in certain sales meeting and




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  received notice of complaints of deceptive sales practices. CW4 stated that weekly telephone

  conference calls were held with Vivint’s sales managers, attended by Chief Sales Officer Allred

  and occasionally by defendant Bywater where deceptive sales practices, including forgery, were

  discussed. CW5 confirmed that not only did Bywater directly receive customer complaints, but

  that he had access to the ER team’s customer complaint spreadsheet. CW5 also stated that Bywater

  and other senior leaders met weekly with the Senior Manager of Executive Resolutions to discuss

  customer complaints, in addition to receiving emails containing summaries of customer complaint

  investigations. CW2 stated that serious allegations against sales staff, such as forgery, were sent

  to Allred, Bywater, and other senior management. See also Section IV.C.

         132.    Sixth, as plainly admitted by Defendants in Vivint’s public statements, the

  Company is heavily reliant on, and its “success depends on [its] ability to raise capital from third-

  party investors and commercial sources, such as banks and other lenders, on competitive terms to

  help finance the deployment of our solar energy systems.” Vivint:

         rel[ies] on investment funds in order to provide solar energy systems with little to
         no upfront costs to our customers under our PPAs and Solar Leases. We also rely
         on access to capital, including through indebtedness in the form of debt facilities
         and asset-backed securities, to cover the costs of our solar energy systems that are
         sold outright until the systems are paid for by our customers, whether by cash or
         through third-party financing arrangements.

         133.    Furthermore, as admitted by the Defendants:

         The contract terms in certain of our investment fund documents impose
         conditions on our ability to draw on financing commitments from the fund
         investors, including if an event occurs that could reasonably be expected to
         have a material adverse effect on the fund or on us. The terms and conditions
         of our investment funds can vary and may require us to alter our products, services
         or product mix. If we do not satisfy such conditions due to events related to our
         business or a specific investment fund or developments in our industry or
         otherwise, and as a result we are unable to draw on existing commitments, our
         inability to draw on such commitments could have a material adverse effect
         on our business, liquidity, financial condition and prospects. In addition to
         our inability to draw on the investors’ commitments, we have in the past
         incurred and may in the future incur financial penalties for non-performance,


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        including delays in the installation process and interconnection to the power
        grid of solar energy systems and other factors. Based on the terms of the
        investment fund agreements, we will either reimburse a portion of the fund
        investor’s capital or pay the fund investor a nonperformance fee.

        To meet the capital needs of our growing business, we will need to obtain additional
        financing from new investors and financial institutions and investors and financial
        institutions who are current investors or with whom we currently have financing
        arrangements. If any of the investors or financial institutions that currently provide
        financing decide not to invest in us in the future due to general market conditions,
        concerns about our business or prospects or any other reason, or decide to invest at
        levels that are inadequate to support our anticipated needs or materially change the
        terms under which they are willing to provide future financing, we will need to
        identify new investors and financial institutions to provide financing and negotiate
        new financing terms. In addition, our ability to obtain additional financing through
        the asset-backed securities market or other secured debt markets is subject to our
        having sufficient assets eligible for securitization as well as our ability to obtain
        appropriate credit ratings. If we are unable to raise additional capital in a timely
        manner, our ability to meet our capital needs and fund future growth may be
        limited.

        In the past, we have sometimes been unable to timely establish investment funds in
        accordance with our plans, due in part to the relatively limited number of investors
        attracted to such types of funds, competition for such capital and the complexity
        associated with negotiating the agreements with respect to such funds. Delays in
        raising financing could cause us to delay expanding in existing markets or
        entering into new markets and hiring additional personnel. Any future delays
        in capital raising could similarly cause us to delay deployment of a substantial
        number of solar energy systems for which we have signed PPAs or Solar
        Leases with customers. Our future ability to obtain additional financing
        depends on banks’ and other financing sources’ continued confidence in our
        business model and the renewable energy industry as a whole. It could also be
        impacted by the liquidity needs of such financing sources themselves. We face
        intense competition from a variety of other companies, technologies and financing
        structures for such limited investment capital. If we are unable to continue to offer
        a competitive investment profile, we may lose access to these funds or they may
        only be available to us on terms that are less favorable than those received by our
        competitors. For example, if we experience higher customer default rates than
        we currently experience in our existing investment funds, it could be more
        difficult or costly to attract future financing. In our experience, there are a
        relatively small number of investors that generate sufficient profits and possess the
        requisite financial sophistication to benefit from and have significant demand for
        the tax benefits that our investment funds provide. Historically, in the distributed
        solar energy industry, investors have typically been large financial institutions and
        a few large, profitable corporations. Our ability to raise investment funds is limited
        by the relatively small number of such investors. Any inability to secure
        financing could lead us to cancel planned installations, impair our ability to


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           accept new customers or increase our borrowing costs, any of which would
           have a material adverse effect on our business, financial condition, results of
           operations and prospects.

           134.     Vivint’s business model completely depends on financing and the Company would

  not be able to operate without the financing. Thus, any material events, such as a decrease in sales

  or a large number of lawsuits, would likely lead to not only a loss of future financing, but failure

  to satisfy conditions of current financings, disrupting the Company’s business model on an

  exponential scale.

           135.     Seventh, while in possession of material, nonpublic information regarding Vivint’s

  extensive deceptive sales practices and the resulting lawsuits and investigations, the Individual

  Defendants together reaped over $2 million in net proceeds from highly suspicious stock sales.

           136.     Defendant Bywater sold 153,900 shares of Vivint stock during the Class Period,

  reaping net proceeds of over $1 million and reducing his share holdings from 1,326,397 shares to

  1,098,432 shares. 8 Bywater had no stock sales for the seven months preceding the Class Period,

  and only sold only 77,380 shares during the comparable period in 2018 and only 79,900 for the

  entire year of 2017. 9 Thus, Bywater was highly motivated to engage in the alleged fraudulent

  scheme and issue materially false and misleading statements and/or omit material facts in order to

  inflate Vivint’s securities price and maximize individual profits.

               Date              No. Shares             Price Per Share                      Proceeds
                                    Sold
           04/25/2019              51,300                       $6.00                      $307,800.00
           05/07/2019              51,300                       $6.50                      $333,450.00
           05/08/2019              51,300                       $7.00                      $359,100.00
            TOTAL                 153,900                                                 $1,000,350.00



  8
     Bywater sold an additional 61,310 shares during the Class Period for net proceeds of $391,878.32 to cover tax
  withholding obligations in connection with the settlement of awards of restricted stock units and gifted 12,755 shares.
  9
    Numbers exclude sales to cover tax withholding obligations in connection with the settlement of awards of restricted
  stock units.


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           137.     Defendant Russell sold 153,900 shares of Vivint stock during the Class Period,

  reaping net proceeds of over $1 million and reducing his share holdings from 506,824 shares to

  330,712 shares. 10 Russell had no stock sales for the seven months preceding the Class Period, and

  only sold only 115,855 shares during the comparable period in 2018 and only 62,500 for the entire

  year of 2017. 11 Thus, Russell was highly motivated to engage in the alleged fraudulent scheme

  and issue materially false and misleading statements and/or omit material facts in order to inflate

  Vivint’s securities price and maximize individual profits.

               Date              No. Shares             Price Per Share                      Proceeds
                                    Sold
           04/25/2019              51,300                       $6.00                      $307,800.00
           05/07/2019              51,300                       $6.50                      $333,450.00
           05/08/2019              51,300                       $7.00                      $359,100.00
            TOTAL                 153,900                                                 $1,000,350.00

  IX.      LOSS CAUSTION

           138.     During the Class Period, as detailed herein, Defendants engaged in a fraudulent

  scheme to deceive the market that artificially inflated the price of Vivint securities and operated

  as a fraud or deceit on Class Period purchasers of Vivint securities.

           139.     Defendants’ materially false and/or misleading statements and omissions

  concealed, inter alia, Vivint’s fraudulent and deceptive sales practices, resulting lawsuits and

  investigations, and increased regulatory scrutiny. As detailed above, when the truth was revealed,

  the price of Vivint securities declined significantly as the prior artificial inflation was removed

  from the Company’s stock price.




  10
     Russell sold an additional 49,275 shares during the Class Period for net proceeds of $267,711.73 to cover tax
  withholding obligations in connection with the settlement of awards of restricted stock units.
  11
     Numbers exclude sales to cover tax withholding obligations in connection with the settlement of awards of restricted
  stock units.


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         140.    As a result of their purchases of Vivint securities during the Class Period, at

  artificially inflated prices, Lead Plaintiffs and the Class suffered damages under the federal

  securities laws.

         141.    The artificial inflation created by Defendants’ misrepresentations and omissions

  was removed when the Marcus Aurelius Report revealed the substantial number of undisclosed

  lawsuits alleging consistent repeated use of deceptive and fraudulent sales practices by Vivint sales

  representatives across the country. See ¶¶ 117-21. Following this disclosure, Vivint’s share price

  declined by $0.14 per share, over 2%, on heavier than usual trading volume, to close on September

  27, 2019 at $6.55 per share. Vivint’s share price continued to drop over the next two trading days

  on heavier than usual trading volume to finally close at $6.38 per share on October 1, 2019, an

  overall decrease of 4.6%.

         142.    The timing and magnitude of the price decline in Vivint’s stock on the date of the

  disclosure above negates any inference that the losses suffered by Lead Plaintiffs and the Class

  were caused by changed market conditions, macroeconomic or industry facts, or Company-

  specific facts unrelated to Defendants’ fraudulent conduct.

         143.    The damages suffered by Lead Plaintiffs and the Class were the direct and

  proximate result of Defendants’ materially false and misleading statements and omissions that

  artificially inflated the Company’s stock price and the subsequent significant decline in the value

  of the Company’s stock when the truth concerning Defendants’ prior misrepresentations and

  fraudulent conduct were revealed.

  X.     NO SAFE HARBOR

         144.    The statutory safe harbor provided for forward-looking statements under certain

  circumstances does not apply to any of the statements alleged to be false and/or misleading herein.




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  The statements complained of herein were historical statements or statements of then-existing facts

  and conditions at the time the statements were made and/or were material omissions.

         145.    To the extent that statements alleged to be false and/or misleading could be

  construed as forward-looking, the statutory safe harbor does not apply to such statements because

  they were not sufficiently identified as “forward-looking statements” when made, there were no

  meaningful cautionary statements identifying important factors that could cause actual results to

  differ materially from those in the forward-looking statements, and/or Defendants had actual

  knowledge that the forward-looking statements were materially false or misleading at the time

  each such statement was made.

  XI.    PRESUMPTION OF RELIANCE; FRAUD-ON-THE-MARKET

         146.    The market for Vivint securities was open, well-developed, and efficient at all

  relevant times. As a result of Defendants’ materially false and/or misleading statements and

  material omissions, Vivint stock traded at artificially inflated prices during the Class Period. Lead

  Plaintiffs and the Class purchased or otherwise acquired the Company’s stock relying on the

  integrity of the market price of such securities and on publicly available market information

  relating to Vivint, and have been damaged thereby.

         147.    During the Class Period, the artificial inflation of the value of Vivint’s stock was

  caused by the material misrepresentations and omissions particularized in this Complaint, thereby

  causing the damages sustained by Lead Plaintiffs and the Class. As described herein, during the

  Class Period, Defendants made or caused to be made a series of materially false or misleading

  statements about the Company’s business, prospects, and operations, causing the price of the

  Company’s stock to be artificially inflated at all relevant times. When the truth was disclosed, it




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  drove down the value of the Company’s stock, causing Lead Plaintiffs and other Class members

  that had purchased the stock at artificially inflated prices to be damaged as a result.

         148.    Lead Plaintiffs will rely, in part, upon the presumption of reliance established by

  the fraud-on-the-market doctrine in that:

             •   Defendants made public misrepresentations or failed to disclose material facts
                 during the Class Period;

             •   the omissions and misrepresentations were material;

             •   Vivint securities are traded in an efficient market;

             •   the Company’s shares were liquid and traded with moderate to heavy volume
                 during the Class Period;

             •   the Company traded on the NYSE and was covered by analysts;

             •   the misrepresentations and omissions alleged would tend to induce a reasonable
                 investor to misjudge the value of the Company’s securities; and

             •   Lead Plaintiffs and members of the Class purchased, acquired and/or sold Vivint
                 securities between the time the Defendants failed to disclose or misrepresented
                 material facts and the time the true facts were disclosed, without knowledge of the
                 omitted or misrepresented facts.

         149.    Based upon the foregoing, Lead Plaintiffs and the Class are entitled to a

  presumption of reliance upon the integrity of the market.

         150.    Alternatively, Lead Plaintiffs and the Class are entitled to the presumption of

  reliance established by the Supreme Court in Affiliated Ute Citizens of the State of Utah v. United

  States, 406 U.S. 128 (1972), as Defendants omitted material information in their Class Period

  statements in violation of a duty to disclose such information, as detailed above.

  XII.   CLASS ACTION ALLEGATIONS

         151.    Lead Plaintiffs bring this action as a class action pursuant to Federal Rule of Civil

  Procedure 23(a) and (b)(3) on behalf of a Class consisting of all persons who purchased or

  otherwise acquired Vivint securities between March 5, 2019 and September 26, 2019, inclusive,


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  and who were damaged thereby. Excluded from the Class are Defendants, the officers and

  directors of the Company, at all relevant times, members of their immediate families and their

  legal representatives, heirs, successors, or assigns and any entity in which any excluded person or

  entity has or had a controlling interest.

         152.    The members of the Class are so numerous that joinder of all members is

  impracticable. Throughout the Class Period, Vivint securities were actively traded on the NYSE.

  As of March 1, 2019, Vivint had over 120 million shares of common stock issued and outstanding.

  While the exact number of Class members is unknown to Lead Plaintiffs at this time and can be

  ascertained only through appropriate discovery, Lead Plaintiffs believe that there are hundreds or

  thousands of members of the proposed Class. Record owners and other members of the Class can

  be identified from records maintained by Vivint or its transfer agent and notified of the pendency

  of this action by mail, using the form of notice similar to that customarily used in securities class

  actions.

         153.    Lead Plaintiffs’ claims are typical of the claims of the Class as all members of the

  Class were similarly affected by Defendants’ wrongful conduct in violation of federal law that is

  complained of herein.

         154.    Lead Plaintiffs will fairly and adequately protect the interests of the Class and have

  retained counsel competent and experienced in class and securities litigation. Lead Plaintiffs have

  no interests antagonistic to or in conflict with those of the Class.

         155.    Common questions of law and fact exist as to all members of the Class and

  predominate over any questions solely affecting individual Class members. Among the questions

  of law and fact common to the Class are:

             •   whether the federal securities laws were violated by Defendants’ acts as alleged
                 herein;



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              •   whether statements made (or omissions) by Defendants to the investing public
                  during the Class Period misrepresented (or omitted) material facts about the
                  business, operations, and management of Vivint, in particular the Company’s
                  deceptive sales practices, legal battles, and resulting effects on Vivint, including,
                  but not limited to, overstatements of reported sales and megawatts installed as the
                  Company would be forced to exit the contracts in some instances and/or reimburse
                  customers, misstatements of reported customer credit scores, understatements of
                  legal expenses, increased regulatory scrutiny, and as a result of the foregoing,
                  earnings misstatements;

              •   whether Defendants acted knowingly or recklessly in issuing false and misleading
                  statements (or omissions);

              •   whether the prices of Vivint securities during the Class Period were artificially
                  inflated because of Defendants’ conduct complained of herein; and

              •   whether the members of the Class have sustained damages and, if so, what is the
                  proper measure of damages.

          156.    A class action is superior to all other available methods for the fair and efficient

  adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

  damages suffered by individual Class members may be relatively small, the expense and burden

  of individual litigation makes it impossible for members of the Class to individually redress the

  wrongs done to them. There will be no difficulty in the management of this action as a class action.

  XIII. CAUSES OF ACTION

                                               COUNT I

                            Violations of Section 10(b) of the Exchange Act
                            and SEC Rule 10b-5 Promulgated Thereunder
                                       (Against All Defendants)

          157.    Lead Plaintiffs repeat and re-allege each and every allegation contained above as if

  fully set forth herein.

          158.    During the Class Period, Defendants carried out a plan, scheme, and course of

  conduct, which was intended to, and throughout the Class Period, did: (i) deceive the investing

  public, including Lead Plaintiffs and other Class members, as alleged herein; (ii) artificially inflate



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  and maintain the market price of Vivint securities; and (iii) cause Lead Plaintiffs and other

  members of the Class to purchase or otherwise acquire Vivint securities at artificially inflated

  prices. In furtherance of this unlawful scheme, plan, and course of conduct, Defendants, and each

  of them, took the actions set forth herein.

         159.    Defendants (i) employed devices, schemes, and artifices to defraud; (ii) made

  untrue statements of material facts or omitted to state material facts necessary in order to make the

  statements made, in light of the circumstances under which they were made, not misleading; and

  (iii) engaged in acts, practices, and a course of business which operated as a fraud and deceit upon

  the purchasers of the Company’s securities during the Class Period in an effort to maintain

  artificially high market prices for Vivint’s securities in violation of Section 10(b) of the Exchange

  Act and SEC Rule 10b-5 promulgated thereunder.

         160.    Defendants, individually and in concert, directly and indirectly, by the use, means

  or instrumentalities of interstate commerce and/or of the mails, engaged and participated in a

  continuous course of conduct to conceal and misrepresent adverse material information about the

  Company’s business, operations, and financial results, as specified herein.

         161.    Pursuant to the above plan, scheme, and course of conduct, each of the Defendants

  participated directly or indirectly in the preparation and/or issuance of the quarterly and annual

  reports, SEC filings, press releases, and other statements and documents described above,

  including statements made to securities analysts and the media that were designed to influence the

  market for Vivint securities. Such reports, filings, releases, and statements were materially false

  and misleading in that they failed to disclose material adverse information and misrepresented

  Vivint’s true condition.




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         162.    The Company and the Individual Defendants had actual knowledge of the

  materially false and misleading statements and material omissions alleged herein and intended

  thereby to deceive Lead Plaintiffs and the other members of the Class, or, in the alternative,

  Defendants acted with reckless disregard for the truth in that they failed or refused to ascertain and

  disclose such facts as would reveal the materially false and misleading nature of the statements

  made, although such facts were readily available to Defendants. Said acts and omissions of

  Defendants were committed willfully or with reckless disregard for the truth. In addition, each

  Defendant knew or recklessly disregarded that material facts were being misrepresented or omitted

  as described above.

         163.    Information showing that Defendants acted knowingly or with reckless disregard

  for the truth is peculiarly within Defendants’ knowledge and control. As senior officers of Vivint,

  the Individual Defendants had knowledge of the details of Vivint’s internal affairs.

         164.    The Individual Defendants are liable both directly and indirectly for the wrongs

  complained of herein.      Because of their positions of control and authority, the Individual

  Defendants were able to and did, directly or indirectly, control the content of the statements of

  Vivint. As senior officers of a publicly-held company, the Individual Defendants had a duty to

  disseminate timely, accurate, and truthful information with respect to Vivint’s businesses,

  operations, financial condition, and future prospects. As a result of the dissemination of the

  aforementioned false and misleading reports, releases, and public statements, the market price of

  Vivint securities was artificially inflated throughout the Class Period. In ignorance of the adverse

  facts concerning Vivint’s business and financial condition which were concealed by Defendants,

  Lead Plaintiffs and the Class purchased or otherwise acquired Vivint securities at artificially




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  inflated prices and relied upon the price of the securities, the integrity of the market for the

  securities and/or upon statements disseminated by Defendants, and were damaged thereby.

         165.    During the Class Period, Vivint securities were traded on an active and efficient

  market. Lead Plaintiffs and the Class, relying on the materially false and misleading statements

  described herein, which the Defendants made, issued, or caused to be disseminated, or relying

  upon the integrity of the market, purchased or otherwise acquired shares of Vivint securities at

  prices artificially inflated by Defendants’ wrongful conduct. Had Lead Plaintiffs and the Class

  known the truth, they would not have purchased or otherwise acquired said securities, or would

  not have purchased or otherwise acquired them at the inflated prices that were paid. At the time

  of the purchases and/or acquisitions by Lead Plaintiffs and the Class, the true value of Vivint

  securities was substantially lower than the prices paid by Lead Plaintiffs and the Class. The market

  price of Vivint securities declined sharply upon public disclosure of the facts alleged herein to the

  injury of Lead Plaintiffs and the Class.

         166.    By reason of the conduct alleged herein, Defendants knowingly or recklessly,

  directly or indirectly, have violated Section 10(b) of the Exchange Act and SEC Rule 10b-5.

         167.    As a direct and proximate result of Defendants’ wrongful conduct, Lead Plaintiffs

  and the Class suffered damages in connection with their respective purchases, acquisitions, and

  sales of the Company’s securities during the Class Period, upon the disclosure that the Company

  had been disseminating material misrepresentations to the investing public.

                                              COUNT II

                          Violations of Section 20(a) of the Exchange Act
                               (Against the Individual Defendants)

         168.    Lead Plaintiffs repeat and re-allege each and every allegation contained in the

  foregoing paragraphs as if fully set forth herein.



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         169.    During the Class Period, the Individual Defendants participated in the operation

  and management of Vivint, and conducted and participated, directly and indirectly, in the conduct

  of Vivint’s business affairs. Because of their senior positions, they knew the adverse non-public

  information about Vivint’s misstatements.

         170.    As directors and senior officers of a publicly owned company, the Individual

  Defendants had a duty to disseminate accurate and truthful information with respect to Vivint’s

  financial condition and results of operations, and to correct promptly any public statements issued

  by Vivint which had become materially false or misleading.

         171.    Because of their positions of control and authority as directors and senior officers,

  the Individual Defendants were able to, and did, control the contents of the various reports, press

  releases, and public filings which Vivint disseminated in the marketplace during the Class Period.

  Throughout the Class Period, the Individual Defendants exercised their power and authority to

  cause Vivint to engage in the wrongful acts complained of herein. The Individual Defendants

  therefore, were “controlling persons” of Vivint within the meaning of Section 20(a) of the

  Exchange Act. In this capacity, they participated in the unlawful conduct alleged which artificially

  inflated the market price of Vivint securities.

         172.    Each of the Individual Defendants, therefore, acted as a controlling person of

  Vivint. By reason of their senior management positions and/or being a director of Vivint, each of

  the Individual Defendants had the power to direct the actions of, and exercised the same to cause,

  Vivint to engage in the unlawful acts and conduct complained of herein. Each of the Individual

  Defendants exercised control over the general operations of Vivint and possessed the power to

  control the specific activities which comprise the primary violations about which Lead Plaintiffs

  and the other members of the Class complain.




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         173.    By reason of the above conduct, the Individual Defendants are liable pursuant to

  Section 20(a) of the Exchange Act for the violations committed by Vivint.

                                      PRAYER FOR RELIEF

         WHEREFORE, Lead Plaintiffs pray for judgment against Defendants as follows:

         A.      Determining that the instant action may be maintained as a class action under Rule

  23 of the Federal Rules of Civil Procedure, and certifying Lead Plaintiffs as the Class

  representatives;

         B.      Awarding compensatory damages in favor of Lead Plaintiffs and the other Class

  members against all Defendants, jointly and severally, for all damages sustained as a result of

  Defendants’ wrongdoing, in an amount to be proven at trial;

         C.      Awarding Lead Plaintiffs and the other members of the Class prejudgment and

  post-judgment interest, as well as their reasonable attorneys’ fees with interest, expert fees, and

  other costs; and

         D.      Awarding such other and further relief as this Court may deem just and proper.

                                DEMAND FOR TRIAL BY JURY

         Lead Plaintiffs hereby demand a trial by jury.

  Dated: June 29, 2020                             BRAGAR EAGEL & SQUIRE, P.C.

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                                                   -and-




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                                         Lead Counsel for Lead Plaintiffs
                                         and the Proposed Class




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                                      Known Deceptive Sales Practices Lawsuits

Date Filed     Case Name            Case Number           Location                        Deceptive Sales Practice
10/9/2015  Luckett v. Vivint       37-2015-        California Superior       • Pressured homeowners to sign PPA Agreement
           Solar Developer,        00034010        Court, San Diego            without explaining its full terms
           LLC                                     County
12/22/2016 Littlejohn v. Vivint    1:16-cv-09446   United States District    • Obtained Plaintiff’s consumer credit score without
           Solar, Inc.                             Court, District of New      a permissible purpose
                                                   Jersey
10/30/2017 Ibrahim v. Vivint       30-2017-        California Superior       • Forged Plaintiff’s signature on a contract
           Solar Developer,        00952409        Court, Orange County      • Impersonated an agent of Southern California
           LLC                                                                 Edison
                                                                             • Lied about cost of solar panels
                                                                             • Lied about terms of “release” Plaintiff signed
11/16/2017 Southern                2:17-cv-08388   United States District    • Falsely represented themselves to be Edison
           California Edison                       Court, Central District     representatives
           Company and                             of California             • Defendants are using counterfeit Edison
           Edison                                                              trademarks in its marketing efforts
           International v.
           Vivint Solar, Inc.
12/13/2017 Davenport v.            2017-CP-38-     South Carolina Court      • Sold solar panels to an obviously incompetent
           Vivint Solar            01689           of Common Pleas of          individual who is unable to make a business
           Developer, LLC                          the First Judicial          transaction
                                                   Circuit – County of       • Pressured elderly person with aggressive tactics
                                                   Orangeburg                • Created an email account for Plaintiff without
                                                                               consent
1/20/2018    Droney v. Vivint      1:18-cv-00849   United States District    • Lied about being an agent of Atlantic City Energy
             Solar                                 Court, District of New    • Lied about terms of “release” Plaintiffs signed
                                                   Jersey                    • Pulled Plaintiffs’ credit report without their
                                                                               consent
2/2/2018     Pulipati v. Vivint    RG18891702      California Superior       • Obtained Plaintiff’s consumer credit score under
             Solar, Inc., et al.                   Court, Alameda              false pretenses
                                                   County                    • Forged signature


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3/8/2018     State of New          D-202-cv-      New Mexico District     • Encourage an “anything goes” approach to door-
             Mexico v. Vivint      201801936      Court, Albuquerque        to-door sales
             Solar Developer                      District Court          • Encourage salespeople to overstate the cost savings
             LLC, et al.                                                    of solar panels to customers
                                                                          • Requires salespeople to tell customers that removal
                                                                            of solar panels is free if they sell their home
                                                                          • Do not provide customers with solar panel contract
                                                                            (PPA), at the time of its execution
4/3/2018     Hewapathirana v.      37-2018-       California Superior     • Falsely claimed to be an SDG&E agent
             Vivint Solar, Inc.,   00016438       Court, San Diego        • Falsely claimed solar panels and services would be
             et al.                               County                    free
                                                                          • Forged Plaintiff’s signature on the agreement
6/20/2018    Rasmussen v.          18-004129      Sixth Judicial Circuit  • Obtained Plaintiff’s consumer credit score under
             Vivint Solar, Inc.                   Court of Florida in and   false pretenses
             et al.                               for Pinellas County     • Enrolled Plaintiff in contracts for solar service and
                                                                            financing without her knowledge or consent
6/27/2018    Garcia v. Vivint      37-2018-       California Superior     • Lied about being an agent of SDG&E
             Solar, Inc., et al.   00031927       Court, San Diego        • Lied about price (free) of solar panels
                                                  County                  • Forged Plaintiffs’ signatures on solar panel
                                                                            contracts
6/27/2018    Linehan v. Vivint     37-2018-       California Superior     • Lied about being an agent of SDG&E
             Solar, Inc., et al.   00032142       Court, San Diego        • Lied about necessity of contracts
                                                  County                  • Lied about price of solar panels
                                                                          • Forged Plaintiffs’ signatures on solar panel
                                                                            contract
6/27/2018    Muro v. Vivint        37-2018-       California Superior     • Lied about being an agent of SDG&E
             Solar, Inc., et al.   00032144       Court, San Diego        • Forged Plaintiffs’ signatures on solar panel
                                                  County                    contract




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7/1/2018     Rogers v. Vivint      1:18-cv-01567     United States District
                                                                        • Made calls to individuals on the National Do-Not-
             Solar, Inc., et al.                     Court, District of   Call Registry
                                                     Columbia           • Utilized Robocalls to advertise without consent of
                                                                          those being called
7/25/2018    Alvarado v. Vivint    RG18914129    California Superior    • Obtained Plaintiff’s consumer credit score without
             Solar, Inc., et al.                 Court, Alameda           her consent
                                                 County                 • Forged Plaintiff’s signature on solar panel contract
8/2/2018     Knight v. Vivint      CAM-L-002852- Superior Court of New • Plaintiff was told to sign a document (iPad)
             Solar                 18            Jersey, Law Division –   without being able to review the document
                                                 Camden County          • Plaintiff was lied to about contents of document
                                                                          she was told to sign
                                                                        • Lied about the costs of the solar panels once
                                                                          installed
                                                                        • Forgery
8/2/2018     Reilly v. Vivint      18-cv-12356   United States District • Obtained Plaintiff’s consumer credit score without
             Solar                               Court, District of New   his consent
                                                 Jersey                 • Forged Plaintiff’s signature on solar panel contract
                                                                        • Stole Plaintiff’s identity to make sale to Melissa
                                                                          Knight (above case)
8/6/2018     Fisher v. Vivint      RG18915535    California Superior    • Lied about cost of solar panels
             Solar, Inc., et al.                 Court, Alameda         • Targeted Plaintiff because elderly
                                                 County                 • Lied about necessity of contract
                                                                        • Forged Plaintiff’s signature on solar panel contract
                                                                        • Forged Plaintiff’s daughter’s signature on solar
                                                                          panel agreement
                                                                        • Did not send solar panel agreement to Plaintiff
                                                                        • Obtained voided check from Plaintiff under false
                                                                          pretenses
                                                                        • Began automatically withdrawing funds out of
                                                                          Plaintiff’s account without her consent


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Date Filed      Case Name           Case Number          Location                        Deceptive Sales Practice
8/7/2018     Morken v. Vivint      RG18915745     California Superior     • Obtained Plaintiff’s credit without her consent
             Solar, Inc., et al.                  Court, Alameda          • Forged Plaintiff’s signature on solar panel contract
                                                  County                  • Did not send Plaintiff copy of solar panel contract
                                                                          • Contract was for property that Plaintiff did not own
                                                                            (related to above case)
8/9/2018     Ritter v. Vivint      37-2018-       California Superior     • Forged signature of Plaintiff’s deceased husband
             Solar Developer,      00039688       Court, San Diego        • Targeted Plaintiff because elderly
             LLC, et al.                          County
8/22/2018    August v. Vivint      37-2018-       California Superior   • Forged Plaintiff’s signature on solar panel contract
             Solar, Inc., et al.   00042289       Court, San Diego        of Plaintiff’s neighbor
                                                  County                • Falsely claimed Plaintiff was extending her credit
                                                                          to her neighbor
                                                                        • Did not provide copy of contract to Plaintiff
                                                                        • Targeted Plaintiff because elderly
9/10/2018    Harrison v. Vivint    BUR-DC-        Superior Court of New • Forged signature on solar panel contract
             Solar                 007748-18      Jersey, Burlington    • Plaintiff was never provided with a contract
                                                  County                • Used someone else’s contact information on
                                                                          contract
1/1/2019     Rutledge v. Vivint    P-1300-cv-     Superior Court of     • Lied to Plaintiff about price of solar panels
             Solar, et al.         201900001      Arizona, Yavapai      • Obtained signature of Plaintiff under false
                                                  County                  pretenses
                                                                        • Targeted Plaintiff because elderly

1/11/2019    Elizalde v. Vivint    37-2019-       California Superior     • Entered Plaintiff into a financing agreement
             Solar, Inc., et al.   00001757       Court, San Diego          without her consent
                                                  County                  • Did not provide Plaintiff with financing agreement
                                                                          • Did not provide Plaintiff with financing agreement
                                                                            in Spanish
                                                                          • Forged Plaintiff’s signature on financing
                                                                            agreement


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1/30/2019    Gorin v. Vivint       C-12-cv-19-     Circuit Court for        • Falsely represented costs related to solar panels
             Solar Developer,      000089          Hartford County,         • Vivint Salesperson did not possess Maryland
             LLC                                   Maryland                   Home Improvement Salesperson’s license
3/6/2019     Cormier v. Vivint     37-2019-        California Superior      • Falsely represented themselves as agents of San
             Solar, Inc., et al.   00012511        Court, San Diego           Diego Gas & Electric to Plaintiff’s tenants
                                                   County                   • Falsely represented to Plaintiffs’ tenants that
                                                                              Plaintiffs were required to install solar panels on
                                                                              property
                                                                            • Obtained Plaintiffs’ credit report without their
                                                                              consent
                                                                            • Forgery
3/6/2019     Mees v. Vivint        RG19009828      California Superior      • Obtained credit report under false pretenses
             Solar, Inc., et al.                   Court, Alameda
                                                   County
3/7/2019     Belanger v. Vivint    HHB-CV-19-      Connecticut Superior     • Forged Plaintiff’s signature on solar panel contract
             Solar Developer,      6051481-S       Court, Hartford
             LLC                                   County
3/29/2019    Shackleford v.        1:19-cv-00954   United States District   • Falsely claimed to have been sent by Baltimore
             Vivint Solar                          Court, District of         Gas & Electric
             Developer LLC, et                     Maryland                 • Lied about costs of solar panels
             al.                                                            • Obtained Plaintiff’s credit report without her
                                                                              consent
                                                                            • Obtained Plaintiff’s signature under false pretenses




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                                      Known Deceptive Sales Practices Lawsuits

Date Filed       Case Name          Case Number           Location                         Deceptive Sales Practice
12/3/2019    Dekker, et al. v.     3:19-cv-07918   United States District   • Specifically targets vulnerable customers
             Vivint Solar, Inc.,                   Court, Northern          • Vivint trains door-to-door salespeople to deceive
             et al.                                District of California     customers
                                                                            • Utilize convoluted contract that is 20 years in
                                                                              length
                                                                            • Salespeople attempt to have customers sign
                                                                              contracts without first reviewing them
                                                                            • Falsely claims to install, maintain solar panel “for
                                                                              free”




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